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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


 _________________________________________
                                           )
 UNITED STATES OF AMERICA,                 )
                                           )
                   Plaintiff,              )
                                           )
             v.                            )      Case No. 1:20-cv-01744-CFC
                                           )
 WALMART INC. and                          )      UNDER SEAL
 WAL-MART STORES EAST, LP,                 )
                                           )
                   Defendants.             )
 _________________________________________ )


                   PLAINTIFF UNITED STATES’ RESPONSE TO
                  DEFENDANTS’ DISCOVERY DISPUTE LETTER
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 Dear Judge Tennyson,
 Issue 1: This case is about Walmart’s alleged failure to comply with the CSA. Yet Walmart has
 demanded vast quantities of documents from the federal government, taking a sweeping view of
 relevance without any consideration for the proportionality of its requests. Indeed, Walmart has
 propounded 145 RFPs, many with multiple subparts. See Exs. A, B. Some RFPs are so overbroad
 as to encompass a substantial amount of agencies’ regulatory activities, see, e.g., Ex. B at RFP 85,
 going far beyond the bounds of Rule 26 reasonableness. See Exs. C, D.
 The United States has negotiated with Walmart in good faith and is producing large volumes of
 documents on a rolling basis. To date, the United States has agreed to produce dozens of U.S.
 Attorney and DEA investigative files; to search a variety of DEA, FDA, and CDC central sources;
 to search the files of 119 DEA employees, 16 FDA employees, and 13 CDC employees; and to
 provide third-party documents and communications from central sources and the files of 22 DOJ
 employees. The government also has agreed to run broad search terms across these sources,
 including variations of the term “Walmart” without limiters. Ex. E. Still, Walmart seeks to dictate
 and expand the United States’ discovery. As recently as April 18, 2025, Walmart demanded that
 the United States add dozens of additional, specified custodians—several for the first time—plus
 many other unnamed individuals. D.I. 210, Walmart Ex. E. On that same day, Walmart also
 proposed edits to the government’s search terms, as well as entirely new terms. Ex. F.
 The United States thus shares Walmart’s concerns about discovery deadlines. The solution,
 however, is not interim production deadlines, but for Walmart to stop moving the goalposts. If
 Walmart refuses to agree on custodians and search terms, the United States cannot define the
 universe of documents to be produced, much less certify it has completed any particular percentage
 of production. As the government has explained, it will continue to make rolling productions.
 Indeed, the United States has already made 15 productions, totaling approximately 577,000
 documents.1 And even as Walmart demands more custodians and search terms, the United States
 is reviewing documents for agreed-upon custodians and expects to begin producing them shortly.
 Issue 2: Walmart next demands, in connection with DOJ’s Walmart and Identified Prescriber
 investigations,2 collection of files from more than 100 DOJ custodians and sources, including 88
 current and former DOJ employees, 18 U.S. Attorney’s Offices, and three DOJ sections. When
 pressed about the types of relevant, unique, non-privileged documents Walmart believes DOJ
 custodians possess, Walmart identified (1) documents from and communications with third parties
 (“third-party documents”), and (2) documents related to presentations about the CSA (which
 Walmart admitted would be a “needle in a haystack”).


 1
   Walmart has agreed to 18 custodians for this case, only one of whom was not a custodian in the
 MDL or opioid state-court litigation. Between this case and all other opioid litigation, Walmart has
 produced documents from 131 custodians total, fewer than the number of custodians already
 agreed to by the United States. In response to the government’s RFPs, Walmart has produced fewer
 than 2,000 documents that it had not already produced in the MDL or state litigation.
 2
   Until recently, see Ex. F, the United States understood Walmart to focus on DOJ custodians
 connected with the Walmart investigation rather than the Identified Prescriber investigations.
                                                  1
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 Walmart’s demands are disproportionate to the needs of the case and seem intended principally to
 burden the government. First, any presentations by individual attorneys about the CSA (e.g., at
 conferences) are not relevant. Walmart has claimed that such presentations would be “interesting,”
 but “interest” does not suffice: “[t]he discovery rules are not a ticket to an unlimited, never-ending
 exploration of every conceivable matter that captures an attorney’s interest.” Dale v. Deutsche
 Telekom AG, 2024 WL 4416761, at *1 (N.D. Ill. Oct. 4, 2024). Second, Walmart’s proposed DOJ
 custodian list is haphazard at best—e.g., it includes attorneys who were not even employed by
 DOJ at the time the Complaint was filed but omits DOJ attorneys litigating this case who Walmart
 knows were involved in the investigation. Third, Walmart demands that DOJ collect and search all
 files for the identified DOJ custodians and offices. Yet, most of Walmart’s proposed DOJ
 custodians are attorneys whose communications and documents—except third-party materials—
 are almost entirely privileged.3 See Varbero v. Belesis, 2020 WL 7043503, at *2 (S.D.N.Y. Dec. 1,
 2020) (courts are “particularly concerned about the burdens” when lawyers are the subject of
 discovery). Collecting entire custodial files for these individuals would result in a “staggering”
 quantity of non-discoverable material. See Dale, 2024 WL 4416761, at *3-5.
 In contrast, the United States’ collection methodology and custodian selection are reasonable and
 proportionate. As the United States has made clear repeatedly, most discoverable materials related
 to the Walmart and Identified Prescriber investigations are contained in investigative files. The
 United States accordingly is producing DEA and U.S. Attorney’s Office case files for the relevant
 investigations as well as third-party productions the United States received during the Walmart
 investigation. To supplement these files, the United States is also producing from 119 DEA
 custodians’ files. As a tertiary step, the United States has agreed to search for and produce third-
 party documents and communications from the files of 22 current DOJ employees who worked on
 the Walmart investigation. To do so, United States is not relying exclusively on DOJ personnel to
 “self-collect” as Walmart asserts.4 In addition to directing the 22 employees to identify and collect
 third-party documents from their files, the United States also directed litigation support personnel
 to collect documents by applying search terms5 to these same individuals’ files. The combined
 collected materials will be reviewed by the litigation team and produced as appropriate. Given the
 small quantity of potentially discoverable material, this approach is reasonable. See Winn-Dixie
 Stores, Inc. v. E. Mushroom Mktg. Coop., 2020 WL 3498161, at *2 (E.D. Pa. June 29, 2020) (“[t]he
 producing party . . . is in the best position to determine the method by which they will collect
 documents”); see also LifeSan, Inc. v. Smith, 2022 WL 20853087, at *11 (D.N.J. July 29, 2022).

 3
   As an aside, Walmart suggests without any basis in fact or law that the United States waived
 privilege over a significant volume of materials because it agreed to produce to Walmart the files
 provided to defendants in the related criminal investigations. The United States disagrees.
 4
   Even if the United States were relying on self-collection, appropriately supervised employee
 collection is sufficient, see, e.g., Mirmina v. Genpact LLC, 2017 WL 3189027, at *2 (D. Conn.
 July 27, 2017), and proportional to the materials sought.
 5
   The search terms are based on Walmart’s proposal and include the following: (Walmart OR “Wal-
 mart” OR WMT OR ((“Sam’s” or “Sams”) w/3 (pharm* or club*))) and identified external email
 domains. Slightly different variants are being run by the Main Justice and Executive Office for
 United States Attorneys litigation support personnel based on different technical capabilities.
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                                    Respectfully,
                                    SHANNON T. HANSON
                                    Acting United States Attorney

                              BY:   /s/ Elizabeth F. Vieyra
                                    Elizabeth F. Vieyra
                                    Assistant United States Attorney
                                    1313 N. Market Street
                                    Wilmington, Delaware 19899-2046
                                    Telephone: 302-573-6148
                                    Facsimile: 302-573-6220
                                    Elizabeth.Vieyra@usdoj.gov




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on May 6, 2025, true and correct copies of the foregoing document
 were caused to be served on the following counsel of record via electronic mail:

 Robert W. Whetzel
 Kelly E. Farnan
 Richards, Layton & Finger, P.A.
 920 North King Street
 Wilmington, DE 19801
 Email: whetzel@rlf.com
 Email: farnan@rlf.com

 William G. Laxton, Jr.
 Jeffrey Johnson
 Jones Day
 51 Louisiana Avenue, N.W.
 Washington, DC 20001-2113
 Email: wglaxton@jonesday.com
 Email: jeffreyjohnson@jonesday.com

 Karen P. Hewitt
 Jones Day
 4655 Executive Drive, Suite 1500
 San Diego, CA 92121-3134
 Email: kphewitt@jonesday.com

 Jason S. Varnado
 Andrew J. Junker
 Jones Day
 717 Texas, Suite 3300
 Houston, TX 77002-2172
 Email: jvarnado@jonesday.com
 Email: ajunker@jonesday.com

 James W. Carlson
 Jones Day
 500 Grant Street, Suite 4500
 Pittsburgh, PA 15219-2514
 Email: jamescarlson@jonesday.com

 Laura Jane Durfee
 Jones Day
 325 John H. McConnell Boulevard, Suite 600
 Columbus, OH 43215-2673
 Email: ldurfee@jonesday.com

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 David W. Ogden
 Charles C. Speth
 Wilmer Cutler Pickering Hale and Dorr LLP
 2100 Pennsylvania Avenue NW
 Washington, DC 20006
 Email: david.ogden@wilmerhale.com
 Email: charles.speth@wilmerhale.com



                                                            /s/ Elizabeth F. Vieyra




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                               EXHIBIT 
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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA, )
                           )
          Plaintiff,       )
                           ) C.A. No. 20-1744-CFC
     v.                    )
                           )
 WALMART INC. AND WAL-MART )
 STORES EAST, LP,          )
                           )
          Defendants.      )

      DEFENDANTS’ FIRST SET OF REQUESTS FOR PRODUCTION AND
           FIRST SET OF INTERROGATORIES TO PLAINTIFF

        Pursuant to Federal Rules of Civil Procedure 26, 33, and 34, Defendants,

 Walmart Inc. and Wal-Mart Stores East, LP (collectively, “Walmart”), serve these

 First Set of Requests for Production (“Requests”) and First Set of Interrogatories to

 Plaintiff (“Interrogatories,” and collectively the “Discovery”) and request that

 Plaintiff respond within 30 days after service, to be supplemented as required by

 Plaintiff’s duties under Rule 26. All interrogatories must be answered fully, in

 writing under oath. Responses must be delivered to undersigned counsel.

                                   DEFINITIONS

 1.     “Allegedly Invalid Prescription” means any prescription filled by a Walmart

        pharmacist for which You contend or will contend in This Litigation Walmart

        should be liable under Counts I or II of the Complaint. See Am. Compl. ¶

        760, 765.
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 2.    “Communication” or “Communications” mean the transmittal of information

       (in the form of facts, ideas, inquiries, or otherwise) and, with respect to oral

       Communication,      includes    any      Document    evidencing     such   oral

       Communication. “Communications” includes both internal communications

       (e.g., Communications within a federal agency or between two or more federal

       agencies) and external communications (e.g., Your Communications with

       State Agencies, DEA Registrants, healthcare practitioners, or patients).

 3.    “Complaint” means the Second Amended Complaint that You filed in This

       Litigation on February 1, 2024.

 4.    “Controlled Substance” means any substance identified as a Schedule II-V

       substance pursuant to 21 U.S.C. § 812 between January 1, 2010 and December

       20, 2020.

 5.    “Controlled Substances Act” or “CSA” means the Comprehensive Drug

       Abuse Prevention and Control Act of 1970, 21 U.S.C. § 801, et seq., inclusive

       of all regulations adopted thereunder.

 6.    “Document” is defined to be synonymous in meaning and equal in scope to

       the usage of this term in Rules 26 and 34 of the Federal Rules of Civil

       Procedure.    The term “Document” shall include hard-copy documents,

       electronic documents, and, electronically stored information (“ESI”). A draft

       or non-identical copy is a separate Document within the meaning of this term.



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        In all events, the definition of “Document” shall include “Communication”

        and “Investigative Reports” as defined here.

  7.    “Government Healthcare Facility” means a healthcare facility operated,

        owned, affiliated with or supported by the United States Government,

        including VA, DOD, or HHS (in luding IHS, PHS, or THS).

  8.    “Identified Prescribers” means: (1) the individual Prescribers identified by

        initials in the Complaint and later identified in full by You in correspondence

        dated February 5, 2024; and (2) any other Prescribers You claim wrote any

        Allegedly Invalid Prescriptions.

  9.    “Investigative Report” means reports generated by a federal agency in

        connection with a criminal, civil, or administrative investigation and any

        associated inserts, exhibits, or appendices. Examples of Investigative Reports

        include the DEA Forms 6 and 6a (Report of Investigation), DEA Form 82

        (Notice of Inspection of Controlled Premises), FBI Forms FD-302 and FD-

        302a (Form for Reporting Information That May Become Testimony), VA

        Form 0119 (Report of Contact), and HHS-OIG Investigation and Interview

        Memoranda, including HHS OIG Forms “OI-3” Report of Interview, “OI-3A”

        Report of Investigative Activity, and “IM” Investigative Memorandum.

  10.   “Opioid Litigation” means This Litigation; In re National Prescription Opioid

        Litigation, MDL Case No. 2804 in the United States District Court for the



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        Northern District of Ohio (“MDL”); and any other proceeding in federal and

        state court regarding the marketing, sales, distribution, or dispensing of opioid

        products, including any enforcement action against any Prescriber or patient

        referenced in the Complaint.

  11.   “Person” means any natural person or any business, legal, or governmental

        entity, or association.

  12.   “Prescriber” refers to any physician, surgeon, nurse practitioner, physician

        assistant, physiatrist, psychiatrist, dentist, podiatrist, nurse, or other person

        who is or was licensed and registered to prescribe prescription medications.

  13.   “Related to,” “relates to,” or “relating to” shall mean directly or indirectly

        supporting, evidencing, describing, mentioning, referring to, contradicting,

        refuting, constituting, involving, comprising, or concerning.

  14.   “State Agencies” means state healthcare licensing boards (e.g., boards of

        pharmacy, medicine, osteopathy, nursing, etc.), healthcare-related agencies,

        law enforcement agencies, and other agencies that regulate or oversee

        activities relating to prescribing, dispensing, or distributing Controlled

        Substances.

  15.   “Statement” means any account, whether formal or informal, of facts, views,

        opinions, plans, or events given to You by any Person, including any

        transcripts, recordings, and notes of testimony made or interviews conducted.



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  16.   “This Litigation” means the above-captioned litigation.

  17.   “Walmart” means Walmart Inc. and Wal-Mart Stores East, LP.

  18.   “You” and “Your” refer to the United States of America, and its agencies,

        officers, and employees, including:

        (a)   The Department of Justice (“DOJ”); the U.S. Drug Enforcement

              Administration (“DEA”); U.S. Attorney’s Offices; the Federal Bureau

              of Investigation (“FBI”); the U.S. Department of Veterans Affairs

              (“VA”); the U.S. Department of Defense (“DOD”); the U.S.

              Department of Health and Human Services (“HHS”) and any relevant

              components thereof, such as the Public Health Service (“PHS”), Indian

              Health Service (“IHS”), and Tribal Health Service (“THS”); the

              Centers for Disease Control and Prevention (“CDC”); the U.S. Food

              and Drug Administration (“FDA”); Centers for Medicare & Medicaid

              Services (“CMS”); the Substance Abuse and Mental Health Services

              Administration (“SAMHSA”); the U.S. Government Accountability

              Office (“GAO”); the Merit Systems Protection Board (“MSPB”); and

              the Office of Inspector General (“OIG”) for any of the above-named

              entities; and

        (b)   Any Government Healthcare Facilities, including any Prescribers,

              pharmacists, or other healthcare professionals who work there.



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                                  INSTRUCTIONS

  1.   The Discovery seeks all information, documents, and communications

       responsive to the Requests and Interrogatories, regardless of creation date and

       to the broadest scope allowable under the Federal Rules of Civil Procedure.

  2.   The Protective Order in This Litigation (D.I. 88) governs all information

       produced or disclosed in This Litigation, including responses to this

       Discovery. Any Protected Material under the terms of that Order should be

       designated consistent with the instructions in that Order.

  3.   The obligation to provide the information sought by this Discovery is

       continuing and shall be supplemented in accordance with Fed. R. Civ. P.

       26(e).

  4.   If no documents or information exist that are responsive to a specific Request

       or Interrogatory, that fact shall be stated in your response.

  5.   If you object to any Request or Interrogatory, You shall identify the specific

       grounds for the objection in full. If any objection is based on a claim of

       privilege or attorney work product, state which documents or information will

       be withheld and which documents or information will be produced or

       provided notwithstanding such objections.




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  6.   If You object to part of any Request, You shall specify in the objection the

       part of the Request objected to and shall produce all documents responsive to

       the remainder of the Request.

       (a)   If You object to any part of an Interrogatory, You shall specify in the

             response the part of the Interrogatory objected to, the basis for the

             objection, and shall respond to the remainder of the Interrogatory.

  7.   If any information is withheld by You under a claim of privilege (including

       work product), provide an explanation of the privilege asserted and the

       following information:

       (a)   Date of the document;

       (b)   Author(s) of the document;

       (c)   Recipient(s) of the document;

       (d)   Custodian of the document;

       (e)   Description of the subject matter of the document sufficient to allow

             Defendants and/or the Court to determine the appropriateness of the

             privilege claim.

  8.   If any requested document cannot be produced in full, you are to produce it to

       the extent possible, identifying which document, or portion of such document,

       is being withheld, and the reason that the document, or portion of such

       document, is being withheld.




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  9.    If You include in a response that you are unable to comply with a Request for

        any reason, You shall provide the reason for your inability to respond and

        specify whether the inability to comply is because the requested documents

        are no longer in Your control or have been lost, discarded, destroyed, or

        otherwise missing. For any such documents, You shall identify the type of

        document, the general subject matter, the date, and the names of the person

        known or believed to have possession, custody, or control of those documents

        or category of documents.

  10.   The requested documents shall be produced as they are kept in the usual

        course of business or shall be organized and labeled according to the number

        of the document request.

  11.   The duty to produce documents shall not be limited or affected by the fact that

        the same document is available through another source. All documents should

        be produced which are not subject to an objection and are known by,

        possessed or controlled by, or available to You or any of Your attorneys,

        consultants, representatives, employees, officers, directors, partners, or other

        agents.

  12.   Unless otherwise agreed upon by the Parties and pending entry of an agreed-

        upon ESI Order, ESI is to be produced in accordance with Fed. R. Civ. P.

        34(b) and in the following manner:



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       (a)   Responsive electronically stored information and hard copy should be

             produced in TIFF image format, with all applicable metadata extracted

             and provided in a load file.

       (b)   Images should be sequentially Bates numbered and the Bates number

             should be an endorsement on each image.

       (c)   Images should be OCR’d. An exception report shall be provided when

             limitations of paper digitization software/hardware or attribute

             conversion do not allow for OCR text conversion of certain images.

             The extracted/OCR text should be provided for each document as a

             separate single text file. The file name should match the BEGDOC# or

             DOCID for that specific record and be accompanied by the .txt

             extension.

       (d)   Images should be accompanied by cross reference file that associates

             each Bates number with its corresponding single-page TIFF image file.

       (e)   Images should also be accompanied by a “text load file” containing

             delimited text that will populate fields in a searchable, flat database

             environment.     This load file should also contain hyperlinks to

             applicable native files, such as Microsoft Excel or PowerPoint files.

       (f)   All hidden text (e.g., track changes, hidden columns, mark-ups, notes)

             shall be expanded and rendered in the image file. All non-graphic



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              embedded objects (Word documents, Excel spreadsheets, .wav files,

              etc.) that are found within a file shall be extracted and produced.

        (g)   All spreadsheet and presentation files (e.g., Excel, PowerPoint) shall be

              produced in the unprocessed “as kept in the ordinary course of

              business” state (i.e., in native format), with an associated placeholder

              image and endorsed with a unique Bates number.

        (h)   For any data provided, all available characteristics/fields and codes

              typically provided should be produced.

  13.   “All,” “any,” and “each” shall be construed in the conjunctive and not in the

        disjunctive, and shall not be interpreted to limit the scope of a request. “And”

        and “or” encompass both “and” and “or.” The use of the word “including”

        shall be construed to mean “without limitation.” The use of a verb in any

        tense shall be construed as the use of the verb in all other tenses and the

        singular form shall be deemed to include the plural, and vice-versa.

                         REQUESTS FOR PRODUCTION

  1.    All Documents previously produced by You in prior Opioid Litigation.

  2.    All Documents relating to Your investigation of Walmart preceding the filing

        of the Complaint in This Litigation, including:




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       (a)   Data and Documents obtained by, accessed by, or shared with You in

             connection with the investigation from any individual, entity, or third-

             party other than Data and Documents produced to You by Walmart;

       (b)   Documents obtained by or shared with You from any State Agency or

             other government agency;

       (c)   Transcripts, recordings, and notes of interviews conducted by You

             related to the investigation;

       (d)   Documents related to any Communications with any other individual,

             entity, third party, or government agency related to the investigation;

       (e)   Documents relating to the December 7, 2016, search of a Walmart

             pharmacy in Texas pursuant to a search warrant, as referenced in

             Paragraphs 124 and 191 of the Complaint;

       (f)   All subpoenas or formal or informal requests for testimony, documents,

             materials, or information issued to any person or entity, including any

             cover letters and responses to those subpoenas or requests; and

       (g)   All Investigative Reports related to the investigation.

  3.   Documents sufficient to identify any current or former employee of Walmart

       whom You have contacted or attempted to contact in connection with This

       Litigation, whether or not Your contact or attempted contact resulted in

       communications with any such employee.



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  4.   All Statements taken by You or on Your behalf from any Person relating to

       the claims and allegations in the Complaint, including Statements taken from

       any current or former employee of Walmart and Statements taken from any

       individual who has previously had a Controlled Substance prescription filled

       at Walmart.

  5.   Documents relating to any investigation, enforcement, or disciplinary action

       concerning any Identified Prescriber, including without limitation all related

       Investigative Reports, interviews, notes, data, and data analyses.

  6.   Documents sufficient to identify, for each alleged violation of the Controlled
       Substances Act, the Prescriber, patient, prescription, dispensing date, and
       controlled substance that constitutes the alleged violation.

  7.   All Documents referenced in, cited in, referred to, or relied upon by You in

       drafting the Complaint.

  8.   All documents related to Your response to the below Interrogatories.

                              INTERROGATORIES

  1.   Identify each Allegedly Invalid Prescription that serves as the basis for any

       claim You assert or may assert in This Litigation. For each such prescription,

       identify: (a) the date of the prescription; (b) the store where the prescription

       was dispensed; (c) the medication, including dosage and strength; (d) the

       issuing practitioner (including DEA registration number and business

       address); (e) the date of the issuing practitioner’s DEA registration and


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       expiration or revocation (if any); and (f) whether You obtained or reviewed

       the relevant medical records from any Prescriber associated with the patient

       who received the prescription.

  2.   For each Allegedly Invalid Prescription identified in Your response to

       Interrogatory 1, identify: (a) the reason(s) You contend dispensing of the

       prescription violated 21 C.F.R. 1306.04(a); (b) the methodology or

       methodologies You used to identify the prescription and to reach any

       conclusions about the prescription; and (c) any electronic scripts, codes, and

       analytical programs You used to implement said methodologies.

  3.   For each Allegedly Invalid Prescription identified in Your response to

       Interrogatory 1, identify: (a) the individual(s) You contend knew that the

       prescription was invalid prior to dispensing; (b) the basis for any such

       knowledge; and (c) any evidence that the dispensing pharmacist did not

       adequately evaluate the prescription pursuant to his or her professional

       judgment prior to dispensing. If You contend that any individual dispensed a

       prescription with knowledge that it was invalid because they were aware of a

       high risk of invalidity and took affirmative acts to shield themselves from

       knowledge of the true facts, identify: (a) the reasons You contend any such

       individual was aware of the high risk of invalidity; and (b) any affirmative




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        acts You contend such individual took to shield themselves from knowledge

        of the true facts.



  OF COUNSEL:                            /s/ Kelly E. Farnan
                                         Robert W. Whetzel (#2288)
  Yaakov M. Roth                         Kelly E. Farnan (#4395)
  William G. Laxton, Jr.                 Richards, Layton & Finger, P.A.
  Jeffrey R. Johnson                     One Rodney Square
  Kristen A. Lejnieks                    920 North King Street
  JONES DAY                              Wilmington, DE 19801
  51 Louisiana Avenue, N.W.              (320) 651-7700
  Washington, D.C. 20001.2113            whetzel@rlf.com
                                         farnan@rlf.com
  Karen P. Hewitt
  JONES DAY                              Attorneys for Walmart Inc. and
  4655 Executive Drive, Suite 1500       Wal-Mart Stores East, LP
  San Diego, CA 92121-3134

  Jason S. Varnado
  Andrew J. Junker
  JONES DAY
  717 Texas, Suite 3300
  Houston, TX 77002-2172

  Laura Jane Durfee
  JONES DAY
  325 John H. McConnell Blvd.
  Suite 600
  Columbus, OH 43215-2673

  Dated: April 23, 2024




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                           CERTIFICATE OF SERVICE
        I hereby certify that on April 23, 2024, true and correct copies of the foregoing

  document were caused to be served on the following counsel of record as indicated:

  BY ELECTRONIC MAIL                       BY ELECTRONIC MAIL
  David C. Weiss                           Amanda N. Liskamm
  United States Attorney                   Rachael L. Doud
  Dylan Steinberg                          Joshua Fowkes
  Elizabeth F. Vieyra                      Kathleen B. Brunson
  Assistant United States Attorney         Katherine M. Ho
  U.S. Attorney's Office                   Kimberly R. Stephens
  Hercules Building                        U.S. Department of Justice
  1313 N. Market Street                    Civil Division
  Wilmington, DE 19801                     Consumer Protection Branch
                                           P.O. Box 386
                                           Washington, DC 20044

  BY ELECTRONIC MAIL                       BY ELECTRONIC MAIL
  Lindsay Sax Griffin                      Amanda A. Rocque
  Carolyn B. Tapie                         Jasand P. Mock
  USDOJ - Middle District of Florida       USDOJ - District of Colorado
  400 North Tampa Street, Suite 3200       1801 California Street, Suite 1600
  Tampa, FL 33602                          Denver, CO 80202

  BY ELECTRONIC MAIL                       BY ELECTRONIC MAIL
  C. Michael Anderson                      Elliot M. Schachner
  Andrew Kasper                            Megan Freismuth
  USDOJ - Eastern District of North        USDOJ - Eastern District of New York
  Carolina                                 U.S. Attorney's Office
  150 Fayetteville Street, Suite 2100      Eastern District of NY
  Raleigh, NC 27601                        271 Cadman Plaza East
                                           7th Floor
                                           Brooklyn, NY 11201

                                                       /s/ Kelly E. Farnan
                                                       Kelly E. Farnan (#4395)
                                                       farnan@rlf.com
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                               EXHIBIT 
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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

  UNITED STATES OF AMERICA,                 )
                                            )
                      Plaintiff,            )
                                            )        C.A. No. 20-1744-CFC
                       v.
                                            )
  WALMART INC. AND WAL-                     )
  MART STORES EAST, LP,                     )
                                            )
                     Defendant.             )

                     DEFENDANTS’ SECOND SET OF
                REQUESTS FOR PRODUCTION TO PLAINTIFF

        Pursuant to Federal Rules of Civil Procedure 26, and 34, Defendants, Walmart

  Inc. and Wal-Mart Stores East, LP (collectively, “Walmart”), serve this Second Set

  of Requests for Production to Plaintiff (the “Requests”) and request that Plaintiff

  respond within 30 days after service, to be supplemented as required by Plaintiff’s

  duties under Rule 26. Responses must be delivered to undersigned counsel.

                                     DEFINITIONS

  1.    “Allegedly Invalid Prescription” means any prescription filled by a Walmart
        pharmacist for which You contend or will contend in This Litigation Walmart
        should be liable under Counts I or II of the Complaint. See Sec. Am. Compl.
        ¶ 760, 765.

  2.    “Blanket Refusal to Fill” refers to a decision made by a Walmart pharmacist
        to no longer fill any controlled-substance prescriptions written by a single
        prescriber.

  3.    “Central Block” or “Corporate Block” refers to a prohibition on filling any
        controlled-substance prescription written by a single prescriber imposed on
        all Walmart pharmacists.
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  4.    “Communication” or “Communications” mean the transmittal of information
        (in the form of facts, ideas, inquiries, or otherwise) and, with respect to oral
        Communication, includes any Document evidencing such oral
        Communication. “Communications” includes both internal communications
        (e.g., Communications within a federal agency or between two or more federal
        agencies) and external communications (e.g., Your Communications with
        State Agencies, DEA Registrants, healthcare practitioners, or patients).

  5.    “Complaint” means the Second Amended Complaint that You filed in This
        Litigation on February 1, 2024.

  6.    “Controlled Substance” means any substance identified as a Schedule II-V
        substance pursuant to 21 U.S.C. § 812 between January 1, 2010 and December
        20, 2020.

  7.    “Controlled Substances Act” or “CSA” means the Comprehensive Drug
        Abuse Prevention and Control Act of 1970, 21 U.S.C. § 801, et seq., inclusive
        of all regulations adopted thereunder.

  8.    “Document” is defined to be synonymous in meaning and equal in scope to
        the meaning of this term in Rules 26 and 34 of the Federal Rules of Civil
        Procedure. The term “Document” shall include hard-copy documents,
        electronic documents, and, electronically stored information (“ESI”). A draft
        or non-identical copy is a separate Document within the meaning of this term.
        In all events, the definition of “Document” shall include “Communication”
        and “Investigative Reports” as defined here.

  9.    “Government Payor” means any federal government body, agency,
        department, plan, program, or entity that administers, funds, pays, contracts
        for, or provides medical items, services, and/or prescription drugs, including
        Medicare, Medicaid, TRICARE, the Veterans Health Administration
        program, the Indian Health Service program, and Federal Employees Health
        Benefit Plan.

  10.   “Government Healthcare Facility” means a healthcare facility operated,
        owned, affiliated with or supported by the United States Government,
        including VA, DOD, or HHS (including IHS, PHS, or THS).

  11.   “Identified Prescribers” means: (1) the individual Prescribers identified by
        initials in the Complaint and later identified in full by You in correspondence
        dated February 5, 2024; and (2) any other Prescribers You claim wrote any
        Allegedly Invalid Prescriptions.

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  12.   “Investigative Report” means reports generated by a federal agency in
        connection with a criminal, civil, or administrative investigation and any
        associated inserts, exhibits, or appendices. Examples of Investigative Reports
        include the DEA Forms 6 and 6a (Report of Investigation), DEA Form 82
        (Notice of Inspection of Controlled Premises), FBI Forms FD-302 and FD-
        302a (Form for Reporting Information That May Become Testimony), VA
        Form 0119 (Report of Contact), and HHS-OIG Investigation and Interview
        Memoranda, including HHS OIG Forms “OI-3” Report of Interview, “OI-3A”
        Report of Investigative Activity, and “IM” Investigative Memorandum.

  13.   “Opioid Litigation” means This Litigation; In re National Prescription Opioid
        Litigation, MDL Case No. 2804 in the United States District Court for the
        Northern District of Ohio (“MDL”); and any other proceeding in federal or
        state court regarding the marketing, sales, distribution, or dispensing of opioid
        products, including any enforcement action against any Prescriber or patient
        referenced in the Complaint.

  14.   “PDMP Data” means data from an electronic database operated by a state or
        local government—typically referred to as a Prescription Drug Monitoring
        Program or Prescription Monitoring Program—that tracks prescriptions for
        Controlled Substances in a state.

  15.   “Person” means any natural person or any business, legal, or governmental
        entity, or association.

  16.   “Prescriber” refers to any physician, surgeon, nurse practitioner, physician
        assistant, physiatrist, psychiatrist, dentist, podiatrist, nurse, or other person
        who is or was licensed and registered to prescribe prescription medications.

  17.   “Refuse to Fill” or “Refusal to Fill” refers to a decision made by an individual
        Walmart pharmacist not to fill a single controlled-substance prescription
        written by a single prescriber.

  18.   “Related to,” “relates to,” or “relating to” shall mean directly or indirectly
        supporting, evidencing, describing, mentioning, referring to, contradicting,
        refuting, constituting, involving, comprising, or concerning.

  19.   “Relevant Time Period” means January 1, 2010, through December 20, 2020,
        unless otherwise specified.

  20.   “State Agencies” means state healthcare licensing boards (e.g., boards of
        pharmacy, medicine, osteopathy, nursing, etc.), healthcare-related agencies,

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        law enforcement agencies, and other agencies that regulate or oversee
        activities relating to prescribing, dispensing, or distributing Controlled
        Substances.

  21.   “Statement” means any account, whether formal or informal, of facts, views,
        opinions, plans, or events given to You by any Person, including any
        transcripts, recordings, and notes of testimony made or interviews conducted.

  22.   “This Litigation” means the above-captioned litigation.

  23.   “Walmart” means Walmart Inc. and Wal-Mart Stores East, LP.

  24.   “You” and “Your” refer to the United States of America, and its agencies,
        officers, and employees, including:

        (a)   The Department of Justice (“DOJ”); the U.S. Drug Enforcement
              Administration (“DEA”); U.S. Attorney’s Offices; the Federal Bureau
              of Investigation (“FBI”); the U.S. Department of Veterans Affairs
              (“VA”); the U.S. Department of Defense (“DOD”); the U.S.
              Department of Health and Human Services (“HHS”) and any relevant
              components thereof, such as the Public Health Service (“PHS”), Indian
              Health Service (“IHS”), and Tribal Health Service (“THS”); the
              Centers for Disease Control and Prevention (“CDC”); the U.S. Food
              and Drug Administration (“FDA”); Centers for Medicare & Medicaid
              Services (“CMS”); the Substance Abuse and Mental Health Services
              Administration (“SAMHSA”); the U.S. Government Accountability
              Office (“GAO”); the Merit Systems Protection Board (“MSPB”); and
              the Office of Inspector General (“OIG”) for any of the above-named
              entities; and

        (b)   Any Government Healthcare Facilities, including any Prescribers,
              pharmacists, or other healthcare professionals who work there.

                                 INSTRUCTIONS

  1.    Unless otherwise stated, these Requests seek all responsive information,
        documents, and communications during the Relevant Time Period, regardless
        of creation date and to the broadest scope allowable under the Federal Rules
        of Civil Procedure.

  2.    The Protective Order in this Litigation (D.I. 88) governs all information
        produced or disclosed in This Litigation, including responses to this

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       Discovery. Any Protected Material under the terms of that Order should be
       designated consistent with the instructions in that Order.

  3.   The obligation to provide the information sought by these Requests is
       continuing and shall be supplemented in accordance with Fed. R. Civ. P.
       26(e).

  4.   If no documents or information exist that are responsive to a specific Request,
       that fact shall be stated in Your response.

  5.   If you object to any Request, You shall identify the specific grounds for the
       objection in full. If any objection is based on a claim of privilege or attorney
       work product, state which documents or information will be withheld and
       which documents or information will be produced or provided
       notwithstanding such objections.

       (a)   If You object to part of any Request, You shall specify in the objection
             the part of the Request objected to and shall produce all documents
             responsive to the remainder of the Request.

  6.   If any information is withheld by You under a claim of privilege (including
       work product), provide an explanation of the privilege asserted and the
       following information:

       (a)   Date of the document;

       (b)   Author(s) of the document;

       (c)   Recipient(s) of the document;

       (d)   Custodian of the document;

       (e)   Description of the subject matter of the document sufficient to allow
             Defendants and/or the Court to determine the appropriateness of the
             privilege claim.

  7.   If any requested Document cannot be produced in full, you are to produce it
       to the extent possible, identifying which Document, or portion of such
       Document, is being withheld, and the reason that the Document, or portion of
       such Document, is being withheld.

  8.   If You include in a response that you are unable to comply with a Request for
       any reason, You shall provide the reason for your inability to respond and

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        specify whether the inability to comply is because the requested Documents
        are no longer in Your control or have been lost, discarded, destroyed, or
        otherwise missing. For any such Documents, You shall identify the type of
        Document, the general subject matter, the date, and the names of the person
        known or believed to have possession, custody, or control of those documents
        or category of Documents.

  9.    The requested Documents shall be produced as they are kept in the usual
        course of business or shall be organized and labeled according to the number
        of the Document request.

  10.   The duty to produce Documents shall not be limited or affected by the fact
        that the same Document is available through another source. All Documents
        should be produced which are not subject to an objection and are known by,
        possessed or controlled by, or available to You or any of Your attorneys,
        consultants, representatives, employees, officers, directors, partners, or other
        agents.

  11.   All Documents and ESI shall be produced pursuant to the ESI Order
        ultimately entered into by the Parties in This Litigation.

  12.   “All,” “any,” and “each” shall be construed in the conjunctive and not in the
        disjunctive, and shall not be interpreted to limit the scope of a request. “And”
        and “or” encompass both “and” and “or.” The use of the word “including”
        shall be construed to mean “without limitation.” The use of a verb in any
        tense shall be construed as the use of the verb in all other tenses and the
        singular form shall be deemed to include the plural, and vice-versa.

  13.   Individuals identified by initials in these Requests are the same individuals
        identified by initials in the Complaint and later identified in full by You in
        correspondence dated February 5, 2024.




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                        REQUESTS FOR PRODUCTION

  1.   All Documents on which You have relied or intend to rely in support of Your
       allegations, claims, and defenses in This Litigation.

  2.   All Documents relied upon by You to support Your allegation in Paragraph 8
       of the Complaint that “[t]he usual course of professional pharmacy practice
       requires identification and resolution of ‘red flags’ – signs indicating the
       potential invalidity of a prescription.”

  3.   All Documents relied upon by You to support Your allegation in Paragraph
       59 of the Complaint that a pharmacist has a “corresponding responsibility” to
       “independently determine that the prescription was issued in the usual course
       of professional practice and for a legitimate medical purpose.”

  4.   All Documents relied upon by You to support Your allegation in Paragraph
       71 that “one of the key professional responsibilities of a pharmacist, when
       presented with a prescription for controlled substances, is to identify the
       presence of red flags of diversion.”

  5.   All Documents relied upon by You to support Your allegation in Paragraph
       72 purporting to identify certain “red flags” that are “indicative of invalidity.”

  6.   All Documents relied upon by You to support Your allegation in Paragraph
       73 of the Complaint that a “basic professional obligation of pharmacists
       presented with a controlled-substance prescription is to resolve each red flag
       they identify” and purporting to identify certain actions the pharmacist might
       undertake for such resolution.

  7.   All Documents relied upon by You to support Your allegations in Paragraph
       74 of the Complaint, including:

       (a)   That “if a pharmacist identifies and resolves red flags, the pharmacist
             has an additional professional responsibility to document that
             resolution;”




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        (b)   That “the absence of documentation can indicate that the pharmacist
              did not successfully resolve the red flag;” and

        (c)   That “pharmacists presented with a controlled-substance prescription
              bearing a red flag must investigate and either (a) resolve the red flag
              before dispensing and document the resolution, or (b) refuse to fill the
              prescription.”

  8.    All Documents relating to the March 2011 Memorandum of Agreement
        referenced in Paragraph 95 of the Complaint, including:

        (a)   Documents relating to Walmart’s compliance or non-compliance with
              the Memorandum of Agreement;

        (b)   Documents provided to You pursuant to the Memorandum of
              Agreement as described in Paragraphs 98 and 108; and

        (c)   Documents relating to any action or inaction by You regarding any RTF
              submitted to You by Walmart under the terms of said Memorandum of
              Agreement.

  9.    All Documents relied upon by You to support Your allegation in Paragraph
        103 of the Complaint that “the compliance team also had the ultimate
        authority to instruct Walmart’s pharmacists to refuse to fill specific
        prescriptions.”

  10.   All Documents relied upon by You to support Your allegations in Paragraph
        161 that                   “was sentenced to 20 years’ imprisonment for CSA
        violations” and that “[a] pharmacist contacted the state medical board because
        of her concerns about the amount of controlled substances that [             ]
        prescribed.”

  11.   All Documents relied upon by You to support Your allegations in Paragraph
        162 that “pharmacy shopping occurred … between Walmart and competing
        pharmacies.”

  12.   All Documents relied upon by You to support Your allegations in Paragraph
        165 that an unidentified Prescriber “admitted in 2021 to the Nevada Board of
        Medical Examiners that he failed to adequately supervise his son, who was


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        not a licensed medical practitioner and who prescribed controlled substances
        without determining whether they were medically necessary.”

  13.   All Documents relied upon by You to support Your allegations in Paragraph
        168 that “[c]ompliance team members knew… that the compliance team had
        the ability to slow or stop, or by contrast, encourage the stream of invalid
        prescriptions by their policies” and that “[t]he fewer controls they put in place,
        the more likely it was that invalid prescriptions would continue to be presented
        at their pharmacies.”

  14.   All Documents relied upon by You to support Your allegations in Paragraph
        168 that Walmart’s policies were “more liberal” compared to those of other
        retail chain pharmacies.

  15.   All Documents relied upon by You to support Your allegation in Paragraph
        177 that “the compliance team chose to make little use of refusal-to-fill
        information, even though they recognized the value in the information.”

  16.   All Documents relied upon by You to support Your allegation in Paragraph
        184 that the compliance team “generally did nothing to investigate individual
        Prescribers” and “failed to retrieve readily available public information
        showing that certain reported pill-mill prescribers faced administrative actions
        by state medical licensing boards and criminal prosecutions by state and
        federal authorities,” including the “public information” that was allegedly
        “readily available” to the compliance team.

  17.   All Documents relied upon by You to support Your allegation in Paragraph
        184 that the compliance team “often failed to contact other non-Walmart
        pharmacies that had decided not to fill prescriptions for reported pill-mill
        prescribers.”

  18.   All Documents relied upon by You to support Your allegation in Paragraph
        189 of the Complaint that the compliance team “did nothing to ensure that
        they would learn the details of the pill-mill prescribers before any pharmacist
        decided to blanket refuse those prescribers.”


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  19.   All Documents relied upon by You to support Your allegation in Paragraph
        190 of the Complaint that “members of the compliance team were
        uninterested in the details of government investigations of certain
        prescribers.”

  20.   All Documents relied upon by You to support Your allegation in Paragraph
        190 of the Complaint that “[e]ven when DEA asked Walmart to voluntarily
        stop filling for a prescriber, B.N. believed that Walmart should not comply.”

  21.   All Documents relied upon by You to support Your allegation in Paragraph
        195 of the Complaint that “since a pill-mill prescriber practices outside the
        usual course, all prescriptions from such a prescriber are invalid.”

  22.   All Documents relied upon by You to support Your allegation in Paragraph
        195 of the Complaint that “the compliance team, for years, acted to keep the
        information about pill-mill prescribers to themselves.”

  23.   All Documents relied upon by You to support Your allegation in Paragraph
        198 of the Complaint that the compliance team “did not consider the need to
        be urgent” to disseminate refusal-to-fill information to its pharmacists.

  24.   All Documents relied upon by You to support Your allegation in Paragraph
        207 of the Complaint that “the compliance team not only chose for years not
        to adequately distribute refusal-to-fill information but also affirmatively
        refused specific requests for the information.”

  25.   All Documents relied upon by You to support Your allegation in Paragraph
        213 of the Complaint that, “[b]y clearly prohibiting blanket refusals, the
        compliance team members knew they were creating a bias toward filling
        prescriptions, thus making it more probable that pharmacists would fill invalid
        prescriptions.”

  26.   All Documents relating to or relied upon by You to support Your allegation
        in Paragraph 216 of the Complaint that “[t]his prohibition against blanket
        refusals was not … required by law” and Your allegation in Paragraph 218
        that “blanket refusals were permitted under state law.”


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  27.   All Documents relied upon by You to support Your allegation in Paragraph
        219 of the Complaint that, “[b]y forbidding blanket refusals, Walmart’s
        compliance team knew they were encouraging pharmacists to fill, rather than
        question, prescriptions.”

  28.   All Documents relating to the DEA investigation of the unidentified
        Prescriber You reference in Paragraph 219 of the Complaint.

  29.   All Documents relied upon by You to support Your allegation in Paragraph
        221 of the Complaint that “[t]he compliance team chose to withhold…
        information that would have revealed to its pharmacists that certain
        prescribers were pill mills,” and Documents sufficient to show the information
        that You allege was withheld.

  30.   All Documents relied upon by You to support Your allegation in Paragraph
        227 of the Complaint that “[t]he decisions regarding refusal-to-fill
        information, blanket refusals, and corporate blocks all reflected a decision to
        leave pharmacists on their own.”

  31.   All Documents relied upon by You to support Your allegation in Paragraph
        227 of the Complaint that “the compliance team regularly declined specific
        requests for help.”

  32.   All Documents relating to the unidentified Prescriber You reference in
        Paragraphs 229 and 230 of the Complaint, including Documents relating to
        the one-year suspension of that Prescriber, and the referenced investigation by
        the Oregon State Board of Nursing.

  33.   All Documents relied upon by You to support Your allegations regarding
        Damon Cary in Paragraphs 159 and 236-244 of the Complaint, including:

        (a)   Your allegation in Paragraph 159 that               “prescribing habits
              violated the Delaware Medical Practices Act.”

        (b)   Your allegations in Paragraph 236 of the Complaint that        : (i)
              “prescribed excessive doses of opioids without appropriately
              discussing the risks with his patients, monitoring his patients, or


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              incorporating other treatments,” and (ii) “was known for prescribing
              Percocet (oxycodone-acetaminophen) after performing what one
              person described as the ‘most trivial’ of exams.”

        (c)   Your allegations in Paragraphs 243 and 244 of the Complaint regarding
              the investigation of      by the Delaware Division of Public Health,
              the “multi-day hearing”; and            suspension by the Delaware
              Secretary of State.

  34.   All Documents relied upon by You to support Your allegations regarding
                   in Paragraphs 128 and 245-254 of the Complaint, including:

        (a)   Your allegations in Paragraph 245 of the Complaint that                 (i)
              “prescribed massive quantities of controlled substances, including the
              trinity combination of an opioid, a benzodiazepine, and carisoprodol”;
              (ii) “prescribed this dangerous cocktail more frequently to Medicare
              patients than did any other physician in the United States”; (3)
              “accepted only cash for his office visits”; (iii) “falsely claimed to work
              for the Department of Justice and displayed a fake police badge to
              intimidate patients”; and “exploited female patients and coerced some
              of them into providing sexual favors in exchange for controlled
              substances.”

        (b)   Your allegation in Paragraph 251 of the Complaint that “[a]s other
              pharmacies in Savannah stopped filling              prescriptions,
              individuals turned to Walmart to get them filled.”

        (c)   Your allegations in Paragraph 254 of the Complaint regarding
              2019 trial, conviction, and sentencing.

  35.   All Documents relied upon by You to support Your allegations regarding
               in Paragraphs 162, 255-262, and 531-537 of the Complaint, including:

        (a)   Your allegation in Paragraph 255 of the Complaint that          “rarely
              conducted physical or diagnostic examinations of his patients, ignored
              signs of drug diversion, and prescribed excessive amounts of opiates,
              including oxycodone, hydrocodone, hydromorphone, and morphine.”

        (b)   Your allegations in Paragraph 256 of the Complaint that “[d]uring the
              investigation of        ”: (i) “he and his business partner asked an
              undercover agent to smuggle a Hungarian national into the United


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              templates, and, in many instances, the patient files did not include any
              records to corroborate the diagnoses of chronic pain conditions for
              which [      ] prescribed controlled substances.”

        (c)   Your allegations in Paragraph 310 of the Complaint that a patient with
              the initials S.B. “died from the toxic effects of multiple drugs, including
              oxycodone, alprazolam, and morphine.”

        (d)   Your allegations in Paragraphs 310 and 311 of the Complaint regarding
              the New Mexico Medical Board’s investigation of            , the 2016
              suspension of          license, and         voluntary surrender of his
              medical license in 2017.

  40.   All Documents relied upon by You to support Your allegations regarding
                           in Paragraphs 162, 312-320, and 495 of the Complaint,
        including:

        (a)   Your allegations in Paragraph 312 of the Complaint that: (1) “[            ]
              would write prescriptions for patients whom she did not meet or
              examine and who did not even come to her office”; (2) “patients’ family
              members and/or friends would go to [                ’s office to pick up
              prescriptions written by [     ] in the patients’ names for large quantities
              of controlled substances”; (3) “[p]atient records were largely identical
              for each visit and did not reflect the individualized analysis that would
              be expected from visit to visit”; and (4) “patients … traveled long
              distances to her clinic from cities in Florida, including Port Saint Lucie
              (202 miles), Tamarac (263 miles), Ft. Lauderdale (270 miles), and
              Graceville (383 miles).”

        (b)   Your allegations in Paragraph 313 of the Complaint relating to DEA’s
              revocation of      ’s registration in 2006 “after she prescribed controlled
              substances to three undercover law enforcement officers who had
              admitted to her that they actually were not suffering from any pain,” the
              later restoration of her registration, and any monthly reporting provided
              pursuant to that revocation.

        (c)   Your allegations in Paragraph 313 of the Complaint that “[i]n three
              separate administrative complaints filed in 2013, the Florida
              Department of Health alleged that [    ] prescribed excessive and/or
              inappropriate amounts of opioids without adequate justification.”


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        (d)   Your allegations in Paragraph 320 of the Complaint regarding          ’s
              guilty plea, sentencing, and             “admi[ssion] that she wrote
              prescriptions, including prescriptions for controlled substances, in the
              name of certain individuals but then gave the prescriptions to their
              family members, never having seen or examined the individuals [        ]
              knew would be the ultimate users of the drugs.”

  41.   All Documents relied upon by You to support Your allegations regarding
                        in Paragraphs 321-334 of the Complaint, including:

        (a)   Your allegations in Paragraph 321 of the Complaint that             (i)
              “was a Prescriber primarily to United States military personnel in the
              TRICARE network”; (ii) “was known for prescribing the trinity
              combination of an opioid, a benzodiazepine, and a muscle relaxant”;
              (iii) in 2012, “was the nation’s number-seven prescriber of the trinity
              combination”; and (iv) was described by a former patient, a military
              veteran, “as a ‘pill pusher’ and ‘upscale dope dealer.’”

        (b)   Your allegation in Paragraph 322 of the Complaint that “[        ]
              received a January 2013 admonition by the Colorado State Board of
              Nursing for prescribing ‘excessive’ dosages of OxyContin that were
              inconsistent with the patient’s underlying condition.”

        (c)   Your allegations in Paragraph 334 of the Complaint regarding
              [           ’s disciplinary action and 2017 surrender of his nursing
              license and Your allegation that he “admitted that his treatment plans
              for 12 patients were ‘inappropriate’ and that he had continued opioid
              therapy in cases where the patient was not benefiting and despite a
              patient’s violation of an opioid agreement” and that “his documentation
              was ‘substandard.’”

  42.   All Documents relied upon by You to support Your allegations in Paragraphs
        328-330 and 552 of the Complaint regarding a patient with the initials A.D.,
        including:

        (a)   Your allegation in Paragraph 330 of the Complaint that “[a]ccording to
              A.D., Walmart pharmacists never asked her any questions about her
              prescriptions, and she did not recall Walmart contacting [
                        ] to discuss her prescriptions.”



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        (b)   Your allegations in Paragraph 552 of the Complaint that “A.D. later
              admitted, she was addicted to the opioids, but Walmart pharmacists
              always filled her prescriptions without asking her any questions” and
              “[s]he also did not recall Walmart contacting her Prescriber to discuss
              her prescriptions.”

  43.   All Documents relied upon by You to support Your allegations in Paragraphs
        331-333 and 553 of the Complaint regarding a patient with the initials M.H.,
        including:

        (a)   Your allegation in Paragraph 333 of the Complaint that “M.H. … does
              not recall any Walmart pharmacists calling [               ]’s office
              to ask questions about her prescriptions.”

        (b)   Your allegations in Paragraph 553 of the Complaint that “M.H. did not
              recall any Walmart pharmacists ever calling her Prescriber’s office to
              ask questions about her prescriptions, and Walmart never refused to fill
              any of her prescriptions.”

  44.   All Documents relied upon by You to support Your allegations regarding
                      in Paragraphs 162, 335-344, 481, and 503 of the Complaint,
        including:

        (a)   Your allegations in Paragraph 335 of the Complaint that         : (i) had
              a “medical practice [with] all the features of a classic pill-mill
              operation”; (ii) “falsified medical records to justify prescriptions for
              dangerously excessive amounts of controlled substances”; (iii)
              “permitted his patients to choose their opioid medications during their
              brief encounters with him”; (iv) “prescribed medications that he knew
              would be diverted”; and (v) “prescribed the trinity combination
              frequently and in large doses.”

        (b)   Your allegations in Paragraph 336 of the Complaint regarding
              arrest, guilty plea, and sentencing.

        (c)   Your allegations in Paragraphs 336, 337, and 344 of the Complaint
              regarding the three Florida Department of Health administrative
              complaints filed against       , the 2013 amended complaint, and the
              April 2016 voluntary relinquishment of his license.



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        (d)   Your allegations in Paragraph 338 of the Complaint that “[b]ecause the
              Florida Department of Health records were public, Walmart’s
              compliance team learned about the Department’s complaints in
              September 2012.”

        (e)   Your allegations in Paragraph 339 of the Complaint that “[j]ust a few
              weeks after        ]’s plea, Walmart’s compliance team became aware
              of M.M.’s criminal conviction.”

  45.   All Documents relied upon by You to support Your allegations regarding
                                    referenced in Paragraphs 345-354, 529-530, and
        555 of the Complaint, including:

        (a)   Your allegations in Paragraph 345 of the Complaint that: (1)
                       “flooded his community with opioids”; (2) “[f]rom January
              2013 through March 19, 2018, [                    ] wrote prescriptions
              totaling more than seven million dosage units” and “[m]ore than 60
              percent of those prescriptions were for Schedule II controlled
              substances, and less than two percent of the prescriptions were for non-
              scheduled drugs”; (3) “[t]he top-10 drugs he prescribed were all
              opioids”; and (4) “[t]he most common drug he prescribed was
              hydrocodone-acetaminophen 10/325mg, and the second-most common
              was oxycodone 30mg.”

        (b)   Your allegations in Paragraph 346 of the Complaint that: (1) “[
                      ]’s practice bore many other signs of being a pill mill”; (2)
              “[h]is patients’ medical records were often cut-and-paste from one visit
              to another and contained no medical justification for the large quantities
              of Schedule II controlled substances he prescribed; (3) his
              “appointments were very short”; “typically [he] saw 80 to 90 patients
              per day, and each follow-up appointment lasted for just a few minutes”;
              (4) “[e]mployees … recalled receiving multiple calls a day from his
              patients’ family members expressing concern about [                    ]’s
              treatment; and (5) “[e]mployees observed patients in the waiting room
              who appeared intoxicated, with one employee recalling an instance
              where a patient fell asleep on the toilet while giving a urine sample.”

        (c)   Your allegations in Paragraph 351 of the Complaint that “[o]ne of
              [               ]’s former employees who worked at his office in 2015



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              observed that office staff told patients where to fill [            ]’s
              prescriptions, usually instructing them to go to Walmart Store 2036.”

  46.   All Documents relied upon by You to support Your allegations regarding
                      in Paragraphs 146, 162, 355-366, 461-465, and 549 of the
        Complaint, including:

        (a)   Your allegations in Paragraph 355 of the Complaint that: “[a]lthough
              [       was not trained or certified in pain management, 75 to 80
              percent of [      ’s patients came to him for pain management” and
              “[r]oughly half of his patients paid in cash.”

        (b)   Your allegations in Paragraph 356 of the Complaint that: (1) “[       ]
              was well known in Delaware for overprescribing opioid medications”;
              (2) “[t]wo former employees of [          ]’s practice said that people
              would frequently refer to [          as “Candy Man” because of the
              number of opioid pills he prescribed”; (3) “[a] pharmacist at a non-
              Walmart pharmacy in Milford, Delaware, reported that, immediately
              after opening in 2013, they began to receive a deluge of prescriptions
              from         ,” described          as “operating the ‘Disneyland for
              opiates’ and concluded, based on his corresponding responsibility as a
              pharmacist, that he should not fill any prescriptions from       ”; and
              (4) “[a]n emergency room doctor told investigators that the emergency
              room would see five to 10 patients a night experiencing opioid
              withdrawal and that these were largely patients who had been seen by
                     .”

        (c)   Your allegations in Paragraph 365 of the Complaint that “Walmart had
              filled three of the specific prescriptions for which               was
              convicted” and that “[o]f the 13 patients whose prescriptions formed
              the basis of [      ’s conviction, eight had filled other prescriptions
              from         at Walmart stores for the same drugs.”

        (d)   Your allegation in Paragraph 463 of the Complaint that a “pharmacy
              manager reported       ]’s unprofessional practices to others.”

        (e)   Your “survey” and interview of the pharmacists in the Milford area
              described in Paragraphs 463 and 464 of the Complaint, or relied upon
              by You to support Your allegations in Paragraphs 463 and 464,
              including that: (1) “DEA diversion investigators… spoke with the
              manager and another pharmacist at Store 1741”; (2) “[t]he manager

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              explained that she knew that [        ] did not have credentials to practice
              as a pain management physician”; (3) “[s]he reported that there was an
              influx of          ] patients on Thursdays, probably because [            ’s
              office was closed on Fridays”; (4) “[s]he observed that his patients
              arrived within three minutes of one another and ‘if the pharmacy does
              not have the medication . . . the word spreads in the parking lot and
              patients attempt to go to other pharmacies to get their prescriptions
              filled’”; (5) “[s]he told the investigators that most patients paid cash for
              their prescriptions even though they had Medicaid”; and (6) “[s]he and
              the other pharmacist explained that many individuals from the same
              family received the same medication in the same quantity from [            ,
              and that multiple people from the same address received the same
              medications.”

  47.   All Documents relied upon by You to support Your allegations regarding
                          in Paragraphs 367-380 and 466-469 of the Complaint,
        including:

        (a)   Your allegations in Paragraph 367 of the Complaint that: (1) “[i]n
              2014, 2015, and 2016,           ] was the top Prescriber of opioids in
              the Commonwealth of Pennsylvania”; and (2) “[f]rom January 2014 to
              July 31, 2017           prescribed approximately 9.5 million units of
              oxycodone, hydrocodone, oxycontin, and fentanyl to his patients.”

        (b)   Your allegations in Paragraph 368 of the Complaint that: (1) “[i]t was
              common knowledge in Mt. Carmel and Shamokin that patients could
              easily get narcotics from              ]” (see also Paragraph 466); (2)
              “          ] was the ‘go to’ for pain pills” (see also Paragraph 466); (3)
              [s]ome patients referred to him as “the Maniac” because of the large
              number of controlled-substance prescriptions he wrote; and (4) “[a]
              police detective from Coal Township, which surrounds Shamokin,
              reported in mid-2015 that                 ] had prescribed most of the
              narcotic pills that ended up being sold and used on the streets of the
              township.”

        (c)   Your allegations in Paragraph 373 of the Complaint that a patient with
              the initials R.C. died of an overdose on May 3, 2015, and that
              “[         ] … prescribed the drugs on which R.C. overdosed.”




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        (d)   Your allegations regarding Your August 25, 2015, interview of the
              Walmart pharmacy manager at Store 2481 in Coal Township,
              Pennsylvania, described in Paragraph 467 of the Complaint, or relied
              upon to support Your allegations in Paragraph 467, including that: (1)
              “[t]he pharmacy manager explained that most of the prescriptions that
              were refused at Store 2481 were issued by [            and that “many
              patients attempted to refill narcotic prescriptions early and that
              [        ] wrote many narcotic prescriptions for the same patient just
              days apart”; and (2) “[t]he pharmacy manager later stated that the four
              pharmacists who worked at the store consulted with each other.”

        (e)   Your allegations regarding an August 28, 2015, report by a Walmart
              pharmacist from Store 2481 described in Paragraph 467 of the
              Complaint, or relied upon to support Your allegations in Paragraph 467,
              including that: (1) a pharmacist reported that “it was not uncommon for
              the pharmacy to sell out of narcotics on the weekends because of the
              high volume of narcotics that            ]’s patients were attempting to
              fill”; and (2) “[o]n Saturday mornings, [          ]’s patients would line
              up outside the pharmacy before it opened.”

  48.   All Documents relied upon by You to support Your allegations regarding
                   in Paragraphs 162, and 381-394 of the Complaint, including:

        (a)   Your allegations in Paragraph 381 of the Complaint that
              practice “exhibited numerous signs of pill-mill activity,” including that:
              (1) it “operated on a cash-only basis and did not accept insurance”; (2)
              “[n]umerous ‘patients’ who came to                traveled to his Miami
              clinic from other states, including large numbers of individuals
              travelling in groups from southeastern Kentucky”; (3) “[m]any of these
              individuals were sponsored by drug dealers in Kentucky, who paid for
              their travel costs in exchange for receiving a portion of the pills”; (4)
              “[t]he waiting room of [        ]’s practice was crowded, and, at times,
              standing-room only; and (5) “[            ] would prescribe opioids to
              patients after spending only a few minutes with them, without
              performing any type of physical examination, and without requesting
              or reviewing patients’ previous medical or prescription records.”

        (b)   Your allegations in Paragraph 383 of the Complaint that
              patients “fanned out across the United States” to fill their prescriptions.



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  49.   All Documents relied upon by You to support Your allegations regarding
                        in Paragraphs 124, 213, 395-402, and 470-475 of the
        Complaint, including:

        (a)   Your allegations in Paragraph 395 of the Complaint that a DEA
              investigation of        revealed that: (1) “for a period of time, [       ]
              prescribed most of his patients hydrocodone, Xanax, and Soma,” and
              that        referred to this “as the ‘cocktail’”; (2) “‘mules’ recruited
              patients from out of town to obtain substances from [                    ],
              purportedly for illicit use”; (3) “a number of patients sold controlled
              substances prescribed by [          ] on the street”; and (4) a patient
              interviewed by DEA “said that she began seeing [             ] after being
              told he would prescribe anything she wanted.”

        (b)   Your allegations regarding Your December 2016 interview of the
              Walmart employee at Store 206 in McKinney, Texas, described in
              Paragraph 399 of the Complaint, including that: (1) “the employee
              observed the number of [         ]’s prescriptions filled by her pharmacy
              had significantly increased from 2014 to 2016, while competitor
              pharmacies had stopped filling [         ’s prescriptions”; (2) “she stated
              that she had observed multiple red flags in [       ]’s prescribing habits:
              prescriptions for cocktails of drugs that she knew were abused, for high-
              dose opioids for long periods of time, and for excessive quantities of
              opioids”; and (3) “she also stated she believed several of [             ]’s
              patients did not need the medications for medical purposes, based on
              their disruptive behavior, including their complaints that they could not
              get early refills and their demands that they needed their medications
              ‘NOW!’”

        (c)   Your allegations regarding Your December 2016 interview of the
              Walmart employee at Store 206 in McKinney, Texas, described in
              Paragraph 400 of the Complaint, including that: (1) “she told DEA
              agents that, in retrospect, she would not have filled several of [     ]’s
              prescriptions”; and (2) “[s]he admitted to continuing to fill his
              prescriptions despite the concerns triggered by the number of the
              prescriptions he wrote for the same cocktail of drugs, the number of
              individuals who traveled long distances to get their prescriptions filled
              at her pharmacy, and the fact that other area pharmacies had stopped
              filling [      ]’s prescriptions.”



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        (d)   Your allegations regarding Your interview of R.P. described in
              Paragraph 401 of the Complaint, including that: (1) “[i]n May 2015,
              R.P. was arrested for selling hydrocodone and Xanax prescribed to her
              by [        and filled at Walmart”; (2) “[i]n an interview with DEA,
              R.P. said that she filled her prescriptions at Walmart because it was one
              of the only pharmacies that would fill [         ]’s prescriptions”; and (3)
              “[i]n August 2017, R.P. was indicted by a grand jury for illegally
              conspiring with [        ] to distribute controlled substances.”

  50.   All Documents relied upon by You to support Your allegations regarding
                       in Paragraphs 146, 156, 162, 228, 403-415, and 551 of the
        Complaint, including:

        (a)   Your allegations in Paragraph 403 of the Complaint that                 s
              practice “exhibited numerous signs of pill-mill activity”; “[f]or
              example, [       ]’s business hours typically began at 4:00 p.m. or later
              and he would see the patients until late in the evening.”

        (b)   Your allegations in Paragraph 404 of the Complaint that: (1)
              “[         ]’s patient examinations, when he conducted examinations at
              all, were perfunctory and standardized and not necessarily relevant to
              the patients’ complaints”; (2) “[d]iagnostic tests, even if ordered, rarely
              resulted in any change in treatment or pain management”; and (3)
              “[           prescribed opioids, typically in a set monthly dosage of 120
              pills, at the first visit and every subsequent visit, without accounting for
              differences in patient history, without exploring alternative treatment
              options, without conducting legitimate urine drug screenings, without
              conducting random pill counts, and all the while ignoring warning signs
              of addiction and abuse in favor of continuing opioid prescribing.”

        (c)   Your allegations in Paragraph 405 of the Complaint that: (1) “[
              ran a cash-based clinic and generally charged a flat rate of $200 cash
              per patient visit”; (2) “[e]ven patients who carried insurance paid for
              their prescriptions in cash”; and (3) “[     ]’s business grew by word
              of mouth within the pill-seeking community around New Bern, North
              Carolina.”

        (d)   Your allegation in Paragraph 408 of the Complaint that “[  ] began
              sending patients to more distant pharmacies when local pharmacies
              started rejecting his prescriptions.”


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        (e)   Your allegation in Paragraph 409 of the Complaint that “[        ] was,
              however, available late at night and answered his own phone to validate
              prescriptions.”

        (f)   Your allegations in Paragraph 413 of the Complaint that “[       ] gave
              one of his patients—who was at that time working as a confidential
              source for law enforcement—a list of pharmacies that he believed
              would still fill his prescriptions,” and that “Walmart was second from
              the top of that list.”

  51.   All Documents relied upon by You to support Your allegations regarding
                       in Paragraphs 162, 416-425, and 486 of the Complaint,
        including:

        (a)   Your allegations in Paragraph 416 of the Complaint that: (1) “[u]pon
              retiring from his gynecology practice,             worked part-time at a
              pain clinic”; (2) “[t]he pain clinic actively advertised to cash patients,
              highlighted quick service, and called over-the-counter aspirin ‘useless
              and awful for your body’”; and (3) the clinic “publicly solicited names
              of pharmacists and pharmacies in Bradenton and Sarasota that refused
              to fill        ]’s prescriptions and advised patients to use two specific
              mail-in pharmacies to fill Schedule II pain medications.”

  52.   All Documents relied upon by You to support Your allegations regarding
                              in Paragraphs 162, 426-435, and 525-528 of the
        Complaint, including:

        (a)   Your allegations in Paragraph 426 of the Complaint that: (1) prior to
              2013, “[            ] served as the director of an unlicensed pain clinic
              in Knoxville, Tennessee”; (2) at that clinic, “[                  ] was
              supposed to supervise advanced practice nurses, but he gave the nurses
              ‘no guidance’ whatsoever and did not review patient charts”; (3) the
              clinic “engaged in egregious prescribing habits, including continuing to
              prescribe a patient opiates and benzodiazepines after a positive urine
              drug screen for cocaine”; and (4) “[i]n 2013, [                      also
              prescribed controlled substances from a clinic in Pikeville, Kentucky.”

        (b)   Your allegations in Paragraph 432 and 435 of the Complaint that “the
              Tennessee Board of Medical Examiners revoked [                      ]’s
              medical license in January 2014 as a result of his failure to supervise


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              nursing staff in what the board described as ‘egregious prescribing
              habits’ related to controlled substances”; “[          ]’s licenses to
              practice medicine in Colorado, Kentucky, Washington, and Florida
              were later suspended or revoked”; and “[o]n June 15, 2015, the Florida
              Board of Medicine suspended his license, and DEA thereafter revoked
              his registration.”

  53.   All Documents relied upon by You to support Your allegations regarding
                   in Paragraphs 162 and 436-445, including:
        (a)   Your allegations in Paragraph 436 of the Complaint that: (1)           had
              a “cluttered, disheveled office [that] had all the outward features of a
              stereotypical ‘pill mill’ clinic, with large numbers of patients who drove
              in groups for long distances to appointments”; (2) “[t]he great majority
              of [      ’s patients had criminal histories, and approximately half of
              his patient population had criminal drug histories”; (3) “[p]atients in the
              crowded waiting area could be seen sleeping, losing consciousness, and
              falling out of their chairs, and they could be overheard openly
              discussing illegal narcotics”; (4) “[p]atients paid cash for excessively
              high dosages of opioids that were prescribed after little to no clinical
              evaluation”; and (5) “[         kept a pet Cockatoo named ‘Cyrus’ in his
              exam room and often spent more time talking to his bird than to
              patients.”

  54.   Documents sufficient to define or inform the meaning of the phrase “obvious
        combinations of red flags,” as used in Paragraph 447 of the Complaint.

  55.   All Documents relied upon by You to support Your allegations in the
        Complaint regarding the practice of pharmacy, including:

        (a)   Your allegation in Paragraph 449 of the Complaint that “schools of
              pharmacy generally included, in their standard curricula, courses
              covering red flags”;

        (b)   Your allegation in Paragraph 450 of the Complaint that “it was
              recognized in the pharmacy profession that pharmacists had an
              obligation to assess red flags and determine whether a prescription was
              valid”;

        (c)   Your allegations in Paragraph 545 of the Complaint that “[i]t has long
              been recognized in the professional field of pharmacy that a pharmacist

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              presented with a controlled-substance prescription has to take certain
              fundamental steps to review the prescription” and “[p]harmacists who
              do not take such steps fail to follow the usual course of professional
              practice”;

        (d)   Your allegation in Paragraph 547 of the Complaint that “the basic
              professional obligations of pharmacists require a pharmacist, when
              presented with a controlled-substance prescription bearing a red flag,
              to—as part of the usual course of professional pharmacy practice—take
              three basic steps: (a) identify the red flag, (b) investigate and resolve
              the red flag or refuse to fill the prescription, and (c) if the red flag is
              resolved, document the resolution”; and

        (e)   Your allegation in Paragraph 548 of the Complaint that “[e]ven if a
              prescription turns out to be valid, a failure to take these basic steps
              [listed in Paragraph 547 of the Complaint] violates the usual course of
              professional practice for pharmacists”.

  56.   All Documents relied upon by You to support Your allegations regarding
            in Paragraphs 180 and 474-475 of the Complaint, including:

        (a)   Your allegations in Paragraph 475 of the Complaint that “[t]he
              pharmacy manager admitted that, notwithstanding the knowledge that
              [    ] was not adhering to the usual course of professional practice, the
              pharmacy filled seven Schedule II controlled-substance prescriptions
              by [    ] between September 2015 and November 2015”.

  57.   All Documents relied upon by You to support Your allegation in Paragraph
        476 of the Complaint that some Walmart “pharmacists were willfully blind to
        the prescriptions’ invalidity” and “chose not to resolve the obvious red flags
        before filling the prescriptions, despite their subjective awareness of the high
        probability that the prescriptions were invalid.”

  58.   All Documents relied upon by You to support Your allegations in the
        following Paragraphs of the Complaint that “trained pharmacists were aware”
        that the following prescriptions or combination of prescriptions “presented
        obvious red flags” or otherwise contained characteristics You contend
        demonstrate that the prescriptions or combination of prescriptions were



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       written for other than “a legitimate medical purpose by an individual
       practitioner acting in the usual course of his professional practice”:

       (a)   “multiple immediate-release opioids prescribed together or close in
             time” (Paragraph 479);

       (b)   “immediate-release opioid and methadone” (Paragraph 484);

       (c)   “classic trinity,” defined by You as “(a) an opioid; (b) a
             benzodiazepine; and (c) the muscle-relaxer carisoprodol (brand name
             Soma)” (Paragraph 494);

       (d)   “zolpidem trinity,” defined by You as “(a) an opioid, (b) a
             benzodiazepine, and (c) the sedative zolpidem (brand name Ambien)”
             (Paragraph 497);

       (e)   “stimulant trinity,” defined by You as “(a) an opioid, (b) a
             benzodiazepine, and (c) a stimulant” (Paragraph 500);

       (f)   “trinity plus,” defined by You as “(a) two or more different immediate-
             release opioids (including different strengths of the same opioid); (b) a
             benzodiazepine; and (c) either carisoprodol or zolpidem” (Paragraph
             504);

       (g)   “extraordinarily high dosages of opioids” or “high-MME prescriptions”
             (Paragraphs 510, 513);

       (h)   “an individual’s request to fill a controlled-substance prescription
             early” (Paragraph 514);

       (i)   “early refills” (Paragraph 517);

       (j)   “prescriptions [] paid for in cash” (Paragraph 521);

       (k)   “old prescriptions” (Paragraph 528);

       (l)   patient “shared part of a surname with” Prescriber (Paragraphs 530,
             555);

       (m)   “high dosage,” “large dosage,” or “high dose” (Paragraphs 530, 533,
             534);

       (n)   “long history of such prescriptions” (Paragraph 534);


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              she could not afford the prescriptions there since she was paying in
              cash” and “then began filling at Walmart.”

  64.   All Documents relating to or relied upon by You to support Your allegations
        in Paragraph 551 of the Complaint regarding a patient with the initials R.F.,
        including Your allegations that “R.F., a customer, stated that despite
        numerous red flags, including that he drove considerable distances across
        North Carolina to get heavy doses of opioids and almost always bought his
        opioids from Walmart with cash, the Walmart pharmacist on duty never asked
        R.F. any questions about his prescriptions and never contacted his doctor to
        verify them.”

  65.   All Documents relied upon by You to support Your allegations in Paragraphs
        552 and 553 of the Complaint that Walmart filled controlled-substance
        prescriptions “without checking and resolving red flags.”

  66.   All Documents relied upon by You to support Your allegations in Paragraph
        555 of the Complaint that “in many instances Walmart pharmacists filled
        controlled-substance prescriptions showing a combination of obvious red
        flags and there is reason to believe the pharmacist did not resolve the red flags
        before filling the prescription.”

  67.   All Documents relating to Your past or present guidance or policies, whether
        formal or informal, related to the dispensing of Controlled Substances; Your
        development, issuance, application, revision, or repeal thereof; and Your
        receipt of and response to requests for guidance or recommendations on such
        issues, including:

        (a)   All versions of the Pharmacist’s Manual published by DEA since 2010,
              including DEA’s development, issuance, application, revision, or
              repeal of all such versions. The start date for this Request, as it relates
              to the Pharmacist’s Manual published by DEA, is January 1, 2009;

        (b)   Recommendations, publications, Statements, or presentations that You
              have provided related to the dispensing of Controlled Substances,
              including DEA presentations to State Agencies;



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        (c)   Guidance or other Communications provided by You to any pharmacy
              or pharmacist regarding the dispensing of Controlled Substances, “red
              flags” indicative of potential diversion, or “corresponding
              responsibility” under 21 C.F.R. § 1306.04; and

        (d)   Guidance or other Communications provided by You to any pharmacy
              or pharmacist regarding the dispensing of Controlled Substances, “red
              flags” or other characteristics of a prescription indicative of potential
              diversion, or “acting in the usual course of his professional practice”
              under 21 C.F.R. § 1306.06.

  68.   All Documents relating to processes, policies, or trainings applicable to Your
        regulation, oversight, investigation, or discipline of any pharmacy or
        pharmacist relating to their dispensing of Controlled Substances, including:

        (a)   Your development, issuance, application, enforcement, revision, and
              repeal of such processes, policies, or trainings;

        (b)   Your review of and action upon DEA registration or renewal
              applications submitted by pharmacies;

        (c)   Your inspection, audit, or investigation of pharmacies; and

        (d)   Your evaluation and determination of whether a pharmacy or
              pharmacist filled a prescription or prescriptions for a Controlled
              Substance in compliance with the CSA.

  69.   All Documents relating to any Allegedly Invalid Prescription filled by a
        Walmart pharmacist.

  70.   All Documents relating to any patient for whom a Walmart Pharmacist filled
        any Allegedly Invalid Prescription.

  71.   For each Walmart prescription you contend was filled with knowledge that
        the prescription was written not for a legitimate medical purpose, data
        sufficient to show all relevant information about prescriptions bearing the
        same characteristics written by You, dispensed by You, or for which any
        Government Payor provided coverage.




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  72.   All Documents relating to any inspections, audits, visits, subpoenas,
        inspection warrants, orders to show cause, or immediate suspension orders to
        any Walmart pharmacy where You contend any Allegedly Invalid
        Prescription was filled. This includes requests for records or transcripts from
        any undercover operations targeting such Walmart pharmacy.

  73.   All Documents relating to Your review or analysis of Walmart’s policies or
        processes relating to dispensing Controlled Substances.

  74.   All Documents relating to any instance in which You considered or acted upon
        a DEA registration or renewal application for any Walmart pharmacy where
        You contend any Allegedly Invalid Prescription was filled.

  75.   All Documents relating to any instance in which You investigated,
        prosecuted, or brought a disciplinary or enforcement action against Walmart
        or a Walmart employee for violations of the CSA related to the dispensing of
        Controlled Substances.

  76.   All Documents relating to a Refusal to Fill or Blanket Refusal to Fill by
        Walmart’s pharmacists or a Central Block implemented by Walmart.

  77.   All Documents relating to determinations made by non-Walmart pharmacists
        not to fill an individual Controlled Substance prescription written by a certain
        Prescriber or to no longer fill any Controlled Substance prescriptions written
        by a certain Prescriber.

  78.   All Documents relating to the determination made by a non-Walmart
        pharmacy, company, or entity to prohibit the filling of any Controlled
        Substance prescription written by a certain Prescriber by that pharmacy,
        which is then imposed on all pharmacists within that pharmacy, company, or
        entity.

  79.   All Documents relating to any instance in which You provided guidance,
        recommendations, direction, instruction, or advice to a pharmacy or
        pharmacist relating to:



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        (a)   The determination by a pharmacist not to fill an individual Controlled
              Substance prescription written by a certain Prescriber;

        (b)   the determination by a pharmacist to no longer fill any Controlled
              Substance prescription written by a certain Prescriber; and

        (c)   the determination made by a pharmacy, company, or entity to prohibit
              the filling of any Controlled Substance prescription written by a certain
              Prescriber by that pharmacy, which is then imposed on all pharmacists
              within that pharmacy, company, or entity.

  80.   All Documents relating to “red flags” as that term is used in the Complaint,
        including:

        (a)   Any presentation by You that discusses or identifies “red flags”;

        (b)   Reports, presentations, and declarations of expert witnesses retained by
              You in any Opioid Litigation that discuss or identify “red flags”;

        (c)   Deposition transcripts and trial testimony of expert and fact witnesses
              that discuss or identify “red flags” in matters where You are a party;
              and

        (d)   Correspondence with third parties, including pharmacies, that discuss
              or identify “red flags.”

  81.   All Documents relating to Walmart’s November 2020 petition to the DEA to
        promulgate rules clarifying the obligations of Prescribers, pharmacists, and
        pharmacies under the CSA.

  82.   All Documents relating to Controlled Substances and the following third-
        party healthcare associations:

        (a)   National Association of Boards of Pharmacy (NABP) and/or Carmen
              Catizone;

        (b)   American Medical Association (AMA);

        (c)   National Community Pharmacists Association;

        (d)   National Association of State Controlled Substance Authorities;


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        (e)   National Association of Chain Drug Stores (NACDS) (e.g., the letter
              sent by Thomas W. Prevoznik, Deputy Assistant Administrator,
              Diversion Control Division, to Kevin N. Nicholson, Vice President,
              Public Policy and Regulatory Affairs, NACDS, regarding DEA’s
              position on the medical basis of specific prescription drug therapies);

        (f)   Independent Retail Pharmacy Association;

        (g)   American Pharmacists Association (APhA); and

        (h)   state or local associations of pharmacists, doctors, or other medical
              professionals.

  83.   All Documents relating to Your past and present guidance or policies, whether
        formal or informal, relating to the prescribing of Controlled Substances; Your
        development, issuance, application, revision, or repeal thereof; and Your
        receipt of and response to requests for guidance or recommendations relating
        to such issues, including:

        (a)   CDC’s 2016 Guideline for Prescribing Opioids for Chronic Pain;

        (b)   CDC 2016 Pharmacists: On the Front Lines. Addressing Prescription
              Opioid Abuse and Overdose;

        (c)   CDC Advises Against Misapplication of the Guideline for Prescribing
              Opioids for Chronic Pain (April 24, 2019);

        (d)   CDC’s 2022 Clinical Practice Guideline for Prescribing Opioids for
              Pain;

        (e)   CDC (National Center for Injury Prevention and Control) Presentation
              titled “Draft Updated CDC Guideline for Prescribing Opioids:
              Background, Overview, and Progress” (July 16, 2021);

        (f)   CDC (National Center for Injury Prevention and Control) Presentation
              titled “Overview of the Process for Updating the CDC Guideline for
              Prescribing Opioids” (July 16, 2021);

        (g)   CDC (National Center for Injury Prevention and Control) Presentation
              titled “Observations of the Opioid Workgroup of the Board of Scientific
              Counselors of the National Center for Injury Prevention and Control on
              the Updated CDC Guideline for Prescribing Opioids” (July 16, 2021);

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        (h)   The May 6, 2019, Draft Final Report of the Pain Management Best
              Practices Inter-Agency Task Force;

        (i)   The May 2022 VA/DoD Clinical Practice Guideline for the Use of
              Opioids in the Management of Chronic Pain;

        (j)   CMS’ August 2023 “A Prescriber’s Guide to Medicare Prescription
              Drug (Part D) Opioid Policies”;

        (k)   CMS’ April 2, 2018, NOTE TO: Medicare Advantage Organizations,
              Prescription Drug Plan Sponsors, and Other Interested Parties,
              Announcement of Calendar Year (CY) 2019 Medicare Advantage
              Capitation Rates and Medicare Advantage and Part D Payment Policies
              and Final Call Letter; and

        (l)   Recommendations, publications, Statements, or presentations that You
              have provided related to the prescribing of Controlled Substances,
              including DEA presentations to State Agencies.

  84.   All Documents related to the implementation or contemplated implementation
        of opioid-specific prescribing policies for Medicare Part D sponsors,
        including, for example, safety alerts, safety edits, hard safety edits, Drug
        Management Programs, opioid overutilization policies, opioid care
        coordination edits, or any similar opioid-specific policy or practice. This
        includes, by way of example only, the implementation of safety edits to alert
        pharmacists about duplicative opioid therapies or concurrent use of opioids
        and benzodiazepines, or the implantation of hard safety edits or opioid care
        coordination edits set at specific MME levels.

  85.   All Documents relating to past or present processes, policies, or trainings
        applicable to Your registration, regulation, oversight, investigation, or
        discipline of Prescribers relating to their prescribing of Controlled Substances,
        and Your development, issuance, application, enforcement, revision, and
        repeal of such processes, policies, or trainings.

  86.   All Documents, from January 1, 2006, to the present, relating to any Identified
        Prescriber, including:



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       (a)   Documents relating to any complaint, audit, investigation,
             enforcement, or disciplinary action concerning any such Prescriber,
             including without limitation all related Communications, Investigative
             Reports, interviews, notes, data, and data analyses;

       (b)   Documents relating to Walmart’s cooperation in any complaint, audit,
             investigation, or enforcement or disciplinary action concerning any
             such Prescriber;

       (c)   Documents relating to any instance in which You considered or acted
             upon a DEA registration or renewal application for any such Prescriber,
             including any investigatory and due diligence efforts conducted as part
             of such consideration;

       (d)   Documents relating to whether You included or considered including
             any such Identified Prescriber in HHS OIG’s “Exclusions Program” for
             individuals who are excluded from federally-funded health care
             programs;

       (e)   Communications involving DEA personnel regarding any such
             Prescriber;

       (f)   Communications between You and any such Prescriber;

       (g)   Presentence Report(s) and Sentencing Memoranda regarding any such
             Prescriber;

       (h)   Communications with local, state, or federal law enforcement agencies
             regarding any such Prescriber;

       (i)   Communications with Walmart regarding any such Prescriber;

       (j)   Communications with third parties, including non-Walmart pharmacies
             and pharmacists regarding any such Prescriber;

       (k)   Documents relating to Your consideration of whether to issue an Order
             to Show Cause or Immediate Suspension Order with respect to any such
             Prescriber; and

       (l)   Documents relating to any criminal proceedings You brought against
             any such Prescriber.



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  87.   All Documents relating to Your decision to make or not make information
        about the DEA registration status for Prescribers publicly available, including,
        for instance, through the “Cases Against Doctors” page that was previously
        accessible on DEA’s website or through the “Cases Against Doctors”
        publication previously issued by DEA’s Diversion Control Division.

  88.   All Documents relating to actions You have taken after receiving notice that
        a DEA registrant has had Controlled Substance prescriptions blocked or
        otherwise refused by Walmart or any other pharmacy.

  89.   All Documents relating to the Supreme Court’s June 2022 decision in Ruan v.
        United States and Kahn v. United States, 142 S. Ct. 2370 (June 27, 2022).

  90.   All Documents relating to Government Payors’ past or present processes,
        policies, or trainings to identify “invalid prescriptions” for Controlled
        Substances as that term is used in the Complaint (see, e.g., Paragraphs 11, 13,
        15), including Documents relating to Your development, issuance,
        application, enforcement, revision, or repeal of such processes, policies, or
        trainings.

  91.   All Documents relating to Government Payors’ past or present processes,
        policies, or trainings to identify Prescribers that were prescribing controlled
        substances “outside the usual course of professional practice,” as that term is
        used in the Complaint (see, e.g., Paragraphs 11, 16), including:

        (a)   Your past or present processes, policies, or trainings related to the
              identification of such Prescribers; and

        (b)   Your development, issuance, application, enforcement, revision, or
              repeal of such processes, policies, or trainings.

  92.   All Documents relating to any Government Payor’s consideration of
        limitations on or changes to coverage for Controlled Substances, such as
        limitations based on dosage, duration, concurrent use with other Controlled
        Substances, or receipt of Controlled Substances from multiple Prescribers or
        pharmacies.



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  93.   All Documents related to the implementation or contemplated implementation
        of prior authorization requirements on Medicare Part D participants for
        Controlled Substance prescriptions.

  94.   All Documents relating to any Government Payor’s consideration of the
        inclusion or exclusion of any Controlled Substances from federal prescription
        drug plan formularies.

  95.   Claims data, and any compilations thereof, sufficient to show all prescriptions,
        both for Controlled Substances and non-Controlled Substances, written by an
        Identified Prescriber for which any Government Payor provided coverage.

  96.   All Documents relating to processes, policies, or trainings implemented at any
        Government Healthcare Facility applicable to prescribing or dispensing
        Controlled Substances including Documents relating to:

        (a)   The determination by a pharmacist to fill or not to fill an individual
              Controlled Substance prescription written by a certain Prescriber;

        (b)   the determination by a pharmacist to no longer fill any Controlled
              Substance prescriptions written by a certain Prescriber;

        (c)   the determination made by a Government Healthcare Facility—or a
              pharmacy within a Government Healthcare Facility—to prohibit the
              filling of any Controlled Substance prescription written by a certain
              Prescriber, which is then imposed on all pharmacists within that
              Government Healthcare Facility;

        (d)   the identification, resolution, or documentation of any “red flags”;

        (e)   record-keeping policies of information related to Controlled Substance
              prescriptions, including the implementation and audit of any such
              policies;

        (f)   the filling or non-filling of Controlled Substance prescriptions that
              present any of the “red flags” or characteristics identified by You in the
              following Paragraphs of the Complaint: 479, 482-484, 493-494, 497-
              498, 489, 500, 504, 508, 509-510, 513, 514, 517, 521-525, 528-529,
              530, 531-534, 539, 555;


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        (g)   the use of the Opioid Therapy Risk Report published by the Department
              of Veterans Affairs as part of its Opioid Safety Initiative; and

        (h)   the referral, recommendation, permission, or guidance by You to your
              patients to use Walmart pharmacies for the dispensing of prescribed
              medications.

  97.   All Documents relating to the provision of guidance, recommendations,
        direction, instruction, or advice to a pharmacy or pharmacist at a Government
        Healthcare Facility regarding:

        (a)   The determination by a pharmacist to fill or not to fill an individual
              Controlled Substance prescription written by a certain Prescriber or
              prescriptions that present any of the “red flags” or characteristics
              identified by You in the Complaint (see e.g., Paragraphs 479, 482-484,
              493-494, 497-498, 489, 500, 504, 508, 509-510, 513, 514, 517, 521-
              525, 528-529, 530, 531-534, 539, 555);

        (b)   the determination by a pharmacist to no longer fill any Controlled
              Substance prescriptions written by a certain Prescriber (see e.g.,
              Paragraph 132 of the Complaint);

        (c)   the determination made by a Government Healthcare Facility—or a
              pharmacy within a Government Healthcare Facility—to prohibit the
              filling of any Controlled Substance prescription written by a certain
              Prescriber, which is then imposed on all pharmacists within the
              Government Healthcare Facility; and

        (d)   the identification, resolution, or documentation of any “red flags.”

  98.   All Documents relating to any instance in which:

        (a)   A pharmacist working at a Government Healthcare Facility made a
              determination not to fill an individual Controlled Substance
              prescription written by a certain Prescriber;

        (b)   a pharmacist working at a Government Healthcare Facility made a
              determination to no longer fill any Controlled Substance prescriptions
              written by a certain Prescriber;




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        (c)   a Government Healthcare Facility—or a pharmacy within a
              Government Healthcare Facility—made the determination to prohibit
              the filling of any Controlled Substance prescriptions written by a
              certain Prescriber, which was then imposed on all pharmacists within
              that Government Healthcare Facility.

  99.   All Documents relating to any instance in which You considered or
        implemented any limitations on the prescribing or dispensing of Controlled
        Substances at a Government Healthcare Facility, such as limitations based on
        dosage, duration, concurrent use with other prescription medications, or
        receipt of Controlled Substances from multiple Prescribers or pharmacies.

  100. Data, and any compilations thereof, sufficient to show all prescriptions, both
       Controlled Substances and non-Controlled Substances, written by an
       Identified Prescriber and that were filled by a pharmacist working at a
       Government Healthcare Facility or filled at a pharmacy at a Government
       Healthcare Facility.

  101. All Documents relating to any complaint, inspection, audit, investigation,
       Investigative Report, or enforcement or disciplinary action concerning
       improper prescribing or dispensing of Controlled Substances, or refusal to
       prescribe or dispense such prescription medications, by any Prescriber,
       pharmacy, or pharmacist at a Government Healthcare Facility, including the
       following:

        (a)   All reports concerning the prescribing practices of
              at the Tomah VA Medical Center in Tomah, Wisconsin (e.g., VA OIG
              Report No. 15-02131-471);

        (b)   VA OIG Healthcare Inspection: Opioid Management Practice
              Concerns John J. Pershing VA Medical Center, Poplar Bluff, Missouri
              (VA OIG Report No. 16-01077-255);

        (c)   VA OIG Healthcare Inspection: Review of Opioid Prescribing
              Practices Clement J. Zablocki VA Medical Center, Milwaukee,
              Wisconsin (VA OIG Report No. 15-02156-346);




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        (d)   VA OIG Healthcare Inspection: Alleged Inappropriate Opioid
              Prescribing Practices Chillicothe VA Medical Center, Chillicothe, Ohio
              (VA OIG Report No. 14-00351-53);

        (e)   U.S. Department of Defense, Inspector General: Audit of Defense
              Health Agency Controls to Monitor Prescription Compliance with
              Federal and DoD Opioid Safety Standards (December 7, 2023) (Report
              No. DODIG-2024-036); and

        (f)   U.S. Department of Defense, Inspector General: Evaluation of the DoD
              Internal Controls Related to Patient Eligibility and Pharmaceutical
              Management Within the National Capital Region Executive Medicine
              Services (January 8, 2024) (Report No. DODIG-2024-044).

  102. All Documents relating to Your receipt, handling, analysis or use of any
       Refusal to Fill forms that You received from Walmart.

  103. All PDMP data in Your possession related to any Identified Prescriber and all
       Documents relating to Your attempts to access, ability to access, and
       utilization of such PDMP data in connection with Your regulatory and
       enforcement authority.

  104. All Documents relating to Your collection, analysis, utilization, and sharing
       of PDMP data—including within the Prescription Drug Monitoring Program
       Analytics System (PDMPAS) and any predecessor or successor systems—to
       support Your investigations and cases (including This Litigation),
       identification of pharmaceutical drug diversion, and any other purposes for
       which You utilize such data.

  105. All Documents relating to Your collection, analysis, utilization, and sharing
       of CDC Wonder and National Vital Statistics System Databases data, AHRQ
       All Payer Claims Databases and Medical Expenditure Panel Survey data,
       IQVIA Prescription data, or Market Scan Commercial Claims and Encounters
       data to support Your investigations and cases related to pharmaceutical drug
       diversion (including This Litigation).




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  106. All testimony and expert reports You proffered in any case regarding the
       determination of whether a Controlled Substance prescription was invalid or
       otherwise issued outside the course of legitimate medical practice.

  107. All Documents relating to patient access to Controlled Substance
       prescriptions, including Documents relating to:

        (a)   Complaints or concerns received from patients, healthcare providers,
              patient advocacy groups, professional medical associations, or State
              Agencies, including efforts to mitigate or respond to any such
              complaints or concerns;

        (b)   Internal training materials, presentations, or manuals;

        (c)   Studies, reports, or analyses that You conducted, commissioned, or
              funded;

        (d)   Initiatives, programs, or outreach efforts;

        (e)   External Statements or presentations—such as Statements presented by
              DEA personnel at meetings of the Florida Board of Pharmacy (or
              committees thereof) on or around June 5, 2012, June 4, 2013, October
              7, 2014, and August 10, 2015—including all drafts thereof;

        (f)   Congressional inquiries; and

        (g)   Reports to Congress required under the Ensuring Patient Access and
              Effective Drug Enforcement Act of 2016.

  108. All Documents related to Statements from Janet Woodcock, Director of the
       Center for Drug Evaluation and Research at FDA; Patrizia Cavazzoni, Acting
       Director of the Center for Drug Evaluation and Research at FDA; or any other
       FDA or CDC personnel regarding the need for individualized patient
       assessments with respect to Controlled Substance prescribing or dispensing,
       including:




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        (a)   Correspondence dated September 10, 2013, from Janet Woodcock,
              Director of the Center for Drug Evaluation and Research at FDA, to Dr.
              and Mrs. Van Rooyan;

        (b)   Correspondence dated 2019 from Janet Woodcock, Director of the
              Center for Drug Evaluation and Research at FDA, to Hon. Maggie
              Hassan; and

        (c)   Correspondence dated September 10, 2013 from Janet Woodcock,
              Director of the Center for Drug Evaluation and Research at FDA, to Dr.
              Kolodny.

  109. All Documents regarding Your Statements about the establishment of limits
       by You or any entity on the maximum recommended daily dosages for
       Controlled Substances or on the duration of use for opioid therapies.

  110. All Documents relating to the implementation, potential implementation, or
       removal of hard limits on Controlled Substance dispensing at pharmacies,
       including any such efforts with respect to Controlled Substance prescriptions
       filled under Medicare Part D.

  111. All Documents relating to “Dear Healthcare Professional” and “Dear
       Registrant” correspondence from You or required by You to Controlled
       Substance Prescribers regarding the prescribing or dispensing of opioid
       medications.

  112. All Documents relating to any studies or publications conducted,
       commissioned, cited, or funded by You regarding the impact of labeling
       changes for any Controlled Substance medication on the number of
       prescriptions dispensed for Controlled Substances in the United States.

  113. All Documents regarding Your Statements about whether Controlled
       Substance prescriptions are appropriate for the treatment of non-acute pain
       and should not be limited for use in treating only acute pain.




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  114. All Documents regarding Your Statements about whether Controlled
       Substance prescriptions are appropriate for the treatment of acute pain.

  115. All Documents relating to any studies or publications regarding the use of
       opioid analgesics for the treatment of non-acute pain, including studies or
       publications conducted, commissioned, or funded by You.

  116. All Documents relating to any FDA committee meeting or discussion
       regarding the safety, efficacy, or abuse and misuse potential of any Controlled
       Substance medication, including meetings and discussions held by the
       Anesthetic and Life Support Drugs Advisory Committee, the Drug Safety and
       Risk Management Advisory Committee, or any Advisory Committee.

  117. All Documents relating to any actual, proposed, or contemplated Risk
       Evaluation and Mitigation Strategy (REMS), Safety Labeling Change, Post-
       Marketing Requirement, abuse-deterrent formulation, safety related
       manufacturer certification, or other FDA drug safety program for Controlled
       Substance medications, including the expansion in 2018 of the REMS for
       extended-release and long-acting opioid products.

  118. All education, information, or training materials provided by opioid analgesic
       companies pursuant to any Risk Evaluation and Mitigation Strategy (REMS)
       for opioid analgesics, including Documents relating to the provision, review,
       approval, or denial of such education, information, or training.

  119. All Documents relating to communications or coordination efforts amongst
       the Drug Safety Oversight Board and any federal agency or body regarding
       Controlled Substance prescribing and dispensing or any safety-related actions
       regarding opioid analgesics.

  120. All Documents from the Defense and Veterans Center for Integrative Pain
       Management, the National Pain Management Program, or the Veterans Health
       Administration Opioid Safety Initiative relating to the safety, efficacy, or
       abuse and misuse potential of any Controlled Substance medication, including




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        documents regarding “toolkits” or other resources for prescribers with respect
        to Controlled Substance prescribing.

  121. All Documents referenced by or relied on by the Use of Opioids in the
       Management of Chronic Pain Work Group in drafting the Guideline for the
       Use of Opioids in the Management of Chronic Pain published by the
       Department of Defense and the Department of Veterans Affairs.

  122. All Documents relating to the White House Medical Unit’s Controlled
       Substance Inventory and Management Policy (WHMU SOP 20-08), including
       documents regarding the creation and implementation of such policy, and
       adherence to such policy by the White House Medical Unit.

  123. All Documents relating to any Statements by You that the effective
       management of pain and the alleviation of suffering through the use of
       Controlled Substance medications are public health priorities in the United
       States.

  124. Documents sufficient to identify individuals at any DEA division office who
       either (i) held the title of “Diversion Program Manager” or “Special Agent in
       Charge” (or equivalent thereof) or, (ii) were otherwise responsible for
       overseeing Controlled Substance diversion initiatives and enforcement efforts
       regarding retail pharmacies.

  125. All Documents and communications You produced under the Freedom of
       Information Act in response to the West Virginia Attorney General Patrick
       Morrisey’s document requests dated June 1, 2017 and March 15, 2019.

  126. All Documents and communications provided to or received from the U.S.
       Department of Justice Office of the Inspector General (“OIG”) and the U.S.
       Government Accountability Office (“GAO”) in connection with the
       investigations resulting in the following reports (collectively, “Reports”):

        (a)   February 2015 GAO Report titled DRUG SHORTAGES: Better
              Management of the Quota Process for Controlled Substances Needed;
              Coordination between DEA and FDA Should Be Improved


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              (https://www.gao.gov/assets/670/668252.pdf) (“GAO Report 15-
              202”);

        (b)   June 2015 GAO Report titled Prescription Drugs: More DEA
              Information about Registrants’ Controlled Substances Roles Could
              Improve Their Understanding and Help Ensure Access
              (https://www.gao.gov/assets/680/671032.pdf) (“GAO Report 15-
              471”);

        (c)   June 2016 GAO Report titled Additional Actions Needed to Address
              Prior                   GAO                    Recommendations
              (https://www.gao.gov/assets/680/677939.pdf) (“GAO Report 16-
              737T);

        (d)   September 2019 OIG Report titled Review of the Drug Enforcement
              Administration’s Regulatory and Enforcement Efforts to Control the
              Diversion of Opioids (https://oig.justice.gov/reports/2019/e1905.pdf)
              (“DOJ-OIG Report 19-05”); and

        (e)   January 2020 GAO Report titled Drug Control: Actions Needed to
              Ensure Usefulness of Data on Suspicious Opioid Orders (“GAO Report
              20-118”).

  127. All Documents relating to the Reports, including communications regarding
       Your draft or actual responses to allegations or conclusions in the Reports,
       and communications referencing or addressing allegations or conclusions in
       the Reports.

  128. All Documents reflecting presentations made by the DEA to pharmacies,
       pharmacists, or any State Agency regarding the prescribing or dispensing of
       Controlled Substances.

  129. All Documents reflecting presentations regarding the prescribing or
       dispensing of Controlled Substances made by the DEA at any conference
       relating to Controlled Substances, including any National Prescription Drug
       Abuse Conference and Pharmacy Diversion Awareness Conference.


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  130. All Documents relating to the determination and setting of Opioid Production
       Quotas and Opioid Procurement Quotas during the Relevant Time Period,
       including all policies and protocols You utilize to set quotas, communications
       with any agency regarding the quotas, and any documents and
       communications regarding any perceived need for an increase in said quotas
       to meet legitimate medical or scientific needs.

  131. All Documents relating to the termination, demotion, or other adverse
       employment action taken by You against any individual based on that
       individual’s views, Statements, actions, or inactions related to their opinions
       on the use, regulation, prescribing, or dispensing of Controlled Substances.

  132. All Documents relating to Communications between You and any state, city,
       town, municipality, county, or other governmental entity, or their departments
       or agencies, concerning This Litigation or concerning any lawsuit or potential
       lawsuit by such other governmental entity related to prior Opioid Litigation.

  133. All Documents relating to Your Communications with any current or former
       Walmart pharmacist or other employee regarding This Litigation or the
       dispensing of Controlled Substances.

  134. All Documents relating to Your Communications with any patient who filled
       one or more Controlled Substance prescriptions at Walmart regarding This
       Litigation or the dispensing of Controlled Substances.

  135. All Documents provided to, reviewed by, considered, or relied upon by any
       expert witnesses You intend to use in This Litigation.

  136. All Documents You intend to use in connection with any motion or during
       trial in This Litigation.

  137. All Documents relating to the article published by ProPublica on March 25,
       2020, entitled, “Walmart Was Almost Charged Criminally Over Opioids.
       Trump Appointees Killed the Indictment,” including:




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        (a)   Communications relating to the article, including any Communications
              between You and Jesse Eisinger or James Bandler.

        (b)   Documents regarding any investigation You undertook to determine
              who provided the information and documents referenced in the article
              to ProPublica.

  OF COUNSEL:                              /s/ Kelly E. Farnan
  Yaakov M. Roth                           Robert W. Whetzel (#2288)
  William G. Laxton, Jr.                   Kelly E. Farnan (#4395)
  Jeffrey R. Johnson                       Richards, Layton & Finger, P.A.
  Kristen A. Lejnieks                      One Rodney Square
  JONES DAY                                920 North King Street
  51 Louisiana Avenue, N.W.                Wilmington, DE 19801
  Washington, D.C. 20001.2113              (320) 651-7700
                                           whetzel@rlf.com
  Karen P. Hewitt                          farnan@rlf.comAttorneys for Walmart
  JONES DAY                                Inc. and
  4655 Executive Drive, Suite 1500         Wal-Mart Stores East, LP
  San Diego, CA 92121-3134

  Jason S. Varnado
  Andrew J. Junker
  JONES DAY
  717 Texas, Suite 3300
  Houston, TX 77002-2172

  Laura Jane Durfee
  JONES DAY
  325 John H. McConnell Blvd., Ste. 600
  Columbus, OH 43215-2673

  David W. Ogden
  Charles C. Speth
  WILMER CUTLER PICKERING
   HALE AND DOOR LLP
  1875 Pennsylvania Avenue NW
  Washington, D.C. 20006
  Dated: May 8, 2024


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                          CERTIFICATE OF SERVICE
        I hereby certify that on May 8, 2024, true and correct copies of the foregoing

  document were caused to be served on the following counsel of record as indicated:

  BY ELECTRONIC MAIL                      BY ELECTRONIC MAIL
  David C. Weiss                          Amanda N. Liskamm
  United States Attorney                  Rachael L. Doud
  Dylan Steinberg                         Joshua Fowkes
  Elizabeth F. Vieyra                     Kathleen B. Brunson
  Assistant United States Attorney        Katherine M. Ho
  U.S. Attorney's Office                  Kimberly R. Stephens
  Hercules Building                       U.S. Department of Justice
  1313 N. Market Street                   Civil Division
  Wilmington, DE 19801                    Consumer Protection Branch
                                          P.O. Box 386
                                          Washington, DC 20044

  BY ELECTRONIC MAIL                      BY ELECTRONIC MAIL
  Lindsay Sax Griffin                     Amanda A. Rocque
  Carolyn B. Tapie                        Jasand P. Mock
  USDOJ - Middle District of Florida      USDOJ - District of Colorado
  400 North Tampa Street, Suite 3200      1801 California Street, Suite 1600
  Tampa, FL 33602                         Denver, CO 80202

  BY ELECTRONIC MAIL                      BY ELECTRONIC MAIL
  C. Michael Anderson                     Elliot M. Schachner
  Andrew Kasper                           Megan Freismuth
  USDOJ - Eastern District of North       USDOJ - Eastern District of New York
  Carolina                                U.S. Attorney's Office
  150 Fayetteville Street, Suite 2100     Eastern District of NY
  Raleigh, NC 27601                       271 Cadman Plaza East
                                          7th Floor
                                          Brooklyn, NY 11201

                                                     /s/ Kelly E. Farnan
                                                     Kelly E. Farnan (#4395)
                                                     farnan@rlf.com
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                               EXHIBIT 
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

  _________________________________________
                                            )
  UNITED STATES OF AMERICA,                 )
                                            )
                    Plaintiff,              )
                                            )
              v.                            )                   Case No. 1:20-cv-01744-CFC
                                            )
  WALMART INC. and                          )
  WAL-MART STORES EAST, LP,                 )
                                            )
                    Defendants.             )
  _________________________________________ )

                        PLAINTIFF UNITED STATES OF AMERICA’S
                     OBJECTIONS AND RESPONSES TO DEFENDANTS’
                     FIRST SET OF REQUESTS FOR PRODUCTION AND
                            FIRST SET OF INTERROGATORIES

         Under Federal Rules of Civil Procedure 26, 33, and 34, the Local Rules of Civil Practice

  and Procedure of the U.S. District Court of Delaware, and the Court’s Scheduling Order (D.I.

  124), Plaintiff United States of America objects and responds to Defendants’ First Set of

  Requests for Production (“the Requests”) and First Set of Interrogatories (“the Interrogatories”),

  served on April 23, 2024, as follows:

                                   RESERVATION OF RIGHTS

         1.      The United States reserves the right to supplement, clarify, revise, or correct any

  or all of its responses set forth herein at any time according to the Federal Rules of Civil

  Procedure. The responses set forth below are accurate to the best of the United States’

  knowledge as of this date. The United States’ investigation is continuing, and thus the United

  States may obtain additional responsive information through discovery and further investigation

  and review of documents.
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         2.      The United States provides these responses without implying or admitting that the

  Requests, Interrogatories, responses, or referenced documents are relevant to any parties’ claims

  or pled defenses.

         3.      By providing the following responses to Defendants’ Requests and

  Interrogatories, including by referring to documents that it will produce, the United States does

  not waive, and expressly reserves, its right to assert any and all objections to the admissibility of

  the responses or referenced documents into evidence at the trial of this action, or in any other

  proceedings, on any and all grounds, including, but not limited to, competency, relevancy, and

  privilege.

         4.      If the United States produces any information or documents that could have been

  withheld based on any one or more of the objections set forth herein, the production of any such

  information and/or documents shall not constitute a waiver of such objections and shall not affect

  the United States’ right to withhold from production any other existing information and

  documents governed by those objections.

         5.      The enumeration of specific objections in the United States’ responses shall not

  be deemed a waiver of other applicable objections.

         6.      All responses are based on the United States’ best understanding of the Requests

  and/or Interrogatories and/or terms used therein. Such responses cannot properly be used as

  evidence except in the context in which the United States understood the Requests and

  Interrogatories and their terms.

         7.      If Defendants are dissatisfied with any of the United States’ responses, the United

  States will confer in good faith with the Defendants in an attempt to resolve any dispute,

  pursuant to Federal Rule of Civil Procedure 37, Judge Connolly’s Procedures for “Disputes


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  Relating to Discovery Matters and Protective Orders,” and the Court’s Scheduling Order (D.I.

  124 at ¶ 7).

                    OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

         These statements and objections apply to and are incorporated into each response as

  though restated in full in the United States’ responses to each Request and Interrogatory:

         1.      The United States objects to the Requests and Interrogatories to the extent they

  seek documents or information not relevant to the United States’ claims or Defendants’ pled

  defenses. The sole issue of liability in this case is whether Defendants knowingly dispensed

  controlled substances pursuant to prescriptions that were issued not in the usual course of

  professional treatment, not for a legitimate medical purpose, or both, during the “Dispensing

  Violations Period,” as defined in the Complaint. See D.I. 109 at ¶ 17. Documents or

  information that do not inform that analysis, or the factors pertinent to assessing a civil penalty

  or imposing injunctive relief, are irrelevant to the claims and pled defenses. Irrelevant

  documents and information include, but are not limited to, documents and information pertaining

  to the Complaint’s Third and Fourth Claims, which were dismissed on March 11, 2024. See D.I.

  117.

         2.      The United States objects to Definition 4 (“Controlled Substance”) to the extent

  that it limits the definition to substances classified as a controlled substance only between

  January 1, 2010, and December 20, 2020.

         3.      The United States objects to Definition 7 (“Government Healthcare Facility”) as

  vague by use of the vague and undefined terms “affiliated with” and “supported by.” The United

  States further objects to Definition 7 as overly broad, unduly burdensome, disproportionate to the

  needs of the case, and irrelevant to the parties’ claims and pled defenses to the extent that


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  healthcare facilities that are “affiliated with” or “supported by” the United States government

  may include healthcare entities that partner with United States government agencies for purposes

  irrelevant to any claim or pled defense or that receive funding or grants from the United States

  government, which does not render their operations relevant to any claim or pled defense.

  Similarly, healthcare entities that are “operated” or “owned” by the United States government

  include entities whose operations are irrelevant to any claim or pled defense.

            4.     The United States objects to Definition 10 (“Opioid Litigation”) as overly broad,

  unduly burdensome, disproportionate to the needs of the case, and irrelevant to the parties’

  claims and pled defenses to the extent the definition includes litigation (a) without any time

  limitation; (b) without any limitation as to the parties to the proceedings in “federal and state

  court” and regardless of whether the United States participated in the litigation; (c) related to the

  “marketing, sales, [and] distribution . . . of opioid products,” when the pending claims in this

  action allege violations related to only dispensing of controlled substances; (d) related to “opioid

  products,” to the extent that this vague term includes products that are not controlled substances;

  and (e) regardless of whether the litigation related to unlawful dispensing of controlled

  substances by Defendants as alleged in the Complaint during the Dispensing Violations Period,

  or addressed sufficiently similar issues so that the litigation bears on the issues at stake in this

  action.

            Unless otherwise specified herein, the United States will construe Definition 10 to

  include only documents and information from In re National Prescription Opioid Litigation,

  MDL Case No. 2804, in the United States District Court for the Northern District of Ohio

  (“MDL”) and litigation initiated by the United States Department of Justice (“DOJ”) or the Drug

  Enforcement Administration (“DEA”) against Defendants or against any prescriber specifically


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  referenced in Section II.B.1.c of the Complaint or whose prescriptions serve as the basis for the

  United States’ Second Claim.

         5.        The United States objects to Definition 12 (“Prescriber”) as overly broad, unduly

  burdensome, disproportionate to the needs of the case, and irrelevant to the parties’ claims and

  pled defenses to the extent the definition includes health care practitioners who are licensed and

  registered to prescribe prescription medications but not medications containing a controlled

  substance.

         6.        The United States objects to Definition 18 (“You” or “Your”) as overly broad,

  unduly burdensome, disproportionate to the needs of the case, and irrelevant to the parties’

  claims and pled defenses to the extent that “You” includes the United States and all its agencies

  and individual officers and employees. The United States further objects on the same grounds to

  the extent that “You” includes the twelve federal agencies identified in Definition 18, 94 U.S.

  Attorney’s Offices, and every Government Healthcare Facility and all their employed healthcare

  professionals.

         Except where the United States expressly represents that it responds based on information

  known to other federal agencies or components, it will construe Definition 18 to include only the

  DEA and those DOJ components that participated in This Litigation or the investigation leading

  to This Litigation or that were responsible for a criminal case against any prescriber identified in

  Section II.B.1.c of the Complaint or any prescriber whose prescriptions serve as the basis for the

  United States’ Second Claim.

         7.        The United States objects to Instruction 1’s request for responses with no time

  limitation as overly broad, unduly burdensome, disproportionate to the needs of the case, and

  irrelevant to the parties’ claims and pled defenses. The United States’ claims are based on


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  dispensing violations during the Dispensing Violations Period. In addition, a portion of the

  claims rely on particular criminal cases and investigations that pre-date the Dispensing

  Violations Period. Unless otherwise expressly indicated or agreed to, the United States will limit

  its responses to information from the Dispensing Violations Period for Requests and

  Interrogatories unrelated to a criminal case or investigation. For Requests and Interrogatories

  related to a particular criminal case or investigation, the United States will respond based on

  information from the time periods during which the criminal case or the related investigation was

  pending.

         8.      The United States objects to Instruction 4, which requires the United States to

  state whether “no documents or information exist that are responsive to a specific Request or

  Interrogatory,” as unduly burdensome and premature at this point in the litigation. The United

  States will be unable, before its search for responsive documents and information and at this

  stage of discovery, to determine whether no documents or information exist responsive to any

  particular Request or Interrogatory.

         9.      The United States objects to Instruction 5, which requires the United States to

  “state which documents or information will be withheld [based on a claim of privilege or

  attorney work product] and which documents or information will be produced or provided

  notwithstanding such objections,” as unduly burdensome at this point and before the United

  States is required to produce a privilege log under the Order Regarding Discovery of Documents

  and Electronically Stored Information, entered on May 15, 2024. See D.I. 132 (“ESI Order”).

  The United States’ identification, collection, and review of documents and information

  responsive to Defendants’ Requests and Interrogatories are ongoing and the United States is

  unable to identify and describe documents or information at this time that will be withheld from


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  inspection and production on the basis of its stated objections. The United States will provide a

  privilege log for any documents withheld in accordance with the ESI Order.

         10.       The United States objects to Instruction 11 as overly broad and unduly

  burdensome to the extent that it includes a duty to produce documents that are “known by” but

  not in the possession, custody, or control of the United States.

         11.       The United States objects to Instruction 12 to the extent that it is inconsistent with

  the ESI Order.

         12.       The United States objects to the Requests and Interrogatories to the extent they

  seek documents or information protected by the deliberative process privilege. Documents or

  information reflecting advisory opinions, recommendations, or deliberations by which

  governmental decisions and policies are formulated are protected from disclosure. Such

  disclosures would reveal the deliberative process of agency officials and would serve to

  undermine the quality of agency decisions, which is the foundation for the deliberative process

  privilege.

         13.       The United States objects to the Requests and Interrogatories to the extent they

  seek documents or information protected by either the attorney-client privilege or the work-

  product doctrine. Communications made between attorneys (and their agents and support staff)

  and their clients for the purpose of obtaining or providing legal assistance to the clients are

  protected from disclosure. Legal assistance given to the DEA by agency counsel or other

  lawyers within DOJ, if any, is covered by these privileges. Similarly, documents prepared in

  anticipation of litigation, not only created by attorneys, but also those created by investigators

  and other agents, are also protected from disclosure. The United States will withhold documents

  and information protected by the attorney-client privilege or the work-product doctrine.


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         14.     The United States objects to the Requests and Interrogatories to the extent they

  seek documents or information protected by the law enforcement privilege. Such privilege

  extends to and includes law enforcement techniques and procedures.

         15.     The United States objects to the Requests and Interrogatories to the extent they

  seek documents or information protected by Federal Rule of Criminal Procedure 6(e). Federal

  Rule of Criminal Procedure 6(e) limits the disclosure of grand jury materials, to the extent they

  exist, to the circumstances defined in Rule 6(e)(3)(E), an exclusive list of exceptions to the

  general rule of grand jury secrecy.

                       SPECIFIC RESPONSES AND OBJECTIONS TO
                      REQUESTS FOR PRODUCTION OF DOCUMENTS

         REQUEST 1: All Documents previously produced by You in prior Opioid Litigation.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definitions 10

  (“Opioid Litigation”) and 18 (“You”) and to Instruction 1 (absence of time limitation). These

  definitions and the absence of a time limitation render this Request overly broad, unduly

  burdensome, disproportionate to the needs of the case, and, to the extent that the Request seeks

  documents unrelated to the allegation that Defendants unlawfully dispensed controlled

  substances as alleged in the Complaint during the Dispensing Violations Period, irrelevant to the

  parties’ claims and pled defenses.

         Based on Definitions 10 and 18 and Instruction 1, the United States would be required to

  produce, for example, documents produced by the Department of Veterans Affairs in litigation

  related to a contractual dispute with a vendor over the sale of opioids to a VA hospital, and

  documents produced by a U.S. Attorney’s Office to a criminal defendant prosecuted in 2000 for

  the distribution of heroin or non-prescription fentanyl. Because the Request is overly broad, it

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  seeks documents that are irrelevant to the parties’ claims and pled defenses.

            Further, by seeking documents from all federal agencies without any limitation, this

  Request would require the United States to canvass more than 400 federal agencies to provide a

  complete response. Even if limited to the twelve federal agencies identified in Definition 18, 94

  U.S. Attorney’s Offices, and every Government Healthcare Facility and all their employed

  healthcare professionals, the Request is overly broad and unduly burdensome because the

  Department of Veterans Affairs alone has approximately 1,321 healthcare facilities and tens of

  thousands of healthcare professionals employed at those facilities. With respect to the 94 U.S.

  Attorney’s Offices, they do not share a common, central repository of historical information

  regarding their prior prosecutions; responding to the Request thus would require that each

  individual office search their records. Because the offices may not identify cases specifically as

  opioid cases, their searches would require looking in individual case files to identify those

  involving opioids and then those involving prescription versus non-prescription opioids such as

  heroin.

            The United States further objects to the Request as overly broad, unduly burdensome,

  disproportionate to the needs of the case, and, because of its breadth, potentially irrelevant to the

  parties’ claims and pled defenses because it seeks “all” documents produced in prior Opioid

  Litigation. In seeking “all” documents without limitation, the Request does not meet Rule 34’s

  reasonable particularity requirement and seeks documents that are irrelevant to the parties’

  claims and pled defenses.

            The United States further objects to this Request to the extent it seeks documents

  protected by Federal Rule of Criminal Procedure 6(e).




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  The United States further objects to the extent this Request seeks documents already in

  Defendants’ possession or equally available to Defendants, including documents that Defendants

  received, or to which they have access, from the MDL. Subject to and without waiving the

  foregoing objections, the United States will produce non-privileged documents in its possession,

  custody, or control that the United States produced in prior litigation against the prescribers

  identified in Section II.B.1.c of the Complaint and any prescriber whose prescriptions serve as

  the basis for the United States’ Second Claim.

         REQUEST 2: All Documents relating to Your investigation of Walmart preceding the

  filing of the Complaint in This Litigation[.]

         RESPONSE: The United States responds to Requests 2(a)-2(g) by incorporating by

  reference the objections to the definitions and instructions as if fully set forth herein, including

  the objection to Definition 18 (“You” and “Your”). Definition 18 renders this Request overly

  broad, unduly burdensome, disproportionate to the needs of the case, and irrelevant to the

  parties’ claims and pled defenses to the extent that it seeks documents related to investigations of

  Defendants that preceded—in time—the filing of the Complaint but that were unrelated to the

  Complaint and thus irrelevant to the United States’ claims in this action. The United States

  construes this Request to seek documents relating to the investigation of Defendants that

  preceded and was related to the allegations in the Complaint in This Litigation. Thus, to the

  extent that the United States will respond to this Request, as noted below, and subject to these

  objections, the United States will produce responsive non-privileged documents created on or

  after December 7, 2016, when DEA executed a search warrant of Walmart Store 206 and thus

  took investigative steps leading to This Litigation.

         The United States further objects to the Request as overly broad, unduly burdensome,


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  disproportionate to the needs of the case, and, because of its breadth, potentially irrelevant to the

  parties’ claims and pled defenses because it seeks “all” documents and pairs this broad term with

  an equally broad category (“investigation of Walmart”). In seeking “all” documents in this

  broad category without limitation, the Request does not meet Rule 34’s reasonable particularity

  requirement and seeks documents that are irrelevant to the parties’ claims and pled defenses.

  Further, the phrase “relating to Your investigation of Walmart preceding the filing of the

  Complaint in This Litigation” is so broad that it includes, for example, communications among

  DOJ attorneys regarding transferring documents and scheduling meetings, which are not

  important to the issues at stake in this action and not likely to help resolve the issues.

         The United States further objects to the extent this Request seeks documents relevant to

  dismissed Claims Three and Four of the Complaint, as those documents are irrelevant to the

  pending claims.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, law enforcement privilege, or Federal Rule of Criminal Procedure 6(e).

         The United States incorporates the foregoing objections with respect to each of its

  responses to Request 2’s subparts. In addition, the United States further responds to each subpart

  as follows:

         REQUEST 2(a): Data and Documents obtained by, accessed by, or shared with You in

  connection with the investigation from any individual, entity, or third party other than Data and

  Documents produced to You by Walmart[.]

         RESPONSE: The United States specifically objects to this Request to the extent that it

  fails to identify a subject matter with reasonable particularity and thus seeks documents


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  irrelevant to the parties’ claims and pled defenses. Subject to and without waiving the foregoing

  objections, the United States will produce responsive non-privileged documents in its possession,

  custody, or control.

          REQUEST 2(b): Documents obtained by or shared with You from any State Agency or

  other government agency[.]

          RESPONSE: The United States specifically objects to this Request to the extent that it

  fails to identify a subject matter with reasonable particularity and thus seeks documents

  irrelevant to the parties’ claims and pled defenses. Subject to and without waiving the foregoing

  objections, the United States will produce responsive non-privileged documents in its possession,

  custody, or control.

          REQUEST 2(c): Transcripts, recordings, and notes of interviews conducted by You

  related to the investigation[.]

          RESPONSE: The United States specifically objects that this Request seeks documents

  protected by the attorney work-product doctrine.

          REQUEST 2(d): Documents related to any Communications with any other individual,

  entity, third party, or government agency related to the investigation[.]

          RESPONSE: The United States specifically objects that this Request is overly broad,

  unduly burdensome, disproportionate to the needs of the case, and, because of its breadth,

  potentially seeks documents irrelevant to the parties’ claims and pled defenses by its use of the

  term “any.” In seeking documents “related to any Communications” without limitation, the

  Request does not meet Rule 34’s reasonable particularity requirement and seeks documents that

  are irrelevant to the parties’ claims and pled defenses. The Request fails, for example, to identify

  a subject matter and thus seeks irrelevant documents such as communications with third parties


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  and government agencies to schedule meetings. The United States further objects that this

  Request seeks documents protected by the attorney-client privilege and attorney work-product

  doctrine.

         REQUEST 2(e): Documents relating to the December 7, 2016, search of a Walmart

  pharmacy in Texas pursuant to a search warrant, as referenced in Paragraphs 124 and 191 of the

  Complaint[.]

         RESPONSE: The United States specifically objects that this Request is overly broad,

  unduly burdensome, disproportionate to the needs of the case and, because of its breadth,

  potentially seeks documents irrelevant to the parties’ claims and pled defenses by its failure to

  identify with reasonable particularity documents that are important to the issues at stake in this

  action and likely to help resolve the issues. The United States further specifically objects that

  this Request seeks documents protected by the deliberative process and law enforcement

  privileges. Subject to and without waiving the foregoing objections, the United States will

  produce responsive non-privileged documents in its possession, custody, or control.

         REQUEST 2(f): All subpoenas or formal or informal requests for testimony,

  documents, materials, or information issued to any person or entity, including any cover letters

  and responses to those subpoenas or requests[.]

         RESPONSE: The United States specifically objects that this Request is overly broad,

  unduly burdensome, disproportionate to the needs of the case, and, because of its breadth,

  potentially seeks documents irrelevant to the parties’ claims and pled defenses by its use of the

  terms “all” and “any.” In seeking “all” documents in the broad categories of “formal and

  informal requests for testimony, documents, materials, or information” and “any person or

  entity,” without limitation, the Request does not meet Rule 34’s reasonable particularity


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  requirement and seeks documents that are irrelevant to the parties’ claims and pled defenses.

  Further, because of the vague phrase “relating to Your investigation of Walmart preceding the

  filing of the Complaint in This Litigation,” the Request may include, for example, emails from a

  U.S. Attorney’s Office during its investigation of a prescriber identified in the Complaint to any

  potential witness, whether or not the United States intends to rely on that testimony in This

  Litigation or relied on it in the underlying investigation.

         The United States construes this Request as seeking subpoenas or formal or informal

  requests for testimony, documents, materials, or information issued to any person or entity,

  including any cover letters and responses to those subpoenas or requests, that were issued on or

  after December 7, 2016, when DEA executed a search warrant of Walmart Store 206, for the

  specific purpose of DEA’s investigation of Walmart. Subject to and without waiving the

  foregoing objections, the United States will produce responsive non-privileged documents in its

  possession, custody, or control.

         REQUEST 2(g): All Investigative Reports related to the investigation.

         RESPONSE: The United States specifically objects that this Request is overly broad,

  unduly burdensome, disproportionate to the needs of the case, and, because of its breadth,

  potentially seeks documents irrelevant to the parties’ claims and pled defenses by its use of the

  term “all.” In seeking “all” documents in the broad category of “Investigative Reports related to

  the investigation,” without limitation, the Request does not meet Rule 34’s reasonable

  particularity requirement and seeks documents that are irrelevant to the parties’ claims and pled

  defenses. Further, because of the vague phrase “related to the investigation,” the Request may

  include reports related to evidence that the United States will not use to support the claims in

  This Litigation. The United States further objects that this Request seeks documents and


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  information protected by the attorney work-product doctrine, law enforcement privilege, and

  Federal Rule of Criminal Procedure 6(e).

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in its possession, custody, or control.

         REQUEST 3: Documents sufficient to identify any current or former employee of

  Walmart whom You have contacted or attempted to contact in connection with This Litigation,

  whether or not Your contact or attempted contact resulted in communications with any such

  employee.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Requests that

  seek documents protected by the attorney work-product doctrine, law enforcement privilege, and

  documents protected by Federal Rule of Criminal Procedure 6(e). The United States further

  objects to the extent that the Request assumes that the United States intended to contact

  employees who were then employed by Defendants and to the extent that any individuals became

  employed by Defendants following any interview by the United States. Subject to and without

  waiving the foregoing objections, the United States will produce responsive non-privileged

  documents in its possession, custody, or control.

         REQUEST 4: All Statements taken by You or on Your behalf from any Person relating

  to the claims and allegations in the Complaint, including Statements taken from any current or

  former employee of Walmart and Statements taken from any individual who has previously had

  a Controlled Substance prescription filled at Walmart.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Requests that


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  seek documents protected by the deliberative process privilege, attorney-client privilege or

  attorney work-product doctrine, law enforcement privilege, or Federal Rule of Criminal

  Procedure 6(e). The United States does not anticipate identifying any nonprivileged statements

  to produce in response to this Request.

         REQUEST 5: Documents relating to any investigation, enforcement, or disciplinary

  action concerning any Identified Prescriber, including without limitation all related Investigative

  Reports, interviews, notes, data, and data analyses.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The United States specifically objects that this Request is overly

  broad, unduly burdensome, disproportionate to the needs of the case, and, because of its breadth,

  potentially seeks documents irrelevant to the parties’ claims and pled defenses by its use of the

  terms “any” and “all.” In seeking “any” documents in the broad category of “investigation,

  enforcement, or disciplinary action” and “all related Investigative Reports, interviews, notes,

  data, and data analyses,” without limitation, the Request does not meet Rule 34’s reasonable

  particularity requirement and seeks documents that are irrelevant to the parties’ claims and pled

  defenses. In its breadth, the Request seeks documents arising from investigations or actions

  against any Identified Prescriber whether or not that investigation or action arose from their

  controlled-substance prescribing. A responsive, but irrelevant, document would include, for

  example, documents from a disciplinary action by a state medical board for an Identified

  Prescriber’s failure to adhere to continuing medical education requirements. The United States

  further objects to this Request as overly broad and unduly burdensome to the extent it purports to

  require the identification and production of information that is not within the custody or control


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  of the United States and is equally available to Defendants. The United States further objects

  that the Request seeks documents protected by the attorney work-product privilege and Federal

  Rule of Criminal Procedure 6(e).

          Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in its possession, custody, or control arising from criminal

  prosecutions of and state regulatory agency actions against any Identified Prescriber specifically

  referenced in Section II.B.1.c of the Complaint and relating to the Identified Prescriber’s

  controlled substance prescribing.

          REQUEST 6: Documents sufficient to identify, for each alleged violation of the

  Controlled Substances Act, the Prescriber, patient, prescription, dispensing date, and controlled

  substance that constitutes the alleged violation.

          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request on the grounds that it is premature. Responsive documents are or will be available in

  forthcoming discovery materials and materials to which Defendants already have access,

  including but not limited to Defendants’ own dispensing data. Further, this Request seeks

  information that will be addressed by an expert or experts later in litigation. The United States

  maintains that production of information responsive to this Request should be deferred to a later

  time.

          Subject to and without waiving the foregoing objections, the United States refers to and

  incorporates herein the response to Interrogatory 1 below. The requested information identifying

  each violation is reflected in the dispensing data provided by Defendants in response to a




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  subpoena issued by the DEA in connection with This Litigation. Pursuant to the ESI Order, see

  ¶ 53, the United States will not reproduce this data.

         REQUEST 7: All Documents referenced in, cited in, referred to, or relied upon by You

  in drafting the Complaint.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to the

  vague terms “relied upon” and “drafting,” which, depending on their meaning, potentially

  renders this Request overly broad, unduly burdensome, disproportionate to the needs of the case,

  and irrelevant to the parties’ claims and pled defenses. A responsive document would include,

  for example, Strunk & White’s The Elements of Style, if the United States referred to this

  resource in writing the Complaint. And in seeking Documents from the “drafting” stage of the

  Complaint, the Request seeks Documents potentially irrelevant to the Complaint in its final form,

  as filed with the Court, as well as documents protected from disclosure by the attorney-client

  privilege and/or the attorney work-product doctrine.

         Subject to and without waiving the foregoing objections, the United States construes this

  Request as one that seeks documents that are referred to or serve as the basis for an allegation in

  the Complaint, which includes the documents the United States identified in Exhibit A of its May

  15, 2024, Initial Disclosures. Pursuant to the ESI Order, see ¶ 53, the United States will not

  reproduce these documents to the extent they are documents previously produced by Defendants

  to the United States.

         REQUEST 8: All documents related to Your response to the below Interrogatories.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to the


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  Request as overly broad, unduly burdensome, disproportionate to the needs of the case, and

  irrelevant to the parties’ claims and pled defenses to the extent that it seeks, without limitation,

  “all” documents “related to” the Interrogatories. The United States further objects that, as stated

  below, Interrogatories 1-3 are premature and, for the same reason, this Request is premature.

         Subject to and without waiving the foregoing objections, the United States will produce

  non-privileged documents in its possession, custody, or control that were relied upon to respond

  to Defendants’ First Set of Interrogatories.

                          SPECIFIC RESPONSES AND OBJECTIONS TO
                                    INTERROGATORIES

         INTERROGATORY 1: Identify each Allegedly Invalid Prescription that serves as the

  basis for any claim You assert or may assert in This Litigation. For each such prescription,

  identify: (1) the date of the prescription; (b) the store where the prescription was dispensed; (c)

  the medication, including dosage and strength; (d) the issuing practitioner (including DEA

  registration number and business address); (e) the date of the issuing practitioner’s DEA

  registration and expiration or revocation (if any); and (f) whether You obtained or reviewed the

  relevant medical records from any Prescriber associated with the patient who received the

  prescription.

         ANSWER: The United States incorporates by reference the objections to the definitions

  and instructions as if fully set forth herein and further objects to this Interrogatory on the grounds

  that it is premature. Responsive documents and information will be available in forthcoming

  discovery materials and are available in materials to which Defendants already have access,

  including, but not limited to, Defendants’ own dispensing data. Further, this Interrogatory seeks

  information that will be addressed by an expert or experts later in litigation. The United States

  maintains that this Interrogatory should be deferred to a later time.

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          Subject to and without waiving these objections, the United States responds that

  Defendants unlawfully dispensed controlled substances each time an employed pharmacist filled

  a prescription with an obvious combination of red flags showing that the prescription was not

  issued for a legitimate medical purpose or was issued outside the usual course of professional

  practice, or both, as alleged in the Complaint, see § II.B.2.b.ii, including, but not limited to,

  prescriptions in the following categories: (1) prescriptions for dangerous combinations of opioids

  prescribed together or close in time, such as multiple immediate-release opioids and an

  immediate-release opioid and methadone; (2) prescriptions for “cocktails” of commonly abused

  drugs, such as an opioid and non-opioid “potentiator,” including the following “cocktails”: (a)

  opioid, benzodiazepine, and carisoprodol; (b) opioid, benzodiazepine, and zolpidem; (c) opioid,

  benzodiazepine, and stimulant; and (d) two or more different immediate-release opioids,

  benzodiazepine, and either carisoprodol or zolpidem; (3) prescriptions for high dosages of

  opioids filled repeatedly, which resulted in dangerously high average daily morphine milligram

  equivalent dosage levels; and (4) prescriptions dispensed to individuals who repeatedly requested

  early fills.

          The United States further responds that Defendants unlawfully dispensed controlled

  substances each time an employed pharmacist filled a prescription written by certain prescribers,

  including those identified in the Complaint, see § II.B.1.c and II.B.2.b.i, who either the filling

  pharmacist or one or more members of the “compliance team,” as defined in the Complaint, see

  ¶¶ 91-92, knew practiced outside the usual course of professional practice.

          The United States specifically objects to Interrogatory 1(e) as overly broad and irrelevant

  to the parties’ claims and pled defenses because the date any Identified Prescriber obtained a




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  DEA registration is not important to the issues at stake in this action and not likely to help

  resolve the issues.

         The United States specifically objects to Interrogatory 1(f) as overly broad,

  disproportionate to the needs of the case, and irrelevant to the parties’ claims and pled defenses

  to the extent that “You” includes information and documents obtained by and medical reviews

  conducted by a U.S. Attorney’s Office or Department of Justice component not in connection

  with or for purposes of This Litigation and that will not be relied upon in This Litigation.

         Subject to and without waiving the foregoing objections, the United States refers to the

  documents that it will produce in response to Requests 2 and 5 and responds to Interrogatory 1(e)

  that, after conducting a reasonably diligent search, the list attached hereto as Exhibit A contains

  the DEA registration information for the prescribers specifically referenced in Section II.B.1.c of

  the Complaint. “N/A” indicates that no information is available.

         INTERROGATORY 2: For each Allegedly Invalid Prescription identified in Your

  response to Interrogatory 1, identify: (1) the reason(s) You contend dispensing the prescription

  violated 21 C.F.R. 1306.04(a); (b) the methodology or methodologies You used to identify the

  prescription and to reach any conclusions about the prescription; and (c) any electronic scripts,

  codes, and analytical programs You used to implement said methodologies.

         ANSWER: The United States incorporates by reference the objections to the definitions

  and instructions as if fully set forth herein and further objects to this Interrogatory on the grounds

  that it is premature. Responsive documents and information will be available in forthcoming

  discovery materials and are available in materials to which Defendants already have access,

  including, but not limited to, Defendants’ own dispensing data. Further, this Interrogatory seeks




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  information that will be addressed by an expert or experts later in litigation. The United States

  maintains that this Interrogatory should be deferred to a later time.

         Subject to and without waiving the foregoing objections, the United States answers as

  follows based upon information available to it at this time. The invalid prescriptions that

  Defendants filled with the knowledge of one or more members of the compliance team, and that

  have been identified so far by the United States, and those the United States anticipates

  identifying in litigation, are or will be based on prescriptions written by prescribers who

  practiced outside the usual course of professional practice. The United States bases its

  conclusion that the prescribers practiced outside the usual course of professional practice on the

  evidence identified in its Initial Disclosures and that it will produce in response to Request 2 and

  5.

         The invalid prescriptions that Defendants filled with the knowledge of the filling

  pharmacists and that have been identified so far by the United States, and those the United States

  anticipates identifying in litigation, are or will be based on prescriptions written by prescribers

  who the filling pharmacists knew practiced outside the usual course of professional practice, as

  alleged in the Complaint, see § II.B.2.b.i, and based on prescriptions with obvious combinations

  of red flags showing that the prescriptions were not issued for a legitimate medical purpose or

  were issued outside the usual course of professional practice, or both, as alleged in the

  Complaint, see § II.B.2.b.ii.

         INTERROGATORY 3: For each Allegedly Invalid Prescription identified in Your

  response to Interrogatory 1, identify: (a) the individual(s) You contend knew that the prescription

  was invalid prior to dispensing; (b) the basis for any such knowledge; and (c) any evidence that

  the dispensing pharmacist did not adequately evaluate the prescription pursuant to his or her


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  professional judgment prior to dispensing. If You contend that any individual dispensed a

  prescription with knowledge that it was invalid because they were aware of a high risk of

  invalidity and took affirmative acts to shield themselves from knowledge of the true facts,

  identify: (a) the reasons You contend any such individual was aware of the high risk of

  invalidity; and (b) any affirmative acts You contend such individual took to shield themselves

  from knowledge of the true facts.

         ANSWER: The United States incorporates by reference the objections to the definitions

  and instructions as if fully set forth herein and further objects to this Interrogatory on the grounds

  that it is premature. Responsive documents and information will be available in forthcoming

  discovery materials. Further, this Interrogatory seeks information that will be addressed by an

  expert or experts later in litigation. The United States maintains that this Interrogatory should be

  deferred to a later time. The United States further objects to the extent that this Interrogatory

  seeks information that previously has been provided in the United States’ Initial Disclosures, see

  Exhibit A.

         Subject to and without waiving the foregoing objections, the United States responds as

  follows based upon information available to it at this time. As alleged in the Complaint, ¶¶ 108

  and 153, from 2011 through 2015,                 , and from October 2014 to April 2019,

          , knew, or were aware of the high probability, that prescriptions written by certain

  prescribers were invalid based on the information contained primarily in refusal-to-fill forms and

  also other sources, see ¶¶ 152, 156-161 . Other members of the compliance team identified in

  the Complaint, see ¶¶ 154, 172, also knew the content of refusal-to-fill forms and received

  information from other sources and thus knew, or were aware of the high probability, that certain

  prescribers’ prescriptions were invalid, see ¶¶ 152, 156-161. The Complaint alleges that


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  compliance team members took deliberate steps to shield themselves from the truth that

  Defendants were filling invalid prescriptions from certain prescribers in various ways alleged in

  sections II.B.1.a.iii and II.B.1.b of the Complaint.

  Dated: May 31, 2024

  DAVID C. WEISS                                          /s/ Katherine M. Ho
  United States Attorney for the
  District of Delaware                                   AMANDA N. LISKAMM
                                                         Director
  DYLAN STEINBERG                                        Consumer Protection Branch
  Chief, Civil Division
  ELIZABETH F. VIEYRA                                    RACHAEL DOUD
  Assistant United States Attorney                       Assistant Director
  1313 N. Market Street
  Wilmington, DE 19801                                   KATHLEEN B. BRUNSON
  Elizabeth.vieyra@usdoj.gov                             KATHERINE M. HO
  302-573-6148                                           KIMBERLY R. STEPHENS
                                                         Trial Attorneys
                                                         U.S. Department of Justice, Civil Division
                                                         Consumer Protection Branch
                                                         P.O. Box 386
                                                         Washington, DC 20044
                                                         katherine.ho@usdoj.gov
                                                         202-353-7835

                                                         ROGER B. HANDBERG
                                                         United States Attorney for the
                                                         Middle District of Florida
                                                         CAROLYN B. TAPIE
                                                         LINDSAY S. GRIFFIN
                                                         Special Attorneys to the Attorney General
                                                         400 North Tampa Street, Suite 3200
                                                         Tampa, FL 33602
                                                         Carolyn.b.tapie@usdoj.gov
                                                         813-274-6000




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                                          BREON PEACE
                                          United States Attorney for the Eastern
                                          District of New York

                                          ELLIOT M. SCHACHNER
                                          MEGAN FREISMUTH
                                          Special Attorneys to the Attorney General
                                          271 Cadman Plaza East
                                          Brooklyn, NY 11201
                                          Elliot.schachner@usdoj.gov
                                          718-254-7000

                                          MICHAEL F. EASLEY, JR.
                                          United States Attorney for the Eastern
                                          District of North Carolina

                                          C. MICHAEL ANDERSON
                                          ANDREW KASPER
                                          Special Attorneys to the Attorney General
                                          150 Fayetteville Street, Suite 2100
                                          Raleigh, NC 27601
                                          Michael.anderson7@usdoj.gov
                                          919-856-4619

                                          Counsel for Plaintiff
                                          United States of America




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                               EXHIBIT 
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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

  _________________________________________
                                            )
  UNITED STATES OF AMERICA,                 )
                                            )
                    Plaintiff,              )
                                            )
              v.                            )                   Case No. 1:20-cv-01744-CFC
                                            )
  WALMART INC. and                          )
  WAL-MART STORES EAST, LP,                 )
                                            )
                    Defendants.             )
  _________________________________________ )

                       PLAINTIFF UNITED STATES OF AMERICA’S
                     OBJECTIONS AND RESPONSES TO DEFENDANTS’
                      SECOND SET OF REQUESTS FOR PRODUCTION

         Under Federal Rules of Civil Procedure 26 and 34, the Local Rules of Civil Practice

  and Procedure of the U.S. District Court of Delaware, and the Court’s Scheduling Order (D.I.

  124), Plaintiff United States of America objects and responds to Defendants’ Second Set of

  Requests for Production (“the Requests”), served on May 8, 2024, as follows:

                                   RESERVATION OF RIGHTS

         1.      The United States reserves the right to supplement, clarify, revise, or correct any

  or all of its responses set forth herein at any time according to the Federal Rules of Civil

  Procedure. The responses set forth below are accurate to the best of the United States’

  knowledge as of this date. The United States’ investigation is continuing, and thus the United

  States may obtain additional responsive information through discovery and further investigation

  and review of documents.

         2.      The United States provides these responses without implying or admitting that the

  Requests, responses, or referenced documents are relevant to any parties’ claims or pled
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  defenses.

         3.      By providing the following responses to Defendants’ Requests, including by

  referring to documents that it will produce, the United States does not waive, and expressly

  reserves, its right to assert any and all objections to the admissibility of the responses or

  referenced documents into evidence at the trial of this action, or in any other proceedings, on any

  and all grounds, including, but not limited to, competency, relevancy, and privilege.

         4.      If the United States produces any information or documents that could have been

  withheld based on any one or more of the objections set forth herein, the production of any such

  information and/or documents shall not constitute a waiver of such objections and shall not affect

  the United States’ right to withhold from production any other existing information and

  documents governed by those objections.

         5.      The enumeration of specific objections in the United States’ responses shall not

  be deemed a waiver of other applicable objections.

         6.      All responses are based on the United States’ best understanding of the Requests

  and/or terms used therein. Such responses cannot properly be used as evidence except in the

  context in which the United States understood the Requests and their terms.

         7.      If Defendants are dissatisfied with any of the United States’ responses, the United

  States will confer in good faith with the Defendants in an attempt to resolve any dispute,

  pursuant to Federal Rule of Civil Procedure 37, Judge Connolly’s Procedures for “Disputes

  Relating to Discovery Matters and Protective Orders,” and the Court’s Scheduling Order (D.I.

  124 at ¶ 7).




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                    OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

         These statements and objections apply to and are incorporated into each response as

  though restated in full in the United States’ responses to each Request:

         1.      The United States objects to the Requests to the extent they seek documents or

  information not relevant to the United States’ claims or Defendants’ pled defenses. The sole

  issue of liability in this case is whether Defendants knowingly dispensed controlled substances

  pursuant to prescriptions that were issued not in the usual course of professional treatment, not

  for a legitimate medical purpose, or both, during the “Dispensing Violations Period,” as defined

  in the Complaint. See D.I. 109 at ¶ 17. Documents or information that do not inform that

  analysis, or the factors pertinent to assessing a civil penalty or imposing injunctive relief, are

  irrelevant to the claims and pled defenses. Irrelevant documents and information include, but are

  not limited to, documents and information pertaining to the Complaint’s Third and Fourth

  Claims, which were dismissed on March 11, 2024. See D.I. 117.

         2.      The United States objects to Definition 6 (“Controlled Substance”) to the extent

  that it limits the definition to substances classified as a controlled substance only between

  January 1, 2010, and December 20, 2020.

         3.      The United States objects to Definition 9 (“Government Payor”) to the extent that

  it expands the meaning of “pay” to include entities that do not pay funds for health care services

  but only “administe[r]. . . . contrac[t] for, or provid[e]” medical items, services, and/or

  prescription drugs.

         4.      The United States objects to Definition 10 (“Government Healthcare Facility”) as

  vague by use of the vague and undefined terms “affiliated with” and “supported by.” The United

  States further objects to Definition 10 as overly broad, unduly burdensome, disproportionate to



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  the needs of the case, and irrelevant to the parties’ claims and pled defenses to the extent that

  healthcare facilities that are “affiliated with” or “supported by” the United States government

  may include healthcare entities that partner with United States government agencies for purposes

  irrelevant to any claim or pled defense or that receive funding or grants from the United States

  government, which does not render their operations relevant to any claim or pled defense.

  Similarly, healthcare entities that are “operated” or “owned” by the United States government

  include entities whose operations are irrelevant to any claim or pled defense.

            5.     The United States objects to Definition 13 (“Opioid Litigation”) as overly broad,

  unduly burdensome, disproportionate to the needs of the case, and irrelevant to the parties’

  claims and pled defenses to the extent the definition includes litigation (a) without any time

  limitation; (b) without any limitation as to the parties to the proceedings in “federal and state

  court” and regardless of whether the United States participated in the litigation; (c) related to the

  “marketing, sales, [and] distribution . . . of opioid products,” when the pending claims in this

  action allege violations related to only dispensing of controlled substances; (d) related to “opioid

  products,” to the extent that this vague term includes products that are not controlled substances;

  and (e) regardless of whether the litigation related to unlawful dispensing of controlled

  substances by Defendants as alleged in the Complaint during the Dispensing Violations Period,

  or addressed sufficiently similar issues so that the litigation bears on the issues at stake in this

  action.

            Unless otherwise specified herein, the United States will construe Definition 10 to

  include only documents and information from In re National Prescription Opioid Litigation,

  MDL Case No. 2804, in the United States District Court for the Northern District of Ohio

  (“MDL”) and litigation initiated by the United States Department of Justice (“DOJ”) or the Drug




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  Enforcement Administration (“DEA”) against Defendants or against any prescriber specifically

  referenced in Section II.B.1.c of the Complaint or whose prescriptions serve as the basis for the

  United States’ Second Claim.

         6.      The United States objects to Definition 16 (“Prescriber”) as overly broad, unduly

  burdensome, disproportionate to the needs of the case, and irrelevant to the parties’ claims and

  pled defenses to the extent the definition includes health care practitioners who are licensed and

  registered to prescribe prescription medications but not medications containing a controlled

  substance.

         7.      The United States objects to Definition 19 (“Relevant Time Period”) to the extent

  that this definition limits the relevant time period to December 20, 2020, before the filing of the

  Complaint on February 1, 2024.

         8.      The United States objects to Definition 20 (“State Agencies”) as overly broad,

  unduly burdensome, disproportionate to the needs of the case, and irrelevant to the parties’

  claims and pled defenses to the extent it depends on the vague terms “health-related” and

  “oversee,” and the vague phrase “activities relating to prescribing, dispensing, or distributing

  Controlled Substances.” An activity related to the dispensing of controlled substances includes,

  for example, employing pharmacists, an activity that would be subject to state regulations

  requiring workers’ compensation insurance, which is irrelevant to the parties’ claims and pled

  defenses.

         9.      The United States objects to Definition 24 (“You” or “Your”) as overly broad,

  unduly burdensome, disproportionate to the needs of the case, and irrelevant to the parties’

  claims and pled defenses to the extent that “You” includes the United States and all its agencies

  and individual officers and employees. The United States further objects on the same grounds to




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  the extent that “You” includes the twelve federal agencies identified in Definition 24, 94 U.S.

  Attorney’s Offices, and every Government Healthcare Facility and all their employed healthcare

  professionals.

         Except where the United States expressly represents that it is providing documents from

  other federal agencies or components, it will construe Definition 24 to include only the DEA and

  those DOJ components that participated in This Litigation or the investigation leading to This

  Litigation or that were responsible for a criminal case against any prescriber identified in Section

  II.B.1.c of the Complaint or any prescriber whose prescriptions serve as the basis for the United

  States’ Second Claim.

         10.       The United States objects to Instruction 1’s ambiguous instruction that responses

  include documents limited to the Relevant Time Period but also “regardless of creation date.”

  To the extent that the Instruction seeks responses with no time limitation, the United States

  objects to Instruction 1 as overly broad, unduly burdensome, disproportionate to the needs of the

  case, and irrelevant to the parties’ claims and pled defenses. The United States’ claims are based

  on dispensing violations during the Dispensing Violations Period. In addition, a portion of the

  claims rely on particular criminal cases and investigations that pre-date the Dispensing

  Violations Period. Unless otherwise expressly indicated or agreed to, the United States will limit

  its responses to information from the Dispensing Violations Period for Requests and

  Interrogatories unrelated to a criminal case or investigation. For Requests related to a particular

  criminal case or investigation, the United States will search for responsive documents from the

  time periods during which the criminal case or the related investigation was pending.

         11.       The United States objects to Instruction 4, which requires the United States to

  state whether “no documents or information exist that are responsive to a specific Request,” as




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  unduly burdensome and premature at this point in the litigation. The United States will be

  unable, before its search for responsive documents and at this stage of discovery, to determine

  whether no documents exist responsive to any particular Request.

         12.     The United States objects to Instruction 5, which requires the United States to

  “state which documents or information will be withheld [based on a claim of privilege or

  attorney work product] and which documents or information will be produced or provided

  notwithstanding such objections,” as unduly burdensome at this point and before the United

  States is required to produce a privilege log under the Order Regarding Discovery of Documents

  and Electronically Stored Information, entered on May 15, 2024. See D.I. 132 (“ESI Order”).

  The United States’ identification, collection, and review of documents and information

  responsive to Defendants’ Requests are ongoing and the United States is unable to identify and

  describe documents or information at this time that will be withheld from inspection and

  production on the basis of its stated objections. The United States will provide a privilege log for

  any documents withheld in accordance with the ESI Order.

         13.     The United States objects to Instruction 10 as overly broad and unduly

  burdensome to the extent that it includes a duty to produce documents that are “known by” or

  “available to” but not in the possession, custody, or control of the United States.

         14.     The United States objects to the Requests to the extent they seek documents or

  information protected by the deliberative process privilege. Documents or information reflecting

  advisory opinions, recommendations, or deliberations by which governmental decisions and

  policies are formulated are protected from disclosure. Such disclosures would reveal the

  deliberative process of agency officials and would serve to undermine the quality of agency

  decisions, which is the foundation for the deliberative process privilege.




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         15.     The United States objects to the Requests to the extent they seek documents or

  information protected by either the attorney-client privilege or the work-product doctrine.

  Communications made between attorneys (and their agents and support staff) and their clients

  for the purpose of obtaining or providing legal assistance to the clients are protected from

  disclosure. Legal assistance given to the DEA by agency counsel or other lawyers within DOJ, if

  any, is covered by these privileges. Similarly, documents prepared in anticipation of litigation,

  not only created by attorneys, but also those created by investigators and other agents, are also

  protected from disclosure. The United States will withhold documents and information protected

  by the attorney-client privilege or the work-product doctrine.

         16.     The United States objects to the Requests to the extent they seek documents or

  information protected by the law enforcement privilege. Such privilege extends to and includes

  law enforcement techniques and procedures.

         17.     The United States objects to the Requests to the extent they seek documents or

  information protected by Federal Rule of Criminal Procedure 6(e). Federal Rule of Criminal

  Procedure 6(e) limits the disclosure of grand jury materials, to the extent they exist, to the

  circumstances defined in Rule 6(e)(3)(E), an exclusive list of exceptions to the general rule of

  grand jury secrecy.

                         SPECIFIC RESPONSES AND OBJECTIONS TO
                        REQUESTS FOR PRODUCTION OF DOCUMENTS

         REQUEST 1: All Documents on which You have relied or intend to rely in support of

  Your allegations, claims, and defenses in This Litigation.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection that this Request

  seeks documents protected by the attorney-client privilege and attorney work-product doctrine.



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  The United States further objects that this Request duplicates Requests 5 and 7 in Defendants’

  First Set of Requests for Production seeking “Documents relating to any investigation,

  enforcement, or disciplinary action concerning any Identified Prescriber, including without

  limitation all related Investigative Reports, interviews, notes, data, and data analyses” and “[a]ll

  Documents referenced in, cited in, referred to, or relied upon by You in drafting the Complaint.”

  The United States further objects to this Request on the grounds that it is premature to the extent

  that it seeks documents related to expert testimony and documents not yet in the United States’

  possession, custody, or control.

         Subject to and without waiving the foregoing objections, the United States responds by

  incorporating by reference its responses to Requests 5 and 7 in Defendants’ First Set of Requests

  for Production and will produce responsive non-privileged documents in its possession, custody,

  or control.

         REQUEST 2: All Documents relied upon by You to support Your allegation in

  Paragraph 8 of the Complaint that “[t]he usual course of professional pharmacy practice requires

  identification and resolution of ‘red flags’ – signs indicating the potential invalidity of a

  prescription.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if set forth fully herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint,” and partially duplicative of

  Request 55(d) below.




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         The United States further objects to the extent that this Request seeks information that

  will be addressed by an expert or experts later in litigation. The United States will provide

  responsive non-privileged documents when they are available. The United States further objects

  that this Request seeks documents protected by the attorney work-product doctrine, including

  documents related to the work of consulting experts. The United States will provide a log of

  documents withheld based on privilege pursuant to Section IV of the ESI.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial




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  Disclosures. The United States further refers to WMT_DCO_00000031 and

  WMT_DOJ_000136298, which support the referenced allegation. Pursuant to the ESI Order, see

  ¶ 53, the United States will not reproduce these documents, which were previously produced by

  Defendants to the United States.

         REQUEST 3: All Documents relied upon by You to support Your allegation in

  Paragraph 59 of the Complaint that a pharmacist has a “corresponding responsibility” to

  “independently determine that the prescription was issued in the usual course of professional

  practice and for a legitimate medical purpose.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the extent that this Request seeks information that

  will be addressed by an expert or experts later in litigation. The United States will provide

  responsive non-privileged documents when they are available. The United States further objects

  that this Request seeks documents protected by the deliberative process privilege and attorney

  work-product doctrine, including documents related to the work of consulting experts. The

  United States will provide a log of documents withheld based on privilege pursuant to Section IV

  of the ESI.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could




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  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to WMT_DCO_00000031 and

  WMT_DOJ_000136298, which support the referenced allegation. Pursuant to the ESI Order, see

  ¶ 53, the United States will not reproduce these documents, which were previously produced by

  Defendants to the United States. The United States also relies on 21 C.F.R. § 1306.04 and case

  law interpreting that regulation, and objects to this Request to the extent that it seeks legal

  authority, which is beyond the proper scope of Rules 26 and 34.

         REQUEST 4: All Documents relied upon by You to support Your allegation in

  Paragraph 71 that “one of the key professional responsibilities of a pharmacist, when presented

  with a prescription for controlled substances, is to identify the presence of red flags of




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  diversion.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint,” and partially duplicative of

  Request 55(d) below.

         The United States further objects to the extent that this Request seeks information that

  will be addressed by an expert or experts later in litigation. The United States will provide

  responsive non-privileged documents when they are available. The United States further objects

  that this Request seeks documents protected by the deliberative process privilege and attorney

  work-product doctrine, including documents related to the work of consulting experts. The

  United States will provide a log of documents withheld based on privilege pursuant to Section IV

  of the ESI.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced




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  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to WMT_DCO_00000031 and

  WMT_DOJ_000136298, which support the referenced allegation. Pursuant to the ESI Order, see

  ¶ 53, the United States will not reproduce these documents, which were previously produced by

  Defendants to the United States.

         REQUEST 5: All Documents relied upon by You to support Your allegation in

  Paragraph 72 purporting to identify certain “red flags” that are “indicative of invalidity.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint,” and partially duplicative of

  Request 55(d) below.

         The United States further objects to the extent that this Request seeks information that

  will be addressed by an expert or experts later in litigation. The United States will provide

  responsive non-privileged documents when they are available. The United States further objects




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  that this Request seeks documents protected by the deliberative process privilege and attorney

  work-product doctrine, including documents related to the work of consulting experts. The

  United States will provide a log of documents withheld based on privilege pursuant to Section IV

  of the ESI.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to WMT_DCO_00000031 and

  WMT_DOJ_000136298, which support the referenced allegation. Pursuant to the ESI Order, see




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  ¶ 53, the United States will not reproduce these documents, which were previously produced by

  Defendants to the United States.

         REQUEST 6: All Documents relied upon by You to support Your allegation in

  Paragraph 73 of the Complaint that a “basic professional obligation of pharmacists presented

  with a controlled-substance prescription is to resolve each red flag they identify” and purporting

  to identify certain actions the pharmacist might undertake for such resolution.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint,” and is partially duplicative of

  Request 55(d) below.

         The United States further objects to the extent that this Request seeks information that

  will be addressed by an expert or experts later in litigation. The United States will provide

  responsive non-privileged documents when they are available. The United States further objects

  that this Request seeks documents protected by the deliberative process privilege and attorney

  work-product doctrine, including documents related to the work of consulting experts. The

  United States will provide a log of documents withheld based on privilege pursuant to Section IV

  of the ESI.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced




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  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to WMT_DCO_00000031,

  WMT_DOJ_000580152, and WMT_DOJ_000136298, which support the referenced allegation.

  Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these documents, which

  were previously produced by Defendants to the United States.

         REQUEST 7: All Documents relied upon by You to support Your allegations in

  Paragraph 74 of the Complaint, including:

         (a)     That “if a pharmacist identifies and resolves red flags, the pharmacist has an

  additional professional responsibility to document that resolution;”

         (b)     That “the absence of documentation can indicate that the pharmacist did not

  successfully resolve the red flag;” and




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          (c)     That “pharmacists presented with a controlled-substance prescription bearing a

  red flag must investigate and either (a) resolve the red flag before dispensing and document the

  resolution, or (b) refuse to fill the prescription.”

          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint,” and partially duplicative of

  Request 55(d) below.

          The United States further objects that this request seeks information that will be

  addressed by an expert or experts later in litigation. The United States will provide responsive

  non-privileged documents when they are available. The United States further objects that this

  Request seeks documents protected by the deliberative process privilege and attorney work-

  product doctrine, including documents related to the work of consulting experts. The United

  States will provide a log of documents withheld based on privilege pursuant to Section IV of the

  ESI.

          The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those




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  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to WMT_DCO_00000031,

  WMT_DOJ_000136298, and WMT_EDTX_00192238, which support the referenced

  allegations. Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these

  documents, which were previously produced by Defendants to the United States.

         REQUEST 8: All Documents relating to the March 2011 Memorandum of Agreement

  referenced in Paragraph 95 of the Complaint, including:

         REQUEST 8(a): Documents relating to Walmart’s compliance or non-compliance with

  the Memorandum of Agreement[.]

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. Subject to those objections, the United

  States will produce responsive non-privileged documents in its possession, custody, or control

  following a reasonable inquiry of reasonably accessible sources that the United States has reason

  to believe contain relevant and unique documents.




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         REQUEST 8(b): Documents provided to You pursuant to the Memorandum of

  Agreement as described in Paragraphs 98 and 108[.]

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein and further objects that this request seeks

  documents in Defendants’ possession, custody, or control. Subject to and without waiving the

  foregoing objections, the United States responds that responsive documents consist of the forms

  that Defendants submitted to the DEA pursuant to the March 2011 Memorandum of Agreement

  and that Defendants produced in response to DEA subpoenas MW-19-322366, MW-18-817060,

  MW-18-817014, MW-18-816990, and MW-18-768156. Pursuant to the ESI Order, see ¶ 53, the

  United States will not reproduce these documents to the extent they are documents previously

  produced by Defendants to the United States.

         REQUEST 8(c): Documents relating to any action or inaction by You regarding any

  RTF submitted to You by Walmart under the terms of said Memorandum of Agreement.

         RESPONSE: The United States incorporates the objections to the definitions and

  instructions as if fully set forth herein, including the objection to Definition 24 (“You”). The

  United States specifically objects that this Request seeks documents protected by the deliberative

  process privilege, attorney-client privilege or attorney work-product doctrine, law enforcement

  privilege, or Federal Rule of Criminal Procedure 6(e). The United States further objects to this

  Request to the extent it seeks documents or information not relevant to the United States’ claims

  or Defendants’ pled defenses as applied against the United States.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in its possession, custody, or control that are responsive to

  the parties’ claims or pled defenses as applied against the United States, following a reasonable




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  inquiry of reasonably accessible sources that the United States has reason to believe contain

  relevant and unique documents.

         REQUEST 9: All Documents relied upon by You to support Your allegation in

  Paragraph 103 of the Complaint that “the compliance team also had the ultimate authority to

  instruct Walmart’s pharmacists to refuse to fill specific prescriptions.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely




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  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_DOJ_000101620, which was

  relied upon to support the referenced allegation in Paragraph 103 at the time the Second

  Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the

  United States will not reproduce this document, which was previously produced by Defendants

  to the United States.

         REQUEST 10: All Documents relied upon by You to support Your allegations in

  Paragraph 161 that                    “was sentenced to 20 years’ imprisonment for CSA

  violations” and that “[a] pharmacist contacted the state medical board because of her concerns

  about the amount of controlled substances that            prescribed.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced




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  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_DOJ_000453809, which was

  relied upon to support the referenced allegations in Paragraph 161 at the time the Second

  Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the

  United States will not reproduce this document, which was previously produced by Defendants

  to the United States.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Verdict Form,                          (E.D.N.C.), Case No.                     ,

  Docket Entry 406, 4/16/2018; (2) Judgment in a Criminal Case,

  (E.D.N.C.), Case No.                   , Docket Entry 447, 8/27/2018.

         REQUEST 11: All Documents relied upon by You to support Your allegations in




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  Paragraph 162 that “pharmacy shopping occurred … between Walmart and competing

  pharmacies.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and




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  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States refers to the refusal-to-fill forms submitted for

  prescriptions written by

                                                                                              , which

  were relied upon to support the referenced allegations in Paragraph 162 at the time the Second

  Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the

  United States will not reproduce these documents, which were previously produced by

  Defendants to the United States. The United States will produce a list of the refusal-to-fill forms

  identified by Bates numbers.

         REQUEST 12: All Documents relied upon by You to support Your allegations in

  Paragraph 165 that an unidentified Prescriber “admitted in 2021 to the Nevada Board of Medical

  Examiners that he failed to adequately supervise his son, who was not a licensed medical

  practitioner and who prescribed controlled substances without determining whether they were

  medically necessary.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced




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  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States will produce

  the following responsive non-privileged document: First Amended Complaint and Settlement

  Agreement and Order, In the Matter of Charges and Complaint Against                                    ,

  M.D., Board of Medical Examiners of the State of Nevada, Case No.                   , 11/03/2021.

         REQUEST 13: All Documents relied upon by You to support Your allegations in

  Paragraph 168 that “[c]ompliance team members knew… that the compliance team had the

  ability to slow or stop, or by contrast, encourage the stream of invalid prescriptions by their

  policies” and that “[t]he fewer controls they put in place, the more likely it was that invalid

  prescriptions would continue to be presented at their pharmacies.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First




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  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_DOJ_000516879, which was

  relied upon to support the referenced allegations in Paragraph 168 at the time the Second

  Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the




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  United States will not reproduce this document, which was previously produced by Defendants

  to the United States.

         REQUEST 14: All Documents relied upon by You to support Your allegations in

  Paragraph 168 that Walmart’s policies were “more liberal” compared to those of other retail

  chain pharmacies.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely




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  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_DOJ_000516879, which was

  relied upon to support the referenced allegations in Paragraph 168 at the time the Second

  Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the

  United States will not reproduce this document, which was previously produced by Defendants

  to the United States.

         REQUEST 15: All Documents relied upon by You to support Your allegation in

  Paragraph 177 that “the compliance team chose to make little use of refusal-to-fill information,

  even though they recognized the value in the information.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to




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  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_DOJ_000045119,

  WMT_DOJ_000060543, WMT_DOJ_000038703, WMT_DOJ_000038985, and

  WMT_EDTX_00127345, which were relied upon to support the referenced allegation at the time

  the Second Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶

  53, the United States will not reproduce these documents, which were previously produced by

  Defendants to the United States.

         REQUEST 16: All Documents relied upon by You to support Your allegation in

  Paragraph 184 that the compliance team “generally did nothing to investigate individual

  Prescribers” and “failed to retrieve readily available public information showing that certain

  reported pill-mill prescribers faced administrative actions by state medical licensing boards and




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  criminal prosecutions by state and federal authorities,” including the “public information” that

  was allegedly “readily available” to the compliance team.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and




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  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_DOJ_000067837, which was

  relied upon to support the referenced allegation in Paragraph 184 at the time the Second

  Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the

  United States will not reproduce this document, which was previously produced by Defendants

  to the United States.

         REQUEST 17: All Documents relied upon by You to support Your allegation in

  Paragraph 184 that the compliance team “often failed to contact other non-Walmart pharmacies

  that had decided not to fill prescriptions for reported pill-mill prescribers.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced




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  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States expects that additional documents responsive to this

  request will be protected by the attorney work-product doctrine and will be listed on the United

  States’ privilege log.

         REQUEST 18: All Documents relied upon by You to support Your allegation in

  Paragraph 189 of the Complaint that the compliance team “did nothing to ensure that they would

  learn the details of the pill-mill prescribers before any pharmacist decided to blanket refuse those

  prescribers.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could




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  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_EDTX_00115346,

  WMT_DOJ_000018967, and WMT_DOJ_000154084, which were relied upon to support the

  referenced allegation in Paragraph 189 at the time the Second Amended Complaint was filed on

  February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these

  documents, which were previously produced by Defendants to the United States.

         REQUEST 19: All Documents relied upon by You to support Your allegation in

  Paragraph 190 of the Complaint that “members of the compliance team were uninterested in the

  details of government investigations of certain prescribers.”




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         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_DOJ_000154084,




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  WMT_EDTX_00064709, MDL Trial Exh. P-08069_00001, WMT_MDL_001203706, MDL

  Trial Exh. P-26882_00001, and WMT_MDL_001468783, which were relied upon to support the

  referenced allegation in Paragraph 190 at the time the Second Amended Complaint was filed on

  February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these

  documents, which were previously produced by Defendants to the United States or are

  documents to which Defendants already have access from the MDL litigation.

         REQUEST 20: All Documents relied upon by You to support Your allegation in

  Paragraph 190 of the Complaint that “[e]ven when DEA asked Walmart to voluntarily stop

  filling for a prescriber, B.N. believed that Walmart should not comply.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced




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  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_MDL_001468784, which was

  relied upon to support the referenced allegation in Paragraph 190 at the time the Second

  Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the

  United States will not reproduce this document, to which Defendants already have access from

  the MDL litigation.

         REQUEST 21: All Documents relied upon by You to support Your allegation in

  Paragraph 195 of the Complaint that “since a pill-mill prescriber practices outside the usual

  course, all prescriptions from such a prescriber are invalid.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects that this

  request seeks information that will be addressed by an expert or experts later in litigation. The

  United States will provide responsive non-privileged documents when they are available. The

  United States relied on 21 C.F.R. § 1306.04 and case law interpreting that regulation, and objects

  to this Request to the extent that it seeks legal authority, which is beyond the proper scope of

  Rules 26 and 34.




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         REQUEST 22: All Documents relied upon by You to support Your allegation in

  Paragraph 195 of the Complaint that “the compliance team, for years, acted to keep the

  information about pill-mill prescribers to themselves.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers




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  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_EDTX_00007753,

  WMT_DOJ_000009018, WMT_DOJ_000211683, WMT_DOJ_000211682,

  WMT_DOJ_000038703 at WMT_DOJ_000038731, WMT_DOJ_000249184,

  WMT_DOJ_000013641, WMT_DOJ_000013641, WMT_DCO_00000061, WMT_000053434,

  WMT_DOJ_000417801, WMT_DOJ_000170727, and MDL Exh. P-26705_00001 at

  WMT_MDL_000508416, which were relied upon to support the referenced allegation in

  Paragraph 195 at the time the Second Amended Complaint was filed on February 1, 2024.

  Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these documents, which

  were previously produced by Defendants to the United States or are documents to which

  Defendants already have access from the MDL litigation.

         REQUEST 23: All Documents relied upon by You to support Your allegation in

  Paragraph 198 of the Complaint that the compliance team “did not consider the need to be

  urgent” to disseminate refusal-to-fill information to its pharmacists.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could




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  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_DOJ_000038703 and

  WMT_DOJ_000038731, which were relied upon to support the referenced allegation in

  Paragraph 198 at the time the Second Amended Complaint was filed on February 1, 2024.

  Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these documents, which

  were previously produced by Defendants to the United States.

         REQUEST 24: All Documents relied upon by You to support Your allegation in

  Paragraph 207 of the Complaint that “the compliance team not only chose for years not to

  adequately distribute refusal-to-fill information but also affirmatively refused specific requests

  for the information.”




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         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_EDTX_00007646, which was




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  relied upon to support the referenced allegation in Paragraph 207 at the time the Second

  Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the

  United States will not reproduce this document, which was previously produced by Defendants

  to the United States.

         REQUEST 25: All Documents relied upon by You to support Your allegation in

  Paragraph 213 of the Complaint that, “[b]y clearly prohibiting blanket refusals, the compliance

  team members knew they were creating a bias toward filling prescriptions, thus making it more

  probable that pharmacists would fill invalid prescriptions.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects




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  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_EDTX_00007646,

  WMT_DOJ_000340366, WMT_DOJ_000580151, WMT_DOJ_000114923,

  WMT_DOJ_000008754, and WMT_DOJ_000206689, which were relied upon to support the

  referenced allegation in Paragraph 213 at the time the Second Amended Complaint was filed on

  February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these

  documents, which were previously produced by Defendants to the United States.

         REQUEST 26: All Documents relating to or relied upon by You to support Your

  allegation in Paragraph 216 of the Complaint that “[t]his prohibition against blanket refusals was

  not … required by law” and Your allegation in Paragraph 218 that “blanket refusals were

  permitted under state law.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects that this

  request seeks information that will be addressed by an expert or experts later in litigation. The

  United States will provide responsive non-privileged documents when they are available. The

  United States further objects that responsive documents include information equally available to

  Defendants, that is, the text of the laws of each of the fifty states governing the practice of




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  pharmacy.

         REQUEST 27: All Documents relied upon by You to support Your allegation in

  Paragraph 219 of the Complaint that, “[b]y forbidding blanket refusals, Walmart’s compliance

  team knew they were encouraging pharmacists to fill, rather than question, prescriptions.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.




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         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers Walmart to MDL Trial Exh. P-26882_00001

  and WMT_MDL_001468784, which were relied upon to support the referenced allegation in

  Paragraph 219 at the time the Second Amended Complaint was filed on February 1, 2024.

  Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these documents, which

  were previously produced by Defendants to the United States or are documents to which

  Defendants already have access from the MDL litigation.

         REQUEST 28: All Documents relating to the DEA investigation of the unidentified

  Prescriber You reference in Paragraph 219 of the Complaint.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States will search for and

  produce responsive non-privileged documents in its possession, custody, or control following a

  reasonable inquiry of reasonably accessible sources that the United States has reason to believe

  contain relevant and unique documents. The United States furthers refers to

  WMT_MDL_001468784 for the communications described in paragraph 219 of the Complaint.

         REQUEST 29: All Documents relied upon by You to support Your allegation in

  Paragraph 221 of the Complaint that “[t]he compliance team chose to withhold…information

  that would have revealed to its pharmacists that certain prescribers were pill mills,” and

  Documents sufficient to show the information that You allege was withheld.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this




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  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_MDL_001017453,

  WMT_DOJ_000383768, WMT_DOJ_000008751, WMT_DOJ_00012648,

  WMT_DOJ_000041922 at WMT_DOJ_000041949, WMT_EDTX_00063225,




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  WMT_EDTX_000063223, and MDL Trial Exh. P-08037_00001, which were relied upon to

  support the referenced allegation in Paragraph 219 at the time the Second Amended Complaint

  was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the United States will not

  reproduce these documents, which were previously produced by Defendants to the United States

  or are documents to which Defendants already have access from the MDL litigation.

         REQUEST 30: All Documents relied upon by You to support Your allegation in

  Paragraph 227 of the Complaint that “[t]he decisions regarding refusal-to-fill information,

  blanket refusals, and corporate blocks all reflected a decision to leave pharmacists on their own.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects




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  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_EDTX_00007646,

  WMT_EDTX_00012648, WMT_EDTX_00063306, WMT_EDTX_00063403,

  WMT_MDL_001017453, WMT_MDL_001764118, WMT_MDL_000508416,

  WMT_DOJ_000120925, WMT_DOJ_000417801, and WMT_DOJ_000170727, which were

  relied upon to support the referenced allegation in Paragraph 227 at the time the Second

  Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the

  United States will not reproduce these documents, which were previously produced by

  Defendants to the United States or are documents to which Defendants already have access from

  the MDL litigation.

         REQUEST 31: All Documents relied upon by You to support Your allegation in

  paragraph 227 of the Complaint that “the compliance team regularly declined specific requests

  for help.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First




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  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects

  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its response to Request 7 of Defendants’ First Set of Requests for Production and

  First Set of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024

  Initial Disclosures. The United States further refers to WMT_DOJ_000340366,

  WMT_DOJ_000120925, WMT_DOJ_000544427, WMT_EDTX_00063306,

  WMT_EDTX_00063403, and MDL Trial Exh. P-14643_00001, which were relied upon to

  support the referenced allegation in Paragraph 227 at the time the Second Amended Complaint




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  was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the United States will not

  reproduce these documents, which were previously produced by Defendants to the United States

  or are documents to which Defendants already have access from the MDL litigation.

         REQUEST 32: All Documents relating to the unidentified Prescriber You reference in

  Paragraphs 229 and 230 of the Complaint, including Documents relating to the one-year

  suspension of that Prescriber, and the referenced investigation by the Oregon State Board of

  Nursing.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. Subject to and without waiving those

  objections, the United States will produce responsive non-privileged documents in its possession,

  custody, or control following a reasonable inquiry of reasonably accessible sources that the

  United States has reason to believe contain relevant and unique documents. The United States

  further refers to the Stipulated Order for Suspension of RN License and Adult Nurse Practitioner

  Certificate with Conditions Followed by Probation, Oregon State Board of Nursing, In the

  Matter of                                  , Case No.            and MDL Plaintiffs’ Trial Exhibit

  P-14643_00001, to which Defendants already have access from the MDL litigation.

         REQUEST 33: All Documents relied upon by You to support Your allegations

  regarding               in Paragraphs 159 and 236-244 of the Complaint, including:

         (a) Your allegation in Paragraph 159 that          “prescribing habits violated the

  Delaware Medical Practices Act.”

         (b) Your allegations in Paragraph 236 of the Complaint that         : (i) “prescribed

  excessive doses of opioids without appropriately discussing the risks with his patients,

  monitoring his patients, or incorporating other treatments,” and (ii) “was known for prescribing




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  Percocet (oxycodone-acetaminophen) after performing what one person described as the ‘most

  trivial’ of exams.”

             (c) Your allegations in Paragraphs 243 and 244 of the Complaint regarding the

  investigation of         by the Delaware Division of Public Health, the “multi-day hearing”; and

             suspension by the Delaware Secretary of State.

             RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. Further, the United States no longer

  intends to rely on prescriptions written by                 to support the Second Claim of the

  Complaint. Should Defendants still seek documents responsive to this Request, the United

  States would specifically object that the Request seeks documents that are irrelevant to the

  parties’ claims and pled defenses.

             REQUEST 34: All Documents relied upon by You to support Your allegations

  regarding                 in Paragraphs 128 and 245-254 of the Complaint, including:

             (a) Your allegations in Paragraph 245 of the Complaint that        : (i) “prescribed

  massive quantities of controlled substances, including the trinity combination of an opioid, a

  benzodiazepine, and carisoprodol”; (ii) “prescribed this dangerous cocktail more frequently to

  Medicare patients than did any other physician in the United States”; (3) “accepted only cash for

  his office visits”; (iii) “falsely claimed to work for the Department of Justice and displayed a

  fake police badge to intimidate patients”; and “exploited female patients and coerced some of

  them into providing sexual favors in exchange for controlled substances.”

             (b) Your allegation in Paragraph 251 of the Complaint that “[a]s other pharmacies in

  Savannah stopped filling             prescriptions, individuals turned to Walmart to get them

  filled.”




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         (c) Your allegations in Paragraph 254 of the Complaint regarding                2019 trial,

  conviction, and sentencing.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its responses to Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and First Set of Interrogatories, which references documents listed in Exhibit A of its May 15,

  2024 Initial Disclosures. The United States further refers to Defendants’ dispensing data and




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  WMT_DOJ_000011630, WMT_EDTX_00047861, WMT_EDTX_00048371,

  WMT_EDTX_00058720, WMT_EDTX_00065205, WMT_EDTX_00246484,

  WMT_EDTX_00047862, WMT_EDTX_00062429, WMT_EDTX_00058720,

  WMT_EDTX_00065205, and WMT_EDTX_00137766, which were relied upon to support the

  referenced allegations in Paragraphs 128 and 245-254 at the time the Second Amended

  Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the United States

  will not reproduce these documents, which were previously produced by Defendants to the

  United States.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Law Enforcement Executive Summary, Person of Interest:                   ,

  Walmart Global Investigations, 09/30/2019; (2) CDC Clinical Practice Guideline for Prescribing

  Opioids for Pain - United States, 2022; (3) Jury Trial Transcripts (Witnesses Mariangeli

  Hamilton, Angela Coleman, Rob Gibbons, Jessica Davis, Christy Lynn Smith Ward, Jennie

  Marie Thomas, Jessica Hope Peterson, Ginger Lago),                            (S.D.G.A.), Case

  No.                , Docket Entries 171, 172, 01/31/2020; (4) Judgment,

  (S.D.G.A.), Case No.                , Docket Entry 185, 2/19/2020; (5) Verdict Form,

                   (S.D.G.A.), Case No.               , Docket Entry 152, 10/10/2019.

         REQUEST 35: All Documents relied upon by You to support Your allegations

  regarding              in Paragraphs 162, 255-262, and 531-537 of the Complaint, including:

         (a) Your allegation in Paragraph 255 of the Complaint that          “rarely conducted

  physical or diagnostic examinations of his patients, ignored signs of drug diversion, and

  prescribed excessive amounts of opiates, including oxycodone, hydrocodone, hydromorphone,

  and morphine.”




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          (b) Your allegations in Paragraph 256 of the Complaint that “[d]uring the investigation

  of        ”: (i) “he and his business partner asked an undercover agent to smuggle a Hungarian

  national into the United States”; (ii) “[i]n return,         prescribed the agent an increased

  amount of oxycodone and hydromorphone, and                    business partner paid the agent $5,000

  in cash”; and (iii) “         instructed the agent to fabricate an injury to justify the increased

  amounts of opioids and explained to the agent how to falsify his patient history.”

          (c) Your allegations in Paragraph 262 of the Complaint regarding                2017 trial,

  conviction, and sentencing.

          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and Request 11 above.

          The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to




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  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 11 related to Paragraph 162 of the Complaint. The United States further

  refers Walmart to its responses to Requests 5 and 7 of Defendants’ First Set of Requests for

  Production and First Set of Interrogatories, which references documents listed in Exhibit A of its

  May 15, 2024 Initial Disclosures. The United States further refers to Defendants’ dispensing

  data and WMT_DOJ_000296686, WMT_EDTX_00040459, WMT_EDTX_00055128,

  WMT_DOJ_000160889, WMT_DOJ_000297186, WMT_DOJ_000296454,

  WMT_DOJ_000296584, WMT_DOJ_000296648, WMT_EDTX_00045598,

  WMT_EDTX_00141696, WMT_DOJ_000283112, and WMT_EDTX_00130993, which were

  relied upon to support the referenced allegations in Paragraphs 128 and 245-254 at the time the

  Second Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53,

  the United States will not reproduce these documents, which were previously produced by

  Defendants to the United States.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Trial Transcript (Expert Witness Dr. Mark Rubenstein),

  (M.D. Fla.), Case No.                        , Docket Entry 255, 03/09/2018; (2) Trial Transcript

  (Witness Brian Zdrojewski),                          (M.D. Fla.), Case No.

         , Docket Entries 251, 252, 03/09/2018; and (3) Verdict,                          (M.D.

  Fla.), Case No.                       , Docket Entry 143, 7/20/2017.




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         REQUEST 36: All Documents relied upon by You to support Your allegations

  regarding                in Paragraphs 162 and 263-275 of the Complaint, including:

         (a)      Your allegations in Paragraph 263 of the Complaint that: (i)         “has a record of

  criminal and professional misconduct going back to 2005”;

         (ii) the Medical Licensing Board of Indiana (“MLBI”) suspended              in 2005; (iii) the

  MLBI found “that his practice would present a ‘clear and immediate danger to the public health

  and safety’ if allowed to continue because he had allowed an unlicensed individual to prescribe

  drugs using            DEA registration number and to treat             patients”; and (iv) “

  had hired that individual knowing that the individual was not licensed to practice medicine and

  had paid him $20 per hour.”

         (b)      Your allegation in Paragraph 264 of the Complaint that the “indefinite probation”

  of          medical license in 2006 “did not have a substantial effect on his ability to practice

  medicine or prescribe controlled substances.”

         (c)      Your allegations in Paragraph 265 of the Complaint that in May 2011, “in an

  interview with law enforcement officers,”          admitted “providing medical treatment to his

  live-in housekeeper, with whom he was in a romantic relationship” and “also admitted knowing

  that she was addicted to controlled substances and prescribing hydrocodone to her when she

  experienced withdrawal symptoms.”

         (d)      Your allegation in Paragraph 266 of the Complaint regarding the MLBI’s 2015

  suspension of          license and finding, “among other things, that          ‘prescribed and/or

  administered narcotic controlled substances to [the housekeeper], a known drug addict and other

  patients without objective evidence of medical necessity for the prescribed narcotic

  medications’; and that he prescribed and/or administered narcotic controlled substances to




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  patients, including the housekeeper, ‘outside the safe and generally accepted medical principles

  and protocols regulating the practice of medicine.’”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and Request 11 above.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 11 related to Paragraph 162 of the Complaint. The United States further

  refers Walmart to its responses to Requests 5 and 7 of Defendants’ First Set of Requests for




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            (a)     Your allegations in Paragraph 276 of the Complaint that          “admitted that he

  managed the clinic ‘like a pill mill that herded patients through . . . and prescribed [controlled

  and dangerous substances] in large quantities based upon little to no physical examination or

  with no legitimate medical purpose.’”

            (b)     Your allegations in Paragraph 276 of the Complaint that: (i) [l]ocal law

  enforcement reported that a lot of prescriptions found “on the street” came from the clinic; (ii)

  patients recalled being asked by other patients whether they wanted to sell their pills; and (iii) the

  clinic’s patients came from at least 10 states, some traveling as far as 1,800 miles round- trip.

            (c)     Your allegations in Paragraph 277 of the Complaint that          : (1) “would see

  50 to 60 patients a day”; (2) “made no attempt to treat pain through means other than prescribing

  controlled substances, and he would not attempt to decrease the dosages of controlled substances

  prescribed to his patients”; and (3) “ignored warning signs that patients were abusing their

  prescriptions.”

            (d)     Your allegations in Paragraph 279 of the Complaint that “other pharmacies had

  stopped filling for the clinic.”

            (e)     Your allegations in Paragraphs 288 and 289 of the Complaint regarding the 2014

  Oklahoma State Board of Medical Licensure and Supervision complaints against                  and

        ,            subsequent surrender of his license, and the 2015 revocation of            license.

            RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”




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         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its responses to Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and First Set of Interrogatories, which references documents listed in Exhibit A of its May 15,

  2024 Initial Disclosures. The United States further refers to Defendants’ dispensing data and

  WMT_DOJ_000258287, WMT_DOJ_000258309, WMT_DOJ_000258705,

  WMT_EDTX_00241899, WMT_DOJ_000008751, WMT_EDTX_00241913, and MDL Trial

  Exh. P-26892_00001, which were relied upon to support the referenced allegations in Paragraphs

  128 and 245-254 at the time the Second Amended Complaint was filed on February 1, 2024.

  Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these documents, which




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  were previously produced by Defendants to the United States or are documents to which

  Defendants already have access from the MDL litigation.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Complaint,                        , Oklahoma State Board of Medical Licensure and

  Supervision, Case No.               , 07/25/2014; (2) Amended Complaint,                          ,

  Oklahoma State Board of Medical Licensure, Case No.                   , 08/22/2014; (3) Voluntary

  Surrender in Lieu of Prosecution,                      , Oklahoma State Board of Medical

  Licensure and Supervision, Case No.                , 05/14/2015; (4) Complaint,

             Oklahoma State Board of Medical Licensure and Supervision, Case No.                ,

  08/01/2014; (5) Amended Citation,                         , Oklahoma State Board of Medical

  Licensure and Supervision, Case No.                , 04/15/2015; and (6) Order of Revocation of

  License,                       , Oklahoma State Board of Medical Licensure and Supervision,

  Case No.               , 08/28/2015.

         REQUEST 38: All Documents relied upon by You to support Your allegations

  regarding                     in Paragraphs 290-302, 458-460, 498-499, and 506 of the

  Complaint, including:

         (a) Your allegations in Paragraph 290 of the Complaint that “[i]n 2016,

  ranked second in the State of Texas for the number of doses of hydrocodone prescribed and

  seventh for the number of oxycodone doses.”

         (b) Your allegations in Paragraph 291 of the Complaint that “[b]etween 2010 and 2017,

  seven overdose deaths were connected to prescriptions written by                .”

         (c) Your allegations in Paragraph 291 of the Complaint that: (i) “[a] medical assistant

  from                Paris, Texas, office recalled that the office would receive calls from




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  individuals expressing concern about their family members misusing their prescriptions”; (ii)

  “[w]hen              was not in the office, he instructed his medical assistant to issue electronic

  prescriptions, including prescriptions for Schedule II controlled substances, as if they were being

  prescribed by             ”;

         (iii) “[a]nother medical assistant viewed posts on                 clinic’s Facebook page in

  which patients discussed selling drugs”; and (iv) “[a]nother employee reported that she

  encountered patients who came to the office and appeared to be ‘under the influence.’”

         (d) Your allegations in Paragraphs 302 and 499 of the Complaint regarding

  2017 indictment, trial, conviction, and sentencing.

         (e) Your allegations in Paragraph 506 of the Complaint regarding

  investigation by the Texas Medical Board.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced




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  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

          Subject to and without waiving the foregoing objections, the United States refers

  Walmart to its responses to Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and First Set of Interrogatories, which references documents listed in Exhibit A of its May 15,

  2024 Initial Disclosures. The United States further refers to Defendants’ dispensing data and

  WMT_EDTX_00063287, WMT_EDTX_00064254, WMT_DOJ_000553438,

  WMT_EDTX_00070511, WMT_DOJ_000545535, and WMT_DOJ_000544937, which were

  relied upon to support the referenced allegations in Paragraphs 290-302, 458-460, 498-499, and

  506, at the time the Second Amended Complaint was filed on February 1, 2024. Pursuant to the

  ESI Order, see ¶ 53, the United States will not reproduce these documents, which were

  previously produced by Defendants to the United States.

          Additionally, the United States will produce the following responsive non-privileged

  documents: (1) DEA analysis of Texas doctors' prescribing of oxycodone and hydrocodone; (2)

  Second Superseding Indictment,                               (E.D. Tex.), No.              , Docket

  Entry 61, 4/18/2018; (3) Plea Agreement,                              (E.D. Tex.), No.

     , Docket Entry 80, 10/5/2018; (4) Factual Basis,                               (E.D. Tex.), No.

              , Docket Entry 82, 10/5/2018; (5) Findings of Fact and Recommendation on Guilty

  Plea,                              (E.D. Tex.), No.           , Docket Entry 85, 10/16/2018; (6)

  Judgment in a Criminal Case,                               (E.D. Tex.), No.              , Docket




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  Entry 94, 5/10/2019; (7) Transcript of Video Sentencing Hearing,

  (E.D. Tex.), Docket Entry 114, 10/26/2022; (8) Report of interview of                    ; (9)

  Report of interview of             ; (10) Report of interview of                         ; and (11)

  Final Panel Report, Texas Medical Board,                       , Case           .

          REQUEST 39: All Documents relied upon by You to support Your allegations

  regarding                in Paragraphs 303-311 and 496 of the Complaint, including:

          (a) Your allegations in Paragraph 303 of the Complaint that             “practice exhibited

  numerous signs of a pill-mill operation” and that         : (i) “prescribed large dosages of opioids

  to 680 patients in 2015 alone”; (ii) “prescribed controlled substances to patients from nine states

  outside New Mexico”; (iii) “prescribed the trinity combination of an opioid, a benzodiazepine,

  and carisoprodol”; and (iv) “ignored evidence that his patients were abusing and/or diverting

  controlled substances.”

          (b) Your allegations in Paragraph 303 of the Complaint that “[m]edical records for many

  of his patients were incomplete or appeared to be templates, and, in many instances, the patient

  files did not include any records to corroborate the diagnoses of chronic pain conditions for

  which          prescribed controlled substances.”

          (c) Your allegations in Paragraph 310 of the Complaint that a patient with the initials

  S.B. “died from the toxic effects of multiple drugs, including oxycodone, alprazolam, and

  morphine.”

          (d) Your allegations in Paragraphs 310 and 311 of the Complaint regarding the New

  Mexico Medical Board’s investigation of          , the 2016 suspension of           license, and

           voluntary surrender of his medical license in 2017.




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         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  responses to Requests 5 and 7 of Defendants’ First Set of Requests for Production and First Set

  of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to Defendants’ dispensing data and

  WMT_EDTX_00044719, WMT_EDTX_00138024, WMT_EDTX_00138148,

  WMT_EDTX_00045598, WMT_EDTX_00046471, WMT_DOJ_000214235,




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  WMT_EDTX_00247930, WMT_DOJ_000265105, WMT_EDTX_00171520,

  WMT_EDTX_00260794, WMT_DOJ_000266245, WMT_EDTX_00045728,

  WMT_EDTX_00013673, WMT_EDTX_00166927, WMT_EDTX_00224892,

  WMT_EDTX_00254994, WMT_EDTX_00209546, WMT_EDTX_00136210, and

  WMT_DOJ_000273337, which were relied upon to support the referenced allegations in

  Paragraphs 303-311 and 496 at the time the Second Amended Complaint was filed on February

  1, 2024. Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these

  documents, which were previously produced by Defendants to the United States.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Notice of Summary Suspension,                                                , License

  No.            , New Mexico Medical Board, 05/12/2016; (2) Expert Report, Graves T. Owen,

  M.D., New Mexico Medical Board, Re:                           Respondent, NMMB Case Number:

                05/19/2016; (3) Stipulation and Order for Voluntary Surrender of License,

                                  , License No.             , New Mexico Medical Board,

  05/22/2017; and (4) Report of Findings, UNM Health Sciences Center Office of the Medical

  Investigator, Case No.              , Belfon, Shanna R., 06/24/2015.

         REQUEST 40: All Documents relied upon by You to support Your allegations

  regarding                      in Paragraphs 162, 312-320, and 495 of the Complaint, including:

         (a) Your allegations in Paragraph 312 of the Complaint that: (1) “          would write

  prescriptions for patients whom she did not meet or examine and who did not even come to her

  office”; (2) “patients’ family members and/or friends would go to            office to pick up

  prescriptions written by        in the patients’ names for large quantities of controlled

  substances”; (3) “[p]atient records were largely identical for each visit and did not reflect the




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  individualized analysis that would be expected from visit to visit”; and (4) “patients … traveled

  long distances to her clinic from cities in Florida, including Port Saint Lucie (202 miles),

  Tamarac (263 miles), Ft. Lauderdale (270 miles), and Graceville (383 miles).”

         (b) Your allegations in Paragraph 313 of the Complaint relating to DEA’s revocation of

        registration in 2006 “after she prescribed controlled substances to three undercover law

  enforcement officers who had admitted to her that they actually were not suffering from any

  pain,” the later restoration of her registration, and any monthly reporting provided pursuant to

  that revocation.

         (c) Your allegations in Paragraph 313 of the Complaint that “[i]n three separate

  administrative complaints filed in 2013, the Florida Department of Health alleged that

  prescribed excessive and/or inappropriate amounts of opioids without adequate justification.”

         (d) Your allegations in Paragraph 320 of the Complaint regarding             guilty plea,

  sentencing, and        “admi[ssion] that she wrote prescriptions, including prescriptions for

  controlled substances, in the name of certain individuals but then gave the prescriptions to their

  family members, never having seen or examined the individuals             knew would be the

  ultimate users of the drugs.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if set forth fully herein. Further, the United States no longer

  intends to rely on prescriptions written by                      to support the Second Claim of the

  Complaint. Should Defendants still seek documents responsive to this Request, the United

  States would specifically object that the Request seeks documents that are irrelevant to the

  parties’ claims and pled defenses.




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         REQUEST 41: All Documents relied upon by You to support Your allegations

  regarding                     in Paragraphs 321-334 of the Complaint, including:

         (a) Your allegations in Paragraph 321 of the Complaint that                (i) “was a

  Prescriber primarily to United States military personnel in the TRICARE network”; (ii) “was

  known for prescribing the trinity combination of an opioid, a benzodiazepine, and a muscle

  relaxant”; (iii) in 2012, “was the nation’s number-seven prescriber of the trinity combination”;

  and (iv) was described by a former patient, a military veteran, “as a ‘pill pusher’ and ‘upscale

  dope dealer.’”

         (b) Your allegation in Paragraph 322 of the Complaint that “                 received a

  January 2013 admonition by the Colorado State Board of Nursing for prescribing ‘excessive’

  dosages of OxyContin that were inconsistent with the patient’s underlying condition.”

         (c) Your allegations in Paragraph 334 of the Complaint regarding

  disciplinary action and 2017 surrender of his nursing license and Your allegation that he

  “admitted that his treatment plans for 12 patients were ‘inappropriate’ and that he had continued

  opioid therapy in cases where the patient was not benefiting and despite a patient’s violation of

  an opioid agreement” and that “his documentation was ‘substandard.’”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States specifically objects that

  this Request to the extent it seeks documents protected by the attorney work-product doctrine.

  The United States further objects to this Request as duplicative of Requests 5 and 7 of

  Defendants’ First Set of Requests for Production.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request




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  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  responses to Requests 5 and 7 of Defendants’ First Set of Requests for Production and First Set

  of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to Defendants’ dispensing data and

  WMT_EDTX_00123434, WMT_DOJ_000271206, WMT_EDTX_00205526, and

  WMT_EDTX_00137184, which were relied upon to support the referenced allegations in

  Paragraphs 128 and 245-254 at the time the Second Amended Complaint was filed on February

  1, 2024. Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these

  documents, which were previously produced by Defendants to the United States.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Report of investigation regarding case initiation; (2) Letter to




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  re Case Number                 , Colorado State Board of Nursing, 01/02/2013; and (3) Stipulation

  and Final Agency Order, Case Nos.                             and             , Colorado State

  Board of Nursing, 01/25/2017.

         REQUEST 42: All Documents relied upon by You to support Your allegations in

  Paragraphs 328-330 and 552 of the Complaint regarding a patient with the initials A.D.,

  including:

         (a) Your allegation in Paragraph 330 of the Complaint that “[a]ccording to A.D.,

  Walmart pharmacists never asked her any questions about her prescriptions, and she did not

  recall Walmart contacting                        to discuss her prescriptions.”

         (b) Your allegations in Paragraph 552 of the Complaint that “A.D. later admitted, she was

  addicted to the opioids, but Walmart pharmacists always filled her prescriptions without asking

  her any questions” and “[s]he also did not recall Walmart contacting her Prescriber to discuss her

  prescriptions.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if set forth fully herein. The United States specifically objects that

  this Request seeks documents protected by the attorney work-product doctrine. The United

  States will provide a privilege log for any documents withheld in accordance with Section IV of

  the ESI Order.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to




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  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         REQUEST 43: All Documents relied upon by You to support Your allegations in

  Paragraphs 331-333 and 553 of the Complaint regarding a patient with the initials M.H.,

  including:

         (a) Your allegation in Paragraph 333 of the Complaint that “M.H. … does not recall any

  Walmart pharmacists calling                           office to ask questions about her

  prescriptions.”

         (b) Your allegations in Paragraph 553 of the Complaint that “M.H. did not recall any

  Walmart pharmacists ever calling her Prescriber’s office to ask questions about her prescriptions,

  and Walmart never refused to fill any of her prescriptions.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if set forth fully herein. The United States specifically objects that

  this Request seeks documents protected by the attorney work-product doctrine. The United

  States will provide a privilege log for any documents withheld in accordance with Section IV of

  the ESI Order.




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          The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

          REQUEST 44: All Documents relied upon by You to support Your allegations

  regarding                   in Paragraphs 162, 335-344, 481, and 503 of the Complaint, including:

          (a) Your allegations in Paragraph 335 of the Complaint that             : (i) had a “medical

  practice [with] all the features of a classic pill-mill operation”; (ii) “falsified medical records to

  justify prescriptions for dangerously excessive amounts of controlled substances”; (iii)

  “permitted his patients to choose their opioid medications during their brief encounters with

  him”; (iv) “prescribed medications that he knew would be diverted”; and (v) “prescribed the

  trinity combination frequently and in large doses.”




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         (b) Your allegations in Paragraph 336 of the Complaint regarding                arrest, guilty

  plea, and sentencing.

         (c) Your allegations in Paragraphs 336, 337, and 344 of the Complaint regarding the

  three Florida Department of Health administrative complaints filed against            , the 2013

  amended complaint, and the April 2016 voluntary relinquishment of his license.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and Request 11 above.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.




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            REQUEST 45: All Documents relied upon by You to support Your allegations

  regarding                                referenced in Paragraphs 345-354, 529-530, and 555 of

  the Complaint, including:

            (a) Your allegations in Paragraph 345 of the Complaint that: (1)

  “flooded his community with opioids”; (2) “[f]rom January 2013 through March 19, 2018,

                      wrote prescriptions totaling more than seven million dosage units” and “[m]ore

  than 60 percent of those prescriptions were for Schedule II controlled substances, and less than

  two percent of the prescriptions were for non- scheduled drugs”; (3) “[t]he top-10 drugs he

  prescribed were all opioids”; and (4) “[t]he most common drug he prescribed was hydrocodone-

  acetaminophen 10/325mg, and the second-most common was oxycodone 30mg.”

            (b) Your allegations in Paragraph 346 of the Complaint that: (1) “

  practice bore many other signs of being a pill mill”; (2) “[h]is patients’ medical records were

  often cut-and-paste from one visit to another and contained no medical justification for the large

  quantities of Schedule II controlled substances he prescribed; (3) his “appointments were very

  short”; “typically [he] saw 80 to 90 patients per day, and each follow-up appointment lasted for

  just a few minutes”; (4) “[e]mployees … recalled receiving multiple calls a day from his

  patients’ family members expressing concern about                            treatment; and (5)

  “[e]mployees observed patients in the waiting room who appeared intoxicated, with one

  employee recalling an instance where a patient fell asleep on the toilet while giving a urine

  sample.”

            (c) Your allegations in Paragraph 351 of the Complaint that “[o]ne of

  former employees who worked at his office in 2015 observed that office staff told patients where

  to fill                     prescriptions, usually instructing them to go to Walmart Store 2036.”




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         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  responses to Requests 5 and 7 of Defendants’ First Set of Requests for Production and First Set

  of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to Defendants’ dispensing data and

  WMT_EDTX_00202845, WMT_EDTX_00139110, WMT_EDTX_00202845,

  WMT_DOJ_000170694, and WMT_DOJ_000396760, which were relied upon to support the




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  referenced allegations in Paragraphs 345-354, 529-530, and 555 at the time the Second Amended

  Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the United States

  will not reproduce these documents, which were previously produced by Defendants to the

  United States.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) List of refusals to fill, Walmart Response to Administrative Subpoena; (2) Report

  of intelligence regarding analysis of PDMP for                       ; (3) Reports of interview of

                             ; (4) Report of interview of                   ; (5) Report of interview of

                           ; (6) Report of interview of                    ; (7) Indictment,

                      (S.D. W. Va.) Case No.                   , Docket Entry 1, 07/26/2018; (8) Trial

  Transcript (Expert witness Dr. Gene Kennedy),                                          (S.D. W. Va.),

                   Docket Entries 145, 147, 149, 4/23/2019, 4/24/2019, 4/25/2019; (9) Plea

  Agreement,                                     (S.D. W. Va.) Case No.                  , Docket Entry

  291, 08/22/2019; and (10) Judgment,                                         (S.D. W. Va.) Case No.

               , Docket Entry 320, 07/08/2020.

         REQUEST 46: All Documents relied upon by You to support Your allegations

  regarding                in Paragraphs 146, 162, 355-366, 461-465, and 549 of the Complaint,

  including:

         (a) Your allegations in Paragraph 355 of the Complaint that: “[a]lthough                was not

  trained or certified in pain management, 75 to 80 percent of               patients came to him for

  pain management” and “[r]oughly half of his patients paid in cash.”

         (b) Your allegations in Paragraph 356 of the Complaint that: (1) “               was well

  known in Delaware for overprescribing opioid medications”; (2) “[t]wo former employees of




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             practice said that people would frequently refer to          as “Candy Man” because of

  the number of opioid pills he prescribed”; (3) “[a] pharmacist at a non- Walmart pharmacy in

  Milford, Delaware, reported that, immediately after opening in 2013, they began to receive a

  deluge of prescriptions from           ,” described        as “operating the ‘Disneyland for opiates’

  and concluded, based on his corresponding responsibility as a pharmacist, that he should not fill

  any prescriptions from          ”; and (4) “[a]n emergency room doctor told investigators that the

  emergency room would see five to 10 patients a night experiencing opioid withdrawal and that

  these were largely patients who had been seen by             .”

         (c) Your allegations in Paragraph 365 of the Complaint that “Walmart had filled three of

  the specific prescriptions for which          was convicted” and that “[o]f the 13 patients whose

  prescriptions formed the basis of            conviction, eight had filled other prescriptions from

         at Walmart stores for the same drugs.”

         (d) Your allegation in Paragraph 463 of the Complaint that a “pharmacy manager

  reported            unprofessional practices to others.”

         (e) Your “survey” and interview of the pharmacists in the Milford area described in

  Paragraphs 463 and 464 of the Complaint, or relied upon by You to support Your allegations in

  Paragraphs 463 and 464, including that: (1) “DEA diversion investigators… spoke with the

  manager and another pharmacist at Store 1741”; (2) “[t]he manager explained that she knew that

         did not have credentials to practice as a pain management physician”; (3) “[s]he reported

  that there was an influx of         patients on Thursdays, probably because              office was

  closed on Fridays”; (4) “[s]he observed that his patients arrived within three minutes of one

  another and ‘if the pharmacy does not have the medication . . . the word spreads in the parking

  lot and patients attempt to go to other pharmacies to get their prescriptions filled’”; (5) “[s]he




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  told the investigators that most patients paid cash for their prescriptions even though they had

  Medicaid”; and (6) “[s]he and the other pharmacist explained that many individuals from the

  same family received the same medication in the same quantity from              , and that multiple

  people from the same address received the same medications.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and Request 11 above.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.




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          Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 11 related to Paragraph 162 of the Complaint. The United States further

  refers Walmart to its responses to Requests 5 and 7 of Defendants’ First Set of Requests for

  Production and First Set of Interrogatories, which references documents listed in Exhibit A of its

  May 15, 2024 Initial Disclosures. The United States further refers to Defendants’ dispensing

  data and WMT_DOJ_000206689, WMT_EDTX_00040322, WMT_DOJ_000206689,

  WMT_DOJ_000397061, WMT_EDTX_00061226, and WMT_EDTX_00244182, which were

  relied upon to support the referenced allegations in Paragraphs 146, 162, 355-366, 461-465, and

  549 at the time the Second Amended Complaint was filed on February 1, 2024. Pursuant to the

  ESI Order, see ¶ 53, the United States will not reproduce these documents, which were

  previously produced by Defendants to the United States.

          Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Jury Verdict,                         (D. De.), Case No.               , Docket Entry

  101, 07/21/2021; (2) Judgment,                            (D. De.), Case No.               , Docket

  Entry 137, 03/08/2022; (3) Report of interview of                         ; (4) Report of interview

  of              ; (5) Report of interview of                ; (6) Report of interview of              ;

  (7) Report of interview of                      ; and (8) Report of interview of                and

                   .

          REQUEST 47: All Documents relied upon by You to support Your allegations

  regarding                        in Paragraphs 367-380 and 466-469 of the Complaint, including:

          (a) Your allegations in Paragraph 367 of the Complaint that: (1) “[i]n 2014, 2015, and

  2016,                was the top Prescriber of opioids in the Commonwealth of Pennsylvania”; and




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  (2) “[f]rom January 2014 to July 31, 2017             prescribed approximately 9.5 million units

  of oxycodone, hydrocodone, oxycontin, and fentanyl to his patients.”

         (b) Your allegations in Paragraph 368 of the Complaint that: (1) “[i]t was common

  knowledge in Mt. Carmel and Shamokin that patients could easily get narcotics from                 ”

  (see also Paragraph 466); (2) “           was the ‘go to’ for pain pills” (see also Paragraph 466);

  (3) [s]ome patients referred to him as “the Maniac” because of the large number of controlled-

  substance prescriptions he wrote; and (4) “[a] police detective from Coal Township, which

  surrounds Shamokin, reported in mid-2015 that               had prescribed most of the narcotic

  pills that ended up being sold and used on the streets of the township.”

         (c) Your allegations in Paragraph 373 of the Complaint that a patient with the initials

  R.C. died of an overdose on May 3, 2015, and that “             … prescribed the drugs on which

  R.C. overdosed.”

         (d) Your allegations regarding Your August 25, 2015, interview of the Walmart

  pharmacy manager at Store 2481 in Coal Township, Pennsylvania, described in Paragraph 467 of

  the Complaint, or relied upon to support Your allegations in Paragraph 467, including that: (1)

  “[t]he pharmacy manager explained that most of the prescriptions that were refused at Store 2481

  were issued by             and that “many patients attempted to refill narcotic prescriptions early

  and that            wrote many narcotic prescriptions for the same patient just days apart”; and

  (2) “[t]he pharmacy manager later stated that the four pharmacists who worked at the store

  consulted with each other.”

         (e) Your allegations regarding an August 28, 2015, report by a Walmart pharmacist from

  Store 2481 described in Paragraph 467 of the Complaint, or relied upon to support Your

  allegations in Paragraph 467, including that: (1) a pharmacist reported that “it was not




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  uncommon for the pharmacy to sell out of narcotics on the weekends because of the high volume

  of narcotics that              patients were attempting to fill”; and (2) “[o]n Saturday mornings,

               patients would line up outside the pharmacy before it opened.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  responses to Requests 5 and 7 of Defendants’ First Set of Requests for Production and First Set

  of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial




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  Disclosures. The United States further refers to Defendants’ dispensing data and

  WMT_EDTX_00207706, WMT_DOJ_000307758, WMT_EDTX_00220651,

  WMT_EDTX_00223775, WMT_EDTX_00242161, WMT_EDTX_00064910,

  WMT_DOJ_000476204, and WMT_EDTX_00108383, which were relied upon to support the

  referenced allegations in Paragraphs 367-380 and 466-469 at the time the Second Amended

  Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the United States

  will not reproduce these documents, which were previously produced by Defendants to the

  United States.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Report regarding intelligence on Walmart and             ; (2) Report of interview

  of               and                ; (3) Report of interview of            ; (4) Report on

  intelligence from a source of information; (5) Report of interview of                ; (6) Report

  regarding acquisition of oxycodone prescription for deceased patient                and interview

  of Walmart Pharmacist; (7) Coroner’s Summary Report, Office of the Coroner, Schuylkill

  County, Pennsylvania; (8) Trial Transcript (Witness Francis O'Neil),

  (M.D. Pa.), Case No.                       , Docket Entry 262, 7/27/2022; (9) Trial Transcript

  (Witness Paul Short),                           (M.D. Pa.), Case No.                          ,

  Docket Entry 266, 7/27/2022; (10) Trial Exhibit 29,                            (M.D. Pa.), Case

  No.                     ; (11) Trial Exhibit 30.01,                          (M.D. Pa.), Case No.

                     .

         REQUEST 48: All Documents relied upon by You to support Your allegations

  regarding               in Paragraphs 162, and 381-394 of the Complaint, including:




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          (a) Your allegations in Paragraph 381 of the Complaint that              practice “exhibited

  numerous signs of pill-mill activity,” including that: (1) it “operated on a cash-only basis and

  did not accept insurance”; (2) “[n]umerous ‘patients’ who came to               traveled to his Miami

  clinic from other states, including large numbers of individuals travelling in groups from

  southeastern Kentucky”; (3) “[m]any of these individuals were sponsored by drug dealers in

  Kentucky, who paid for their travel costs in exchange for receiving a portion of the pills”; (4)

  “[t]he waiting room of              practice was crowded, and, at times, standing-room only; and

  (5) “         would prescribe opioids to patients after spending only a few minutes with them,

  without performing any type of physical examination, and without requesting or reviewing

  patients’ previous medical or prescription records.”

          (b) Your allegations in Paragraph 383 of the Complaint that              patients “fanned

  out across the United States” to fill their prescriptions.

          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and Request 11 above.

          The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those




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  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 11 related to Paragraph 162 of the Complaint. The United States further

  refers to its responses to Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and First Set of Interrogatories, which references documents listed in Exhibit A of its May 15,

  2024 Initial Disclosures. The United States further refers to Defendants’ dispensing data and

  WMT_DOJ_000398521, WMT_EDTX_00064884, WMT_DOJ_000398521,

  WMT_DOJ_000227721, WMT_EDTX_00129230, WMT_DOJ_000309819,

  WMT_DOJ_000418534, WMT_EDTX_00064800, WMT_EDTX_00008221,

  WMT_EDTX_00068901, WMT_EDTX_00212342, and WMT_EDTX_00054778, which were

  relied upon to support the referenced allegations in Paragraphs 162, and 381-394 at the time the

  Second Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53,

  the United States will not reproduce these documents, which were previously produced by

  Defendants to the United States.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Superseding Indictment,                                  (E.D. Ky.), Case No.

                      , Docket Entry 82, 03/24/2016; (2) Transcript of Jury Trial (Witnesses




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  based on their disruptive behavior, including their complaints that they could not get early refills

  and their demands that they needed their medications ‘NOW!’”

         (c) Your allegations regarding Your December 2016 interview of the Walmart employee

  at Store 206 in McKinney, Texas, described in Paragraph 400 of the Complaint, including that:

  (1) “she told DEA agents that, in retrospect, she would not have filled several of

  prescriptions”; and (2) “[s]he admitted to continuing to fill his prescriptions despite the concerns

  triggered by the number of the prescriptions he wrote for the same cocktail of drugs, the number

  of individuals who traveled long distances to get their prescriptions filled at her pharmacy, and

  the fact that other area pharmacies had stopped filling            prescriptions.”

         (d) Your allegations regarding Your interview of R.P. described in Paragraph 401 of the

  Complaint, including that: (1) “[i]n May 2015, R.P. was arrested for selling hydrocodone and

  Xanax prescribed to her by           and filled at Walmart”; (2) “[i]n an interview with DEA, R.P.

  said that she filled her prescriptions at Walmart because it was one of the only pharmacies that

  would fill           prescriptions”; and (3) “[i]n August 2017, R.P. was indicted by a grand jury

  for illegally conspiring with         to distribute controlled substances.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to




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  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  responses to Requests 5 and 7 of Defendants’ First Set of Requests for Production and First Set

  of Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to Defendants’ dispensing data and

  WMT_DOJ_000282735, EDTX_WM0030366, WMT_DOJ_000545535,

  WMT_EDTX_00000062, WMT_EDTX_00000097, WMT_DOJ_000544073,

  WMT_DOJ_000213919, WMT_DOJ_000273136, WMT_DOJ_000273078,

  WMT_DOJ_000217659, EDTX_WM0037295, and EDTX_WM0037346, which were relied

  upon to support the referenced allegations in Paragraphs 124, 213, 395-402, and 470-475 at the

  time the Second Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order,

  see ¶ 53, the United States will not reproduce these documents, which were previously produced

  by Defendants to the United States.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Superseding Indictment,                                                   (E.D.




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  Tex.), No.                           , Docket Entry 47, 08/09/2017; (2) Judgment,

                                  (E.D. Tex.), No.                           , Docket Entry 116,

  02/01/2018; (3) Report of interview of                    ; (4) Reports of interview of

       ; (5) Report of interview of               ; (6) Report of interview of

          ; and (7) 11/05/2015 Gunter Police Department Incident Report Regarding Arrest of

                  .

         REQUEST 50: All Documents relied upon by You to support Your allegations

  regarding                 in Paragraphs 146, 156, 162, 228, 403-415, and 551 of the Complaint,

  including:

         (a) Your allegations in Paragraph 403 of the Complaint that                 practice “exhibited

  numerous signs of pill-mill activity”; “[f]or example,              business hours typically began

  at 4:00 p.m. or later and he would see the patients until late in the evening.”

         (b) Your allegations in Paragraph 404 of the Complaint that: (1) “                  patient

  examinations, when he conducted examinations at all, were perfunctory and standardized and not

  necessarily relevant to the patients’ complaints”; (2) “[d]iagnostic tests, even if ordered, rarely

  resulted in any change in treatment or pain management”; and (3) “                prescribed opioids,

  typically in a set monthly dosage of 120 pills, at the first visit and every subsequent visit, without

  accounting for differences in patient history, without exploring alternative treatment options,

  without conducting legitimate urine drug screenings, without conducting random pill counts, and

  all the while ignoring warning signs of addiction and abuse in favor of continuing opioid

  prescribing.”

         (c) Your allegations in Paragraph 405 of the Complaint that: (1) “                 ran a cash-

  based clinic and generally charged a flat rate of $200 cash per patient visit”; (2) “[e]ven patients




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  who carried insurance paid for their prescriptions in cash”; and (3) “              business grew by

  word of mouth within the pill-seeking community around New Bern, North Carolina.”

          (d) Your allegation in Paragraph 408 of the Complaint that “              began sending

  patients to more distant pharmacies when local pharmacies started rejecting his prescriptions.”

          (e) Your allegation in Paragraph 409 of the Complaint that “              was, however,

  available late at night and answered his own phone to validate prescriptions.”

          (f) Your allegations in Paragraph 413 of the Complaint that “            gave one of his

  patients—who was at that time working as a confidential source for law enforcement—a list of

  pharmacies that he believed would still fill his prescriptions,” and that “Walmart was second

  from the top of that list.”

          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. Further, the United States no longer

  intends to rely on prescriptions written by                  to support the Second Claim of the

  Complaint. Should Defendants still seek documents responsive to this Request, the United

  States would specifically object that the Request seeks documents that are irrelevant to the

  parties’ claims and pled defenses.

          REQUEST 51: All Documents relied upon by You to support Your allegations

  regarding                     in Paragraphs 162, 416-425, and 486 of the Complaint, including:

          (a) Your allegations in Paragraph 416 of the Complaint that: (1) “[u]pon retiring from his

  gynecology practice,              worked part-time at a pain clinic”; (2) “[t]he pain clinic actively

  advertised to cash patients, highlighted quick service, and called over-the-counter aspirin

  ‘useless and awful for your body’”; and (3) the clinic “publicly solicited names of pharmacists




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  and pharmacies in Bradenton and Sarasota that refused to fill                prescriptions and

  advised patients to use two specific mail-in pharmacies to fill Schedule II pain medications.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and Request 11 above.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 11 related to Paragraph 162 of the Complaint. The United States further

  refers Walmart to its responses to Requests 5 and 7 of Defendants’ First Set of Requests for




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  Production and First Set of Interrogatories, which references documents listed in Exhibit A of its

  May 15, 2024 Initial Disclosures. The United States further refers to Defendants’ dispensing

  data and WMT_EDTX_00045728, WMT_EDTX_00141285, WMT_DOJ_000270593,

  WMT_DOJ_000268668, WMT_DOJ_000269697, WMT_DOJ_000270593, WMT_

  EDTX_00245596, WMT_DOJ_000267860, WMT_DOJ_000213913, WMT_DOJ_000269101,

  WMT_DOJ_000268287, WMT_EDTX_00221319, WMT_DOJ_000271450,

  WMT_DOJ_000266706, WMT_DOJ_000266519, WMT_DOJ_000266708,

  WMT_DOJ_000269623, WMT_DOJ_000269703, WMT_DOJ_000268760,

  WMT_DOJ_000268339, WMT_EDTX_00147954, and WMT_DOJ_000281374, which were

  relied upon to support the referenced allegations in Paragraphs 162, 416-425, and 486 at the time

  the Second Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶

  53, the United States will not reproduce these documents, which were previously produced by

  Defendants to the United States.

          Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Johns Hopkins Class Notes, Fall 2015; and (2) Yellow Place Advertisement for

  Florida Personal Injury Physicians.

          REQUEST 52: All Documents relied upon by You to support Your allegations

  regarding                           in Paragraphs 162, 426-435, and 525-528 of the Complaint,

  including:

          (a) Your allegations in Paragraph 426 of the Complaint that: (1) prior to 2013,

  “                   served as the director of an unlicensed pain clinic in Knoxville, Tennessee”; (2)

  at that clinic, “                was supposed to supervise advanced practice nurses, but he gave

  the nurses ‘no guidance’ whatsoever and did not review patient charts”; (3) the clinic “engaged




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  in egregious prescribing habits, including continuing to prescribe a patient opiates and

  benzodiazepines after a positive urine drug screen for cocaine”; and (4) “[i]n 2013,

  also prescribed controlled substances from a clinic in Pikeville, Kentucky.”

         (b) Your allegations in Paragraph 432 and 435 of the Complaint that “the Tennessee

  Board of Medical Examiners revoked                        medical license in January 2014 as a result

  of his failure to supervise nursing staff in what the board described as ‘egregious prescribing

  habits’ related to controlled substances”; “                  licenses to practice medicine in

  Colorado, Kentucky, Washington, and Florida were later suspended or revoked”; and “[o]n June

  15, 2015, the Florida Board of Medicine suspended his license, and DEA thereafter revoked his

  registration.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and Request 11 above.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced




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  Matter of the Disciplinary Proceedings Regarding                                   , Case No.

               , Colorado Medical Board, 02/19/2016; (3) Order of Revocation, In re: the License to

  Practice Medicine in the Commonwealth of Kentucky Held by                                  , Case No.

           Commonwealth of Kentucky Board of Medial Licensure, 04/21/2015; (4) Findings of Fact,

  Conclusions of Law and Final Order of Default, In the Matter of the License to Practice as a

  Physician and Surgeon of:                            , No.             , State of Washington

  Medical Quality Assurance Commission; (5) Final Order,

                , DOH Case No.               , 06/15/2015; (6) Report of surrender of registration for

  cause,                        ; and (7) Report of decision and order to revoke DEA registration

                  .

            REQUEST 53: All Documents relied upon by You to support Your allegations regarding

                  in Paragraphs 162 and 436-445, including:

            (a) Your allegations in Paragraph 436 of the Complaint that: (1)        had a “cluttered,

  disheveled office [that] had all the outward features of a stereotypical ‘pill mill’ clinic, with large

  numbers of patients who drove in groups for long distances to appointments”; (2) “[t]he great

  majority of           patients had criminal histories, and approximately half of his patient

  population had criminal drug histories”; (3) “[p]atients in the crowded waiting area could be seen

  sleeping, losing consciousness, and falling out of their chairs, and they could be overheard

  openly discussing illegal narcotics”; (4) “[p]atients paid cash for excessively high dosages of

  opioids that were prescribed after little to no clinical evaluation”; and (5) “       kept a pet

  Cockatoo named ‘Cyrus’ in his exam room and often spent more time talking to his bird than to

  patients.”




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         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and Request 11 above.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 11 related to Paragraph 162 of the Complaint. The United States further

  refers to its responses to Requests 5 and 7 of Defendants’ First Set of Requests for Production

  and First Set of Interrogatories, which references documents listed in Exhibit A of its May 15,

  2024 Initial Disclosures. The United States further refers to Defendants’ dispensing data and




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  WMT_EDTX_00061226, WMT_DOJ_000310119, WMT_DOJ_000310523,

  WMT_DOJ_000272006, WMT_DOJ_000214367, WMT_DOJ_000310119,

  WMT_EDTX_00145568, WMT_EDTX_0013089, WMT_EDTX_00044293,

  WMT_EDTX_00222080, WMT_DOJ_000307557, WMT_DOJ_000307263,

  WMT_EDTX_000242373, WMT_DOJ_000296916, WMT_DOJ_000386497,

  WMT_DOJ_000264317, and WMT_DOJ_000217009 , which were relied upon to support the

  referenced allegations in Paragraphs 162 and 436-445 at the time the Second Amended

  Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the United States

  will not reproduce these documents, which were previously produced by Defendants to the

  United States.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Report of acquisition of non-drug exhibits N-40 thru N-42, during a UC visit at

                      office, (2) Report of interview of                   , and (3) Report of

  interview of                              .

         REQUEST 54: Documents sufficient to define or inform the meaning of the phrase

  “obvious combinations of red flags,” as used in Paragraph 447 of the Complaint.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects that this

  Request seeks information that will be addressed by an expert or experts later in litigation. The

  United States will provide responsive non-privileged documents when they are available.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial




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  Disclosures and which includes responsive documents. The United States specifically refers to

  WMT_DOJ_000553670, WMT_EDTX_00064659, WMT_EDTX_00008417,

  WMT_EDTX_00135058, WMT_EDTX_00252996, WMT_EDTX_00248844, and

  WMT_DCO_00000031, which support the referenced allegations. Pursuant to the ESI Order,

  see ¶ 53, the United States will not reproduce these documents, which were previously produced

  by Defendants to the United States.

          REQUEST 55: All Documents relied upon by You to support Your allegations in the

  Complaint regarding the practice of pharmacy, including:

          (a) Your allegation in Paragraph 449 of the Complaint that “schools of pharmacy

  generally included, in their standard curricula, courses covering red flags”;

          (b) Your allegation in Paragraph 450 of the Complaint that “it was recognized in the

  pharmacy profession that pharmacists had an obligation to assess red flags and determine whether

  a prescription was valid”;

          (c) Your allegations in Paragraph 545 of the Complaint that “[i]t has long been

  recognized in the professional field of pharmacy that a pharmacist presented with a controlled-

  substance prescription has to take certain fundamental steps to review the prescription” and

  “[p]harmacists who do not take such steps fail to follow the usual course of professional

  practice”;

          (d) Your allegation in Paragraph 547 of the Complaint that “the basic professional

  obligations of pharmacists require a pharmacist, when presented with a controlled-substance

  prescription bearing a red flag, to—as part of the usual course of professional pharmacy practice—

  take three basic steps: (a) identify the red flag, (b) investigate and resolve the red flag or refuse to

  fill the prescription, and (c) if the red flag is resolved, document the resolution”; and




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         (e) Your allegation in Paragraph 548 of the Complaint that “[e]ven if a prescription turns

  out to be valid, a failure to take these basic steps [listed in Paragraph 547 of the Complaint]

  violates the usual course of professional practice for pharmacists”.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint,” and is partially duplicative of

  Request 2 above.

         The United States further objects that this Request seeks documents protected by the

  attorney work-product doctrine, including documents related to the work of consulting experts.

  The United States will provide a log of documents withheld based on privilege pursuant to

  Section IV of the ESI.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and




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  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to WMT_DCO_00000031 and

  WMT_DOJ_000136298, which support the referenced allegations. Pursuant to the ESI Order,

  see ¶ 53, the United States will not reproduce these documents, which were previously produced

  by Defendants to the United States.

         REQUEST 56: All Documents relied upon by You to support Your allegations

  regarding            in Paragraphs 180 and 474-475 of the Complaint, including:

         (a) Your allegations in Paragraph 475 of the Complaint that “[t]he pharmacy manager

  admitted that, notwithstanding the knowledge that          was not adhering to the usual course of

  professional practice, the pharmacy filled seven Schedule II controlled-substance prescriptions

  by       between September 2015 and November 2015”.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”




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         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to WMT_EDTX_00008417, which was relied upon

  to support the referenced allegations in Paragraphs 180 and 474-475 at the time the Second

  Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53, the

  United States will not reproduce this document, which was previously produced by Defendants

  to the United States.




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         Additionally, the United States will produce the following responsive non-privileged

  document: Disciplinary Order,              , Missouri State Board of Registration for the Health

  Arts, Case No.            06/16/2020.

         REQUEST 57: All Documents relied upon by You to support Your allegation in

  Paragraph 476 of the Complaint that some Walmart “pharmacists were willfully blind to the

  prescriptions’ invalidity” and “chose not to resolve the obvious red flags before filling the

  prescriptions, despite their subjective awareness of the high probability that the prescriptions

  were invalid.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegation,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegation and to identify the documents as supportive specifically of the

  allegation on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegation at the time the Second Amended Complaint was filed on February 1, 2024, and objects




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  to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegation and to do so by identifying the documents specifically as

  supportive of the allegation.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures, and to its response to Request 55 above. The United States also relied on case law

  regarding the legal term “willful blindness” and objects to this Request to the extent that it seeks

  legal authority, which is beyond the proper scope of Rules 26 and 34.

         The United States further objects that this Request seeks documents protected by the

  attorney work-product doctrine, including documents related to the work of consulting experts.

  The United States will provide a log of documents withheld based on privilege pursuant to

  Section IV of the ESI. The United States further objects that this request seeks information that

  will be addressed in part by an expert or experts later in litigation. The United States will

  provide responsive non-privileged documents when they are available.

         REQUEST 58: All Documents relied upon by You to support Your allegations in the

  following Paragraphs of the Complaint that “trained pharmacists were aware” that the following

  prescriptions or combination of prescriptions “presented obvious red flags” or otherwise

  contained characteristics You contend demonstrate that the prescriptions or combination of

  prescriptions were written for other than “a legitimate medical purpose by an individual

  practitioner acting in the usual course of his professional practice”:

         (a) “multiple immediate-release opioids prescribed together or close in time” (Paragraph




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  479);

          (b) “immediate-release opioid and methadone” (Paragraph 484);

          (c) “classic trinity,” defined by You as “(a) an opioid; (b) a benzodiazepine; and (c) the

  muscle-relaxer carisoprodol (brand name Soma)” (Paragraph 494);

          (d) “zolpidem trinity,” defined by You as “(a) an opioid, (b) a benzodiazepine, and (c)

  the sedative zolpidem (brand name Ambien)” (Paragraph 497);

          (e) “stimulant trinity,” defined by You as “(a) an opioid, (b) a benzodiazepine, and (c) a

  stimulant” (Paragraph 500);

          (f) “trinity plus,” defined by You as “(a) two or more different immediate- release opioids

  (including different strengths of the same opioid); (b) a benzodiazepine; and (c) either

  carisoprodol or zolpidem” (Paragraph 504);

          (g) “extraordinarily high dosages of opioids” or “high-MME prescriptions” (Paragraphs

  510, 513);

          (h) “an individual’s request to fill a controlled-substance prescription early” (Paragraph

  514);

          (i) “early refills” (Paragraph 517);

          (j) “prescriptions [] paid for in cash” (Paragraph 521);

          (k) “old prescriptions” (Paragraph 528);

          (l) patient “shared part of a surname with” Prescriber (Paragraphs 530, 555);

          (m) “high dosage,” “large dosage,” or “high dose” (Paragraphs 530, 533, 534);

          (n) “long history of such prescriptions” (Paragraph 534);

          (o) “out-of-state prescriptions” (Paragraphs 521, 539).

          RESPONSE: The United States incorporates by reference the objections to the




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  definitions and instructions as if fully set forth herein. The United States further objects that this

  request seeks information that will be addressed by an expert or experts later in litigation. The

  United States will provide responsive non-privileged documents when they are available. The

  United States further objects that this Request seeks documents protected by the attorney work-

  product doctrine, including documents relate to the work of consulting experts. The United

  States will provide a log of documents withheld based on privilege pursuant to Section IV of the

  ESI.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of




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  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures and which includes responsive documents. The United States specifically refers to

  WMT_DCO_00000031, WMT_DCO_00000061, WMT_EDTX_00130993, MDL Trial Exh. P-

  26892_00001, WMT_EDTX_00064910 , WMT_EDTX_00047861, WMT_EDTX_00135031,

  WMT_DOJ_000296584, WMT_DOJ_000296648, WMT_EDTX_00252868,

  WMT_EDTX_00248844, WMT_EDTX_00138148, WMT_DOJ_000398521 ,

  WMT_DOJ_000002623, WMT_EDTX_00130993, WMT_EDTX_00241899,

  WMT_DOJ_000307758, WMT_EDTX_00128908, WMT_EDTX_00135539,

  WMT_EDTX_00070511, WMT_EDTX_00242161, WMT_EDTX_00123434,

  WMT_EDTX_00242265, WMT_EDTX_00137184, WMT_EDTX_00064910,

  WMT_EDTX_00241899, WMT_EDTX_00046471, and WMT_EDTX_00040322,

  WMT_DOJ_000309819, which support the referenced allegations. Pursuant to the ESI Order,

  see ¶ 53, the United States will not reproduce these documents, which were previously produced

  by Defendants to the United States.

         REQUEST 59: All Documents relied upon by You to support Your allegations

  regarding               in Paragraphs 483 and 505 of the Complaint, including Documents

  relating to the surrender of the           medical license.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”




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         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories. The United States further refers to Defendants’ dispensing data, which was

  relied upon to support the referenced allegations in Paragraphs 483 and 505 at the time the

  Second Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53,

  the United States will not reproduce this data, which were previously produced by Defendants to

  the United States.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Joint Notice of Dismissal without Prejudice,




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                                         , Case No.              , 07/25/2017; and (2) Amended

  Verified Complaint,                                                                               ,

  Case No.              , 05/30/2017.

         REQUEST 60: All Documents relating to or relied upon by You to support Your

  allegations in Paragraph 499 of the Complaint that a patient with the initials T.H. “died from an

  overdose on July 25, 2014”; that “[t]he cause of death on the toxicology report was listed as

  probable morphine toxicity”; and that “[a] federal grand jury later indicted

  for causing the dispensing of controlled substances to T.H. without a legitimate medical purpose

  and not in the usual course of professional practice.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced




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  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories. Additionally, the United States will produce the following responsive non-

  privileged documents: (1) Second Superseding Indictment,                                  (E.D.

  Tex.), Case No.              , Docket Entry 61, 04/18/2018; (2) Report of Investigation by

  Medical Examiner, Office of the Chief Medical Examiner.

         REQUEST 61: All Documents relied upon by You to support Your allegations

  regarding             referenced in Paragraphs 501, 502, and 615 of the Complaint.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.” The United States further objects

  that Paragraph 615 of the Complaint does not relate to               and is an allegation in support

  of the Fourth Claim, which was were dismissed on March 11, 2024. See D.I. 117.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could




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  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories. The United States further refers to Defendants’ dispensing data, which was

  relied upon to support the referenced allegations in Paragraphs 501 and 505 at the time the

  Second Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53,

  the United States will not reproduce the dispensing data, which was previously produced by

  Defendants to the United States.

         REQUEST 62: All Documents relied upon by You to support Your allegations

  regarding                   referenced in Paragraph 507 of the Complaint.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First




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  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to Defendants’ dispensing data and

  WMT_DOJ_000213050, which were relied upon to support the referenced allegations in

  Paragraph 507 at the time the Second Amended Complaint was filed on February 1, 2024.




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  Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these documents, which

  were previously produced by Defendants to the United States.

          REQUEST 63: All Documents relating to or relied upon by You to support Your

  allegations in Paragraphs 531-537 of the Complaint regarding a patient with the initials M.I.,

  including:

          (a) Your allegations in Paragraph 535 of the Complaint that (i) “M.I. lived in Sarasota,

  Florida, nearly an hour from                    Tampa office and 30 minutes from the Punta Gorda

  office”; (ii) “          performed a brief physical examination on M.I.’s first visit but did not

  physically examine her during any other appointments”; (iii) “[s]he paid for

  appointments in cash”; (iv) “[o]ver time,             increased the amount of opioids prescribed to

  M.I.”; (v) “[i]n 2015, M.I. was admitted to the emergency room, and the emergency room doctor

  told her that            was ‘going to kill her with everything he was prescribing her’”; and (vi)

  “M.I. admitted that she was addicted to opioids when she was                 patient.”

          (b)     Your allegations in Paragraph 536 of the Complaint that (i) “M.I. had first tried

  filling her prescriptions from                 at a competing retail pharmacy, but she was told the

  pharmacy did not have the quantity or dosage in stock”; and (ii) “M.I. tried another pharmacy,

  but she could not afford the prescriptions there since she was paying in cash” and “then began

  filling at Walmart.”

          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States specifically objects that

  this Request seeks documents protected by the attorney work-product doctrine. The United

  States will provide a log of documents withheld based on privilege pursuant to Section IV of the

  ESI. The United States further objects to this Request as duplicative of Request 7 of Defendants’




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  First Set of Requests for Production and First Set of Interrogatories, which sought “[a]ll

  Documents referenced in, cited in, referred to, or relied upon by [the United States] in drafting

  the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to Defendants’ dispensing data and

  WMT_EDTX_00130993, which were relied upon to support the referenced allegations in

  Paragraphs 531-37 at the time the Second Amended Complaint was filed on February 1, 2024.




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  Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these documents, which

  were previously produced by Defendants to the United States.

           REQUEST 64: All Documents relating to or relied upon by You to support Your

  allegations in Paragraph 551 of the Complaint regarding a patient with the initials R.F., including

  Your allegations that “R.F., a customer, stated that despite numerous red flags, including that he

  drove considerable distances across North Carolina to get heavy doses of opioids and almost

  always bought his opioids from Walmart with cash, the Walmart pharmacist on duty never asked

  R.F. any questions about his prescriptions and never contacted his doctor to verify them.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and




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  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures, and will produce responsive non-privileged documents, including a report of the

  interview of Reginald Fulmore. The United States also refers to Defendants’ dispensing data,

  which were relied upon to support the referenced allegations in Paragraphs 551 at the time the

  Second Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶ 53,

  the United States will not reproduce these documents, which were previously produced by

  Defendants to the United States.

         REQUEST 65: All Documents relied upon by You to support Your allegations in

  Paragraphs 552 and 553 of the Complaint that Walmart filled controlled-substance prescriptions

  “without checking and resolving red flags.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint.”

         The United States further objects that this Request seeks documents protected by the

  attorney work-product doctrine, including documents related to the work of consulting experts.




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  The United States will provide a log of documents withheld based on privilege pursuant to

  Section IV of the ESI.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those

  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  response to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures. The United States further refers to Defendants’ dispensing data and

  WMT_DOJ_000264317, WMT_DOJ_000008751, WMT_EDTX_00008417,

  WMT_DOJ_000391631, WMT_EDTX_00010607, WMT_DCO_00008481, and

  WMT_DCO_00008492, which were relied upon to support the referenced allegations at the time




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  the Second Amended Complaint was filed on February 1, 2024. Pursuant to the ESI Order, see ¶

  53, the United States will not reproduce these documents, which were previously produced by

  Defendants to the United States.

         Additionally, the United States will produce the following responsive non-privileged

  documents: (1) Report regarding acquisition of oxycodone prescription for deceased patient

                and interview of Walmart Pharmacist; and (2) Report of interview of

                   .

         REQUEST 66: All Documents relied upon by You to support Your allegations in

  Paragraph 555 of the Complaint that “in many instances Walmart pharmacists filled controlled-

  substance prescriptions showing a combination of obvious red flags and there is reason to believe

  the pharmacist did not resolve the red flags before filling the prescription.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects to this

  Request as duplicative of Request 7 of Defendants’ First Set of Requests for Production and First

  Set of Interrogatories, which sought “[a]ll Documents referenced in, cited in, referred to, or

  relied upon by [the United States] in drafting the Complaint,” and Request 65 above.

         The United States further objects to the vague phrase “relied upon by You to support

  Your allegations,” which, depending on how it is interpreted, potentially renders this Request

  unduly burdensome and disproportionate to the needs of the case. For example, the phrase could

  be read to include any document on which the United States relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, or to

  require the United States to produce any document on which it might rely in the future to support

  the referenced allegations and to identify the documents as supportive specifically of those




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  allegations on an ongoing basis as discovery continues. The United States construes this Request

  as seeking documents on which the United States actually relied to support the referenced

  allegations at the time the Second Amended Complaint was filed on February 1, 2024, and

  objects to this Request as unduly burdensome to the extent it seeks to require the United States to

  produce any other documents it identifies during the course of discovery on which it might rely

  to support the referenced allegations and to do so by identifying the documents specifically as

  supportive of those allegations.

         Subject to and without waiving the foregoing objections, the United States refers to its

  responses to Request 7 of Defendants’ First Set of Requests for Production and First Set of

  Interrogatories, which references documents listed in Exhibit A of its May 15, 2024 Initial

  Disclosures, and Request 65 above.

         REQUEST 67: All Documents relating to Your past or present guidance or policies,

  whether formal or informal, related to the dispensing of Controlled Substances; Your

  development, issuance, application, revision, or repeal thereof; and Your receipt of and response

  to requests for guidance or recommendations on such issues, including:

         (a) All versions of the Pharmacist’s Manual published by DEA since 2010, including

  DEA’s development, issuance, application, revision, or repeal of all such versions. The start date

  for this Request, as it relates to the Pharmacist’s Manual published by DEA, is January 1, 2009;

         (b) Recommendations, publications, Statements, or presentations that You have provided

  related to the dispensing of Controlled Substances, including DEA presentations to State

  Agencies;

         (c) Guidance or other Communications provided by You to any pharmacy or pharmacist

  regarding the dispensing of Controlled Substances, “red flags” indicative of potential diversion,




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  or “corresponding responsibility” under 21 C.F.R. § 1306.04; and

         (d) Guidance or other Communications provided by You to any pharmacy or pharmacist

  regarding the dispensing of Controlled Substances, “red flags” or other characteristics of a

  prescription indicative of potential diversion, or “acting in the usual course of his professional

  practice” under 21 C.F.R. § 1306.06.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You” and “Your”) and, with respect to Requests 67(b), 67(c), and 67(d), Instruction 1 (absence

  of time limitation). The United States further objects that Requests 67(c) and 67(d) are overly

  broad, unduly burdensome, and disproportionate to the needs of the case in seeking documents

  related to “any” pharmacy and pharmacist, without limitation, and related to the “dispensing of

  Controlled Substances,” which is an overly broad category that includes issues irrelevant to the

  parties’ claims and pled defenses, such as dispensing based on an electronic prescription under

  21 C.F.R. § 1306.08 or partially filling a prescription under 21 C.F.R.§ 1306.13. The United

  States further objects that this Request seeks documents protected by the deliberative process

  privilege, attorney-client privilege or attorney work-product doctrine, or law enforcement

  privilege.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents from the Dispensing Violations Period, to the extent they

  relate to a pharmacist’s “corresponding responsibility” under 21 C.F.R. § 1306.04, within its

  possession, custody, or control following a reasonable inquiry of reasonably accessible sources

  that the United States has reason to believe contain relevant and unique documents.

         REQUEST 68: All Documents relating to processes, policies, or trainings applicable to




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  Your regulation, oversight, investigation, or discipline of any pharmacy or pharmacist relating to

  their dispensing of Controlled Substances, including:

         (a) Your development, issuance, application, enforcement, revision, and repeal of such

  processes, policies, or trainings;

         (b) Your review of and action upon DEA registration or renewal applications submitted

  by pharmacies;

         (c) Your inspection, audit, or investigation of pharmacies; and

         (d) Your evaluation and determination of whether a pharmacy or pharmacist filled a

  prescription or prescriptions for a Controlled Substance in compliance with the CSA.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You” and “Your”) and Instruction 1 (absence of time limitation). The United States further

  objects that the Request is overly broad, unduly burdensome, and disproportionate to the needs

  of the case in seeking documents related to the “dispensing of Controlled Substances,” which is

  an overly broad category that includes issues irrelevant to the parties’ claims and pled defenses,

  such as dispensing based on an electronic prescription under 21 C.F.R. § 1306.08 or partially

  filling a prescription under 21 C.F.R.§ 1306.13. The United States further objects that this

  Request seeks documents protected by the deliberative process privilege, attorney-client

  privilege or attorney work-product doctrine, or law enforcement privilege.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents from the Dispensing Violations Period, to the extent they

  relate to a pharmacist’s “corresponding responsibility” under 21 C.F.R. § 1306.04, within its

  possession, custody, or control following a reasonable inquiry of reasonably accessible sources




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  that the United States has reason to believe contain relevant and unique documents.

         REQUEST 69: All Documents relating to any Allegedly Invalid Prescription filled by a

  Walmart pharmacist.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects that this

  Request duplicates Requests 5 and 7 in Defendants’ First Set of Requests for Production and

  Request 1 above.

         Given Definition 1 (“Allegedly Invalid Prescription”), this Request seeks all documents

  related to the First and Second Claims of the Complaint and, thus, the entire case file of the

  United States related to This Litigation. The United States thus objects that this Request fails to

  satisfy Rule 34’s requirement to identify a subject matter with reasonable particularity.

         The United States further objects to the extent that this Request seeks information that

  will be addressed by an expert or experts later in litigation. The United States will provide

  responsive non-privileged documents when they are available. The United States further objects

  that this Request seeks documents protected by the attorney work-product doctrine, including

  documents related to the work of consulting experts. The United States will provide a log of

  documents withheld based on privilege pursuant to Section IV of the ESI.

         Subject to and without waiving the foregoing objections, the United States responds by

  incorporating by reference its responses to Requests 5 and 7 in Defendants’ First Set of Requests

  for Production and Request 1 above.

         REQUEST 70: All Documents relating to any patient for whom a Walmart Pharmacist

  filled any Allegedly Invalid Prescription.

         RESPONSE: The United States incorporates by reference the objections to the




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  definitions and instructions as if fully set forth herein. The United States further objects that this

  Request is duplicative because it is encompassed within the scope of Requests 5 and 7 in

  Defendants’ First Set of Requests for Production and Request 1 above. The United States further

  objects that this Request seeks documents protected by the attorney work-product doctrine. The

  United States will provide a log of documents withheld based on privilege pursuant to Section IV

  of the ESI.

         Subject to and without waiving the foregoing objections, the United States responds by

  incorporating by reference its responses to Requests 5 and 7 in Defendants’ First Set of Requests

  for Production and First Set of Interrogatories and Request 1 above.

         REQUEST 71: For each Walmart prescription you contend was filled with knowledge

  that the prescription was written not for a legitimate medical purpose, data sufficient to show all

  relevant information about prescriptions bearing the same characteristics written by You,

  dispensed by You, or for which any Government Payor provided coverage.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 9

  (“Government Payor”) and Instruction 1 (absence of time limitation). The United States

  specifically objects that this Request is overly broad, unduly burdensome, and seeks documents

  or information not relevant to the United States’ claims or Defendants’ pled defenses as applied

  against the United States. The United States further objects to the vague and undefined terms

  “same characteristics” and “all relevant information,” which render the Request vague and not

  reasonably particular. The United States further objects to the Request as it purports to require

  the United States the conduct an analysis of prescriptions to identify “prescriptions bearing the

  same characteristics.”




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         REQUEST 72: All Documents relating to any inspections, audits, visits, subpoenas,

  inspection warrants, orders to show cause, or immediate suspension orders to any Walmart

  pharmacy where You contend any Allegedly Invalid Prescription was filled. This includes

  requests for records or transcripts from any undercover operations targeting such Walmart

  pharmacy.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You”) and Instruction 1 (absence of time limitation). The United States specifically objects

  that this Request is overly broad, unduly burdensome, disproportionate to the needs of the case,

  and, because of its breadth, potentially seeks documents irrelevant to the parties’ claims and pled

  defenses by its use of the terms “all” and “any.” In seeking “any” documents in the broad

  categories of “inspections, audits, visits, subpoenas, inspection warrants, orders to show cause, or

  immediate suspension orders,” without limitation, the Request does not meet Rule 34’s

  reasonable particularity requirement and seeks documents that are irrelevant to the parties’

  claims and pled defenses. In its breadth, the Request seeks documents arising from inspections

  or actions concerning Walmart pharmacies whether or not that investigation or action arose from

  their controlled-substance prescribing. Responsive, but irrelevant, documents would include, for

  example, documents from an inspection by a state occupational agency addressing postage of

  signage regarding local workplace ordinances in a pharmacy, or documents from a DEA audit

  related to compliance with 21 C.F.R. § 1304.11’s inventory requirements. The United States

  further objects to this Request as overly broad and unduly burdensome to the extent it purports to

  require the identification and production of information that is not within the possession,

  custody, or control of the United States and is equally available to Defendants.




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         The United States further objects that this Request seeks documents protected by the

  deliberative process privilege, attorney-client privilege or attorney work-product doctrine, law

  enforcement privilege, or Federal Rule of Criminal Procedure 6(e). The United States further

  objects to this Request to the extent it seeks documents or information not relevant to the United

  States’ claims or Defendants’ pled defenses as applied against the United States. Subject to and

  without waiving the foregoing objections, the United States will produce responsive non-

  privileged documents from the Dispensing Violations Period, to the extent they relate to

  inspections, audits, visits, subpoenas, inspection warrants, orders to show cause, or immediate

  suspension orders concerning Defendants’ compliance with 21 C.F.R. § 1306.04, that are in its

  possession, custody, or control following a reasonable inquiry of reasonably accessible sources

  that the United States has reason to believe contain relevant and unique documents.

         REQUEST 73: All Documents relating to Your review or analysis of Walmart’s

  policies or processes relating to dispensing Controlled Substances.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You” or “Your”) and Instruction 1 (absence of time limitation). The United States specifically

  objects that this Request is overly broad, unduly burdensome, disproportionate to the needs of

  the case, and, because of its breadth, potentially seeks documents irrelevant to the parties’ claims

  and pled defenses because it seeks “all” documents related to the United States’ review of

  Walmart’s policies or processes relating to the overly broad category of “dispensing Controlled

  Substances,” without any limitation to policies and processes that impact the Defendants’

  compliance with 21 C.F.R. § 1306.04. A responsive, but irrelevant, document would include, for




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  example, documents related to a review of the Defendants’ policies governing the handling of

  protected health information when dispensing Controlled Substances.

         The United States further objects that this Request seeks documents protected by the

  deliberative process privilege, attorney-client privilege or attorney work-product doctrine, law

  enforcement privilege, or Federal Rule of Criminal Procedure 6(e). The United States further

  objects to this Request to the extent it seeks documents or information not relevant to the United

  States’ claims or Defendants’ pled defenses as applied against the United States.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents from the Dispensing Violations Period, to the extent they

  relate to DEA’s review or analysis of Walmart’s policies or processes relating to Defendants’

  compliance with 21 C.F.R. § 1306.04, that are in its possession, custody, or control following a

  reasonable inquiry of reasonably accessible sources that the United States has reason to believe

  contain relevant and unique documents.

         REQUEST 74: All Documents relating to any instance in which You considered or

  acted upon a DEA registration or renewal application for any Walmart pharmacy where You

  contend any Allegedly Invalid Prescription was filled.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The United States specifically objects that this Request seeks

  documents or information not relevant to the United States’ claims or Defendants’ pled defenses

  as applied against the United States. The United States further objects that this Request seeks

  documents protected by the deliberative process privilege, attorney-client privilege or attorney

  work-product doctrine, law enforcement privilege, or Federal Rule of Criminal Procedure 6(e).




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         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents from the Dispensing Violations Period in its possession,

  custody, or control following a reasonable inquiry of reasonably accessible sources that the

  United States has reason to believe contain relevant and unique documents.

         REQUEST 75: All Documents relating to any instance in which You investigated,

  prosecuted, or brought a disciplinary or enforcement action against Walmart or a Walmart

  employee for violations of the CSA related to the dispensing of Controlled Substances.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The United States specifically objects that this Request is overly

  broad, unduly burdensome, disproportionate to the needs of the case, and, because of its breadth,

  potentially seeks documents irrelevant to the parties’ claims and pled defenses because it seeks

  “all” documents related to the United States’ investigation, prosecution, or other action against

  Walmart or a Walmart employee for violations of the CSA related to the overly broad category

  of “dispensing of Controlled Substances.” Such violations could include, for example, violations

  of 21 C.F.R. § 1306.08, governing electronic prescriptions, and 21 C.F.R.§ 1306.13, relating to

  partial fills, neither of which are relevant to the parties’ claims and pled defenses.

         The United States further objects that this Request is unduly burdensome to the extent

  that it requires DEA to identify Walmart employees when DEA’s records do not classify the

  targets of disciplinary and enforcement actions by employer.

         The United States further objects that this Request seeks documents protected by the

  deliberative process privilege, attorney-client privilege or attorney work-product doctrine, law

  enforcement privilege, or Federal Rule of Criminal Procedure 6(e). The United States further




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  objects to this Request to the extent it seeks documents or information not relevant to the United

  States’ claims or Defendants’ pled defenses as applied against the United States.

         Subject to and without waiving the foregoing objections, the United States will search for

  and produce responsive non-privileged documents from the Dispensing Violations Period

  relating to any instance in which the United States investigated, prosecuted, or brought a

  disciplinary or enforcement action against Walmart or a Walmart employee for violations of 21

  C.F.R. § 1306.04, that are in its possession, custody, or control following a reasonable inquiry of

  reasonably accessible sources that the United States has reason to believe contain relevant and

  unique documents.

         REQUEST 76: All Documents relating to a Refusal to Fill or Blanket Refusal to Fill by

  Walmart’s pharmacists or a Central Block implemented by Walmart.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. Subject to and without waiving these

  objections, the United States responds that Defendants have produced responsive documents

  pursuant to DEA Subpoenas MW-19-322366, MW-18-817060, MW-18-817014, MW-18-

  816990, and MW-18-768156. Pursuant to the ESI Order, see ¶ 53, the United States will not

  reproduce these documents to the extent they are documents previously produced by Defendants

  to the United States.

         REQUEST 77: All Documents relating to determinations made by non-Walmart

  pharmacists not to fill an individual Controlled Substance prescription written by a certain

  Prescriber or to no longer fill any Controlled Substance prescriptions written by a certain

  Prescriber.




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         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The United States specifically objects that this Request is overly

  broad, unduly burdensome, disproportionate to the needs of the case, and because of its breadth,

  seeks documents irrelevant to the parties’ claims and pled defenses. In particular, the Request

  sets no limitations regarding the category of pharmacists (and thus includes non-Walmart

  pharmacists), the type of controlled substance, or the identity of the prescriber. Given these

  broad categories, the Request also fails to meet Rule 34’s reasonable particularity requirement.

  Subject to and without waiving these objections, the United States refers to

  WMT_EDTX_00202845, WMT_EDTX_00061809, and WMT_DOJ_000310523 as responsive

  to this Request. Pursuant to the ESI Order, see ¶ 53, the United States will not reproduce these

  documents.

         REQUEST 78: All Documents relating to the determination made by a non-Walmart

  pharmacy, company, or entity to prohibit the filling of any Controlled Substance prescription

  written by a certain Prescriber by that pharmacy, which is then imposed on all pharmacists

  within that pharmacy, company, or entity.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The United States specifically objects that this Request is overly

  broad, unduly burdensome, disproportionate to the needs of the case, and because of its breadth,

  seeks documents irrelevant to the parties’ claims and pled defenses. In particular, the Request

  sets no limitations regarding the category of “pharmacy, company, or other entity” (and thus

  includes non-Walmart pharmacies), the type of controlled substance, or the identity of the




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  prescriber. Given these broad categories, the Request also fails to meet Rule 34’s reasonable

  particularity requirement. Subject to and without waiving these objections, the United States

  refers to WMT_EDTX_00137795, WMT_EDTX_00155749, WMT_EDTX_00139174,

  WMT_DOJ_000214620, WMT_DOJ_000206689, WMT_DOJ_000282735,

  WMT_DOJ_000545535, and WMT_MDL_001764245 as responsive to this Request. Pursuant

  to the ESI Order, see ¶ 53, the United States will not reproduce these documents, which were

  previously produced by Defendants to the United States or are documents to which Defendants

  already have access from the MDL litigation.

          REQUEST 79: All Documents relating to any instance in which You provided

  guidance, recommendations, direction, instruction, or advice to a pharmacy or pharmacist

  relating to:

          (a) The determination by a pharmacist not to fill an individual Controlled Substance

  prescription written by a certain Prescriber;

          (b) the determination by a pharmacist to no longer fill any Controlled Substance

  prescription written by a certain Prescriber; and

          (c) the determination made by a pharmacy, company, or entity to prohibit the filling of

  any Controlled Substance prescription written by a certain Prescriber by that pharmacy, which is

  then imposed on all pharmacists within that pharmacy, company, or entity.

          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You”) and Instruction 1 (absence of time limitation). The United States specifically objects

  that this Request is overly broad, unduly burdensome, disproportionate to the needs of the case,

  and because of its breadth, seeks documents irrelevant to the parties’ claims and pled defenses.




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  In particular, the Request sets no limitations regarding the category of pharmacy or pharmacists

  (and thus includes non-Walmart pharmacies and pharmacists), the type of controlled substance,

  or the identity of the prescriber. Given these broad categories, the Request also fails to meet

  Reule 34’s reasonable particularity requirement. The United States further objects that this

  Request seeks documents protected by the deliberative process privilege, attorney-client

  privilege or attorney work-product doctrine, or law enforcement privilege.

            Subject to and without waiving the foregoing objections, the United States will search for

  and produce responsive non-privileged documents during the Dispensing Violations Period

  relating to any instance in which DEA provided guidance, recommendations, direction,

  instruction, or advice to a Walmart pharmacy or pharmacist relating to the topics enumerated in

  the request, that are in its possession, custody, or control following a reasonable inquiry of

  reasonably accessible sources that the United States has reason to believe contain relevant and

  unique documents.

            REQUEST 80: All Documents relating to “red flags” as that term is used in the

  Complaint, including:

            (a) Any presentation by You that discusses or identifies “red flags”;

            (b) Reports, presentations, and declarations of expert witnesses retained by You in any

  Opioid Litigation that discuss or identify “red flags”;

            (c) Deposition transcripts and trial testimony of expert and fact witnesses that discuss or

  identify “red flags” in matters where You are a party; and

            (d) Correspondence with third parties, including pharmacies, that discuss or identify “red

  flags.”

            RESPONSE: The United States incorporates by reference the objections to the




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  definitions and instructions as if fully set forth herein, including the objections to Definitions 13

  (“Opioid Litigation”) and 24 (“You”) and to Instruction 1 (absence of time limitation). These

  definitions and the absence of a time limitation render this Request overly broad, unduly

  burdensome, disproportionate to the needs of the case, and, to the extent that the Request seeks

  documents unrelated to the allegation that Defendants unlawfully dispensed controlled

  substances as alleged in the Complaint during the Dispensing Violations Period, irrelevant to the

  parties’ claims and pled defenses.

         Based on Definitions 13 and 24 and Instruction 1, the United States would be required to

  identify every criminal prosecution and civil case against every prescriber, pharmacist, and

  pharmacy involving prescription opioids, without any time limitation, in which the presence of

  red flags was part of the basis for the prosecution, and then review the case file for each to

  determine if the presence of red flags was part of the basis for the United States’ suit. The

  documents that would be discovered from such an extensive inquiry are not within the scope of

  the boundaries of Rule 26(b).

         The United States further objects that this Request seeks documents protected by the

  deliberative process privilege, attorney-client privilege or attorney work-product doctrine, and

  law enforcement privilege. Further, this Request seeks information that will be addressed by an

  expert or experts later in litigation. The United States will produce responsive non-privileged

  information when it is available.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged DEA presentations during the Dispensing Violations Period

  discussing or identifying “red flags” following a reasonable inquiry of reasonably accessible

  sources that the United States has reason to believe contain relevant and unique documents.




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         REQUEST 81: All Documents relating to Walmart’s November 2020 petition to the

  DEA to promulgate rules clarifying the obligations of Prescribers, pharmacists, and pharmacies

  under the CSA.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects that this

  Request seeks documents protected by the deliberative process privilege, attorney-client

  privilege or attorney work-product doctrine, or law enforcement privilege. The United States

  further objects to this Request to the extent it seeks documents or information not relevant to the

  United States’ claims or Defendants’ pled defenses as applied against the United States. The

  United States further objects that this Request seeks documents disproportionate to the needs of

  This Litigation.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in DEA’s possession, custody, or control following a

  reasonable inquiry of reasonably accessible sources that the United States has reason to believe

  contain relevant and unique documents.

         REQUEST 82: All Documents relating to Controlled Substances and the following

  third- party healthcare associations:

         (a) National Association of Boards of Pharmacy (NABP) and/or Carmen Catizone;

         (b) American Medical Association (AMA);

         (c) National Community Pharmacists Association;

         (d) National Association of State Controlled Substance Authorities;

         (e) National Association of Chain Drug Stores (NACDS) (e.g., the letter sent by Thomas

  W. Prevoznik, Deputy Assistant Administrator, Diversion Control Division, to Kevin N.




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  Nicholson, Vice President, Public Policy and Regulatory Affairs, NACDS, regarding DEA’s

  position on the medical basis of specific prescription drug therapies);

         (f) Independent Retail Pharmacy Association;

         (g) American Pharmacists Association (APhA); and

         (h) state or local associations of pharmacists, doctors, or other medical professionals.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The absence of a time limitation renders this Request overly broad,

  unduly burdensome, and disproportionate to the needs of the case. The United States further

  objects that, in seeking “All Documents relating to Controlled Substances,” the Request is overly

  broad, unduly burdensome, and disproportionate to the needs of the case in that the Request

  seeks documents without any limitation as to subject matter beyond the broad category of

  “Controlled Substances” and thus seeks documents irrelevant to the parties’ claims and pled

  defenses.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents from DEA during the Dispensing Violations Period related

  to the entities named in the Request and a pharmacist’s corresponding responsibility under 21

  C.F.R. § 1306.04 following a reasonable inquiry of reasonably accessible sources that the United

  States has reason to believe contain relevant and unique documents.

         REQUEST 83: All Documents relating to Your past and present guidance or policies,

  whether formal or informal, relating to the prescribing of Controlled Substances; Your

  development, issuance, application, revision, or repeal thereof; and Your receipt of and response

  to requests for guidance or recommendations relating to such issues, including:




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           (a) CDC’s 2016 Guideline for Prescribing Opioids for Chronic Pain;

           (b) CDC 2016 Pharmacists: On the Front Lines. Addressing Prescription Opioid Abuse

  and Overdose;

           (c) CDC Advises Against Misapplication of the Guideline for Prescribing

  Opioids for Chronic Pain (April 24, 2019);

           (d) CDC’s 2022 Clinical Practice Guideline for Prescribing Opioids for Pain;

           (e) CDC (National Center for Injury Prevention and Control) Presentation titled “Draft

  Updated CDC Guideline for Prescribing Opioids: Background, Overview, and Progress” (July

  16, 2021);

           (f) CDC (National Center for Injury Prevention and Control) Presentation titled

  “Overview of the Process for Updating the CDC Guideline for Prescribing Opioids” (July 16,

  2021);

           (g) CDC (National Center for Injury Prevention and Control) Presentation titled

  “Observations of the Opioid Workgroup of the Board of Scientific Counselors of the National

  Center for Injury Prevention and Control on the Updated CDC Guideline for Prescribing

  Opioids” (July 16, 2021);

           (h) The May 6, 2019, Draft Final Report of the Pain Management Best Practices Inter-

  Agency Task Force;

           (i) The May 2022 VA/DoD Clinical Practice Guideline for the Use of Opioids in the

  Management of Chronic Pain;

           (j) CMS’ August 2023 “A Prescriber’s Guide to Medicare Prescription Drug (Part D)

  Opioid Policies”;




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         (k) CMS’ April 2, 2018, NOTE TO: Medicare Advantage Organizations, Prescription

  Drug Plan Sponsors, and Other Interested Parties, Announcement of Calendar Year (CY) 2019

  Medicare Advantage Capitation Rates and Medicare Advantage and Part D Payment Policies and

  Final Call Letter; and

         (l) Recommendations, publications, Statements, or presentations that You have provided

  related to the prescribing of Controlled Substances, including DEA presentations to State

  Agencies.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 24

  (“You” or “Your”). The United States specifically objects that this Request is overly broad,

  unduly burdensome, disproportionate to the needs of the case, and, because of its breadth,

  potentially seeks documents irrelevant to the parties’ claims and pled defenses because it seeks

  “all” documents related to the United States’ present guidance or policies, whether formal or

  informal, relating to the overly broad category of “prescribing of Controlled Substances.”

         The United States further objects that this Request seeks documents protected by the

  deliberative process privilege, attorney-client privilege or attorney work-product doctrine, law

  enforcement privilege, or Federal Rule of Criminal Procedure 6(e). The United States further

  objects to this Request to the extent it seeks documents or information not relevant to the United

  States’ claims or Defendants’ pled defenses as applied against the United States. The United

  States further objects that this Request seeks documents disproportionate to the needs of This

  Litigation.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in its possession, custody, or control following a




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  reasonable inquiry of reasonably accessible sources that the United States has reason to believe

  contain relevant and unique documents.

            REQUEST 84: All Documents related to the implementation or contemplated

  implementation of opioid-specific prescribing policies for Medicare Part D sponsors, including,

  for example, safety alerts, safety edits, hard safety edits, Drug Management Programs, opioid

  overutilization policies, opioid care coordination edits, or any similar opioid-specific policy or

  practice. This includes, by way of example only, the implementation of safety edits to alert

  pharmacists about duplicative opioid therapies or concurrent use of opioids and benzodiazepines,

  or the implantation of hard safety edits or opioid care coordination edits set at specific MME

  levels.

            RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The United States further objects that this Request seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege.

            Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in its possession, custody, or control following a

  reasonable inquiry of reasonably accessible sources that the United States has reason to believe

  contain relevant and unique documents.

            REQUEST 85: All Documents relating to past or present processes, policies, or

  trainings applicable to Your registration, regulation, oversight, investigation, or discipline of

  Prescribers relating to their prescribing of Controlled Substances, and Your development,

  issuance, application, enforcement, revision, and repeal of such processes, policies, or trainings.




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         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The absence of a time limitation renders this Request overly broad,

  unduly burdensome, and disproportionate to the needs of the case. The United States further

  objects that, in seeking “All Documents” relating to the broad category of “processes, policies, or

  training” in the equally broad category of “registration, regulation, oversight, investigation, or

  discipline of Prescribers relating to their prescribing of Controlled Substances,” the Request is

  overly broad, unduly burdensome, and disproportionate to the needs of the case in that the

  Request appears to seek documents comprising a significant percentage of the DEA’s regulatory

  activities without any limitation to the issues relevant to the parties’ claims and pled defenses.

  Because of the breadth of the category “prescribing of Controlled Substances,” the Request fails

  to seek documents with reasonable particularity.

         REQUEST 86: All Documents, from January 1, 2006, to the present, relating to any

  Identified Prescriber, including:

         (a) Documents relating to any complaint, audit, investigation, enforcement, or

  disciplinary action concerning any such Prescriber, including without limitation all related

  Communications, Investigative Reports, interviews, notes, data, and data analyses;

         (b) Documents relating to Walmart’s cooperation in any complaint, audit, investigation,

  or enforcement or disciplinary action concerning any such Prescriber;

         (c) Documents relating to any instance in which You considered or acted upon a DEA

  registration or renewal application for any such Prescriber, including any investigatory and due

  diligence efforts conducted as part of such consideration;

         (d) Documents relating to whether You included or considered including any such




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  Identified Prescriber in HHS OIG’s “Exclusions Program” for individuals who are excluded from

  federally-funded health care programs;

         (e) Communications involving DEA personnel regarding any such Prescriber;

         (f) Communications between You and any such Prescriber;

         (g) Presentence Report(s) and Sentencing Memoranda regarding any such Prescriber;

         (h) Communications with local, state, or federal law enforcement agencies regarding any

  such Prescriber;

         (i) Communications with Walmart regarding any such Prescriber;

         (j) Communications with third parties, including non-Walmart pharmacies and

  pharmacists regarding any such Prescriber;

         (k) Documents relating to Your consideration of whether to issue an Order to Show Cause

  or Immediate Suspension Order with respect to any such Prescriber; and

         (l) Documents relating to any criminal proceedings You brought against any such

  Prescriber.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You”) and Instruction 1 (absence of time limitation). The absence of a time limitation renders

  this Request overly broad, unduly burdensome, and disproportionate to the needs of the case.

  For example, the Request seeks all documents related to the registration and renewal applications

  of Prescribers, regardless of how long those applications preceded the Prescribers’ criminal

  activity and proceedings. The United States further objects that this Request in part duplicates

  Request 5 in Defendants’ First Set of Requests for Production. By this reference, the United

  States incorporates its response to Request 5.




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            The United States further objects that the Request seeks documents not in the possession,

  custody, or control of the litigation team responsible for this case in that Presentence Reports are

  filed under seal and may not be released absent court order by the Department of Justice

  personnel responsible for the criminal proceeding. The United States further objects that the

  Request seeks documents protected by the deliberative process privilege, attorney-client

  privilege or attorney work-product doctrine, and law enforcement privilege because it seeks, for

  example, documents reflecting the deliberations about HHS-OIG’s exclusion program and

  DEA’s administrative decisions regarding orders to show cause and immediate suspension

  orders.

            Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents relating to any prescriber identified in Section II.B.1.c of

  the Complaint or any prescriber whose prescriptions serve as the basis for the United States’

  Second Claim, in its possession, custody, or control following a reasonable inquiry of reasonably

  accessible sources that the United States has reason to believe contain relevant and unique

  documents.

            REQUEST 87: All Documents relating to Your decision to make or not make

  information about the DEA registration status for Prescribers publicly available, including, for

  instance, through the “Cases Against Doctors” page that was previously accessible on DEA’s

  website or through the “Cases Against Doctors” publication previously issued by DEA’s

  Diversion Control Division.

            RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States specifically objects that

  this Request seeks documents or information not relevant to the United States’ claims or




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  Defendants’ pled defenses as applied against the United States. The United States further objects

  that this Request seeks documents protected by the deliberative process privilege, attorney-client

  privilege or attorney work-product doctrine, or law enforcement privilege.

         Subject to and without waiving the foregoing objections, the United States will search for

  and produce responsive non-privileged documents in its possession, custody, or control

  following a reasonable inquiry of reasonably accessible sources that the United States has reason

  to believe contain relevant and unique documents.

         REQUEST 88: All Documents relating to actions You have taken after receiving notice

  that a DEA registrant has had Controlled Substance prescriptions blocked or otherwise refused

  by Walmart or any other pharmacy.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States specifically objects that

  this Request is overly broad, unduly burdensome, disproportionate to the needs of the case, and,

  because of its breadth, potentially seeks documents irrelevant to the parties’ claims and pled

  defenses because it seeks “all” documents related to the United States’ actions after receiving

  notice of a refusal that a DEA registrant has had Controlled Substance prescriptions blocked or

  otherwise refused by any pharmacy, not limited to Walmart.

         The United States further objects that this Request seeks documents protected by the

  deliberative process privilege, attorney-client privilege or attorney work-product doctrine, law

  enforcement privilege, or Federal Rule of Criminal Procedure 6(e). The United States further

  objects to this Request to the extent it seeks documents or information not relevant to the United

  States’ claims or Defendants’ pled defenses as applied against the United States.




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          Subject to and without waiving the foregoing objections, the United States will search for

  and produce responsive non-privileged documents during the Dispensing Violations Period

  relating to actions the DEA has taken after receiving notice that a DEA registrant has had

  Controlled Substance prescriptions blocked or otherwise refused by Walmart, that are in its

  possession, custody, or control following a reasonable inquiry of reasonably accessible sources

  that the United States has reason to believe contain relevant and unique documents.

          REQUEST 89: All Documents relating to the Supreme Court’s June 2022 decision in

  Ruan v. United States and Kahn v. United States, 142 S. Ct. 2370 (June 27, 2022).

          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States specifically objects that

  this Request is overly broad, unduly burdensome, and disproportionate to the needs of the case.

  The United States further objects that the Request seeks documents protected by the deliberative

  process privilege, attorney-client privilege or attorney work-product doctrine, or law

  enforcement privilege. The United States will not search for or produce documents responsive to

  this request.

          REQUEST 90: All Documents relating to Government Payors’ past or present

  processes, policies, or trainings to identify “invalid prescriptions” for Controlled Substances as

  that term is used in the Complaint (see, e.g., Paragraphs 11, 13, 15), including Documents

  relating to Your development, issuance, application, enforcement, revision, or repeal of such

  processes, policies, or trainings.

          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 9

  (“Government Payor”) and Instruction 1 (absence of time limitation). The United States




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  specifically objects that this Request seeks documents or information not relevant to the United

  States’ claims or Defendants’ pled defenses as applied against the United States. The policies

  adopted by Government Payors has no bearing on Defendants’ liability as alleged in the

  Complaint. The United States further objects that this Request seeks documents protected by the

  deliberative process privilege, attorney-client privilege or attorney work-product doctrine, or law

  enforcement privilege. The United States will not search for or produce documents responsive to

  this request.

          REQUEST 91: All Documents relating to Government Payors’ past or present

  processes, policies, or trainings to identify Prescribers that were prescribing controlled

  substances “outside the usual course of professional practice,” as that term is used in the

  Complaint (see, e.g., Paragraphs 11, 16), including:

          (a) Your past or present processes, policies, or trainings related to the identification of

  such Prescribers; and

          (b) Your development, issuance, application, enforcement, revision, or repeal of such

  processes, policies, or trainings.

          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 9

  (“Government Payors”). The United States specifically objects that this Request seeks

  documents or information not relevant to the United States’ claims or Defendants’ pled defenses

  as applied against the United States. The policies adopted by Government Payors has no bearing

  on Defendants’ liability as alleged in the Complaint. The United States further objects that this

  Request seeks documents protected by the deliberative process privilege, attorney-client




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  privilege or attorney work-product doctrine, or law enforcement privilege. The United States

  will not search for or produce documents responsive to this request.

         REQUEST 92: All Documents relating to any Government Payor’s consideration of

  limitations on or changes to coverage for Controlled Substances, such as limitations based on

  dosage, duration, concurrent use with other Controlled Substances, or receipt of Controlled

  Substances from multiple Prescribers or pharmacies.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 9

  (“Government Payor”). The United States specifically objects that this Request seeks documents

  or information not relevant to the United States’ claims or Defendants’ pled defenses as applied

  against the United States. The policies adopted by Government Payors has no bearing on

  Defendants’ liability under the Controlled Substances Act. The United States further objects that

  this Request seeks documents protected by the deliberative process privilege, attorney-client

  privilege or attorney work-product doctrine, or law enforcement privilege. The United States

  will not search for or produce documents responsive to this request.

         REQUEST 93: All Documents related to the implementation or contemplated

  implementation of prior authorization requirements on Medicare Part D participants for

  Controlled Substance prescriptions.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The United States further objects that this Request seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. The United States further objects that the Request is




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  overly broad, unduly burdensome, and disproportionate to the needs of the case in seeking

  documents in the broad category of “Controlled Substance prescriptions,” without any limitation

  to those relevant to the parties’ claims and pled defenses.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in its possession, custody, or control following a

  reasonable inquiry of reasonably accessible sources that the United States has reason to believe

  contain relevant and unique documents.

         REQUEST 94: All Documents relating to any Government Payor’s consideration of the

  inclusion or exclusion of any Controlled Substances from federal prescription drug plan

  formularies.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 9

  (“Government Payor”). The United States specifically objects that this Request seeks documents

  or information not relevant to the United States’ claims or Defendants’ pled defenses as applied

  against the United States. The United States further objects that this Request seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. The United States will not search for or produce

  documents responsive to this request.

         REQUEST 95: Claims data, and any compilations thereof, sufficient to show all

  prescriptions, both for Controlled Substances and non-Controlled Substances, written by an

  Identified Prescriber for which any Government Payor provided coverage.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 9




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  (“Government Payor”). The United States specifically objects that this Request seeks documents

  or information not relevant to the United States’ claims or Defendants’ pled defenses as applied

  against the United States. Payment or denial of a claim for payment for a controlled substance

  by a Government Payor has no bearing on Defendants’ liability as alleged in the Complaint. The

  United States will not search for or produce documents responsive to this request.

         REQUEST 96: All Documents relating to processes, policies, or trainings implemented at

  any Government Healthcare Facility applicable to prescribing or dispensing Controlled

  Substances including Documents relating to:

         (a) The determination by a pharmacist to fill or not to fill an individual Controlled

  Substance prescription written by a certain Prescriber;

         (b) the determination by a pharmacist to no longer fill any Controlled Substance

  prescriptions written by a certain Prescriber;

         (c) the determination made by a Government Healthcare Facility—or a pharmacy within

  a Government Healthcare Facility—to prohibit the filling of any Controlled Substance

  prescription written by a certain Prescriber, which is then imposed on all pharmacists within that

  Government Healthcare Facility;

         (d) the identification, resolution, or documentation of any “red flags”;

         (e) record-keeping policies of information related to Controlled Substance prescriptions,

  including the implementation and audit of any such policies;

         (f) the filling or non-filling of Controlled Substance prescriptions that present any of the

  “red flags” or characteristics identified by You in the following Paragraphs of the Complaint:

  479, 482-484, 493-494, 497-498, 489, 500, 504, 508, 509-510, 513, 514, 517, 521-525, 528-

  529, 530, 531-534, 539, 555;




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         (g) the use of the Opioid Therapy Risk Report published by the Department of Veterans

  Affairs as part of its Opioid Safety Initiative; and

         (h) the referral, recommendation, permission, or guidance by You to your patients to use

  Walmart pharmacies for the dispensing of prescribed medications.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 10

  (“Government Healthcare Facility”) and Instruction 1 (absence of time limitation). The United

  States further objects that this Request seeks documents protected by the deliberative process

  privilege, attorney-client privilege or attorney work-product doctrine, or law enforcement

  privilege.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in its possession, custody, or control following a

  reasonable inquiry of reasonably accessible sources that the United States has reason to believe

  contain relevant and unique documents.

         REQUEST 97: All Documents relating to the provision of guidance, recommendations,

  direction, instruction, or advice to a pharmacy or pharmacist at a Government Healthcare Facility

  regarding:

         (a) The determination by a pharmacist to fill or not to fill an individual Controlled

  Substance prescription written by a certain Prescriber or prescriptions that present any of the “red

  flags” or characteristics identified by You in the Complaint (see e.g., Paragraphs 479, 482-484,

  493-494, 497-498, 489, 500, 504, 508, 509-510, 513, 514, 517, 521- 525, 528-529, 530, 531-534,

  539, 555);




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         (b) the determination by a pharmacist to no longer fill any Controlled Substance

  prescriptions written by a certain Prescriber (see e.g., Paragraph 132 of the Complaint);

         (c) the determination made by a Government Healthcare Facility—or a pharmacy within

  a Government Healthcare Facility—to prohibit the filling of any Controlled Substance

  prescription written by a certain Prescriber, which is then imposed on all pharmacists within the

  Government Healthcare Facility; and

         (d) the identification, resolution, or documentation of any “red flags.”

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 10

  (“Government Healthcare Facility”) and Instruction 1 (absence of time limitation). The United

  States further objects that this Request seeks documents protected by the deliberative process

  privilege, attorney-client privilege or attorney work-product doctrine, or law enforcement

  privilege.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in its possession, custody, or control following a

  reasonable inquiry of reasonably accessible sources that the United States has reason to believe

  contain relevant and unique documents.

         REQUEST 98: All Documents relating to any instance in which:

         (a) A pharmacist working at a Government Healthcare Facility made a determination not

  to fill an individual Controlled Substance prescription written by a certain Prescriber;

         (b) a pharmacist working at a Government Healthcare Facility made a determination to

  no longer fill any Controlled Substance prescriptions written by a certain Prescriber;




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         (c) a Government Healthcare Facility—or a pharmacy within a Government Healthcare

  Facility—made the determination to prohibit the filling of any Controlled Substance

  prescriptions written by a certain Prescriber, which was then imposed on all pharmacists within

  that Government Healthcare Facility.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 10

  (“Government Healthcare Facility”). The United States specifically objects that this Request is

  overly broad, unduly burdensome, and disproportionate to the need, in part because it seeks

  documents related to the broad category of “Prescriber” without limitation. The United States

  further objects that this Request seeks documents or information not relevant to the United

  States’ claims or Defendants’ pled defenses as applied against the United States. Whether or not

  a pharmacist working at a Government Healthcare Facility or a Government Healthcare Facility

  itself made the referenced determinations has no bearing on Defendants’ liability as alleged in

  the Complaint. The United States further objects that this Request seeks documents protected by

  the deliberative process privilege, attorney-client privilege or attorney work-product doctrine,

  law enforcement privilege, or Federal Rule of Criminal Procedure 6(e). The United States will

  not search for or produce documents responsive to this request.

         REQUEST 99: All Documents relating to any instance in which You considered or

  implemented any limitations on the prescribing or dispensing of Controlled Substances at a

  Government Healthcare Facility, such as limitations based on dosage, duration, concurrent use

  with other prescription medications, or receipt of Controlled Substances from multiple

  Prescribers or pharmacies.




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         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 10

  (“Government Healthcare Facility”) and Instruction 1 (absence of time limitation). The United

  States further objects that this Request seeks documents protected by the deliberative process

  privilege, attorney-client privilege or attorney work-product doctrine, or law enforcement

  privilege.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in its possession, custody, or control following a

  reasonable inquiry of reasonably accessible sources that the United States has reason to believe

  contain relevant and unique documents.

         REQUEST 100: Data, and any compilations thereof, sufficient to show all prescriptions,

  both Controlled Substances and non-Controlled Substances, written by an Identified Prescriber

  and that were filled by a pharmacist working at a Government Healthcare Facility or filled at a

  pharmacy at a Government Healthcare Facility.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 10

  (“Government Healthcare Facility”). The United States specifically objects that this Request

  seeks documents or information not relevant to the United States’ claims or Defendants’ pled

  defenses as applied against the United States. Whether or not a pharmacist working at a

  Government Healthcare Facility or a Government Healthcare Facility’s pharmacy filled a

  prescription written by an Identified Prescriber has no bearing on Defendants’ liability as alleged

  in the Complaint. The United States further objects that this Request seeks documents protected

  by the deliberative process privilege, attorney-client privilege or attorney work-product doctrine,




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  or law enforcement privilege. The United States will not search for or produce documents

  responsive to this request.

         REQUEST 101: All Documents relating to any complaint, inspection, audit,

  investigation, Investigative Report, or enforcement or disciplinary action concerning improper

  prescribing or dispensing of Controlled Substances, or refusal to prescribe or dispense such

  prescription medications, by any Prescriber, pharmacy, or pharmacist at a Government

  Healthcare Facility, including the following:

         (a) All reports concerning the prescribing practices of                        at the Tomah

  VA Medical Center in Tomah, Wisconsin (e.g., VA OIG Report No. 15-02131-471);

         (b) VA OIG Healthcare Inspection: Opioid Management Practice Concerns John J.

  Pershing VA Medical Center, Poplar Bluff, Missouri (VA OIG Report No. 16-01077-255);

         (c) VA OIG Healthcare Inspection: Review of Opioid Prescribing Practices Clement J.

  Zablocki VA Medical Center, Milwaukee, Wisconsin (VA OIG Report No. 15-02156-346);

         (d) VA OIG Healthcare Inspection: Alleged Inappropriate Opioid Prescribing Practices

  Chillicothe VA Medical Center, Chillicothe, Ohio (VA OIG Report No. 14-00351-53);

         (e) U.S. Department of Defense, Inspector General: Audit of Defense Health Agency

  Controls to Monitor Prescription Compliance with Federal and DoD Opioid Safety Standards

  (December 7, 2023) (Report No. DODIG-2024-036); and

         (f) U.S. Department of Defense, Inspector General: Evaluation of the DoD Internal

  Controls Related to Patient Eligibility and Pharmaceutical Management Within the National

  Capital Region Executive Medicine Services (January 8, 2024) (Report No. DODIG-2024-044).

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 10




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  (“Government Healthcare Facility”). To the extent that the Request seeks documents beyond the

  Request’s subparts, the United States further objects that the Request is overly broad, unduly

  burdensome, and disproportionate to the needs of the case in seeking documents related to “All”

  documents related to the collectively broad category consisting of “complaint[s], inspection[s],

  audit[s], investigation[s], Investigative Report[s], or enforcement or disciplinary action[s]” and

  concerning the equally broad category of “improper prescribing or dispensing of Controlled

  Substances.” The United States specifically objects that this Request seeks documents or

  information not relevant to the United States’ claims or Defendants’ pled defenses as applied

  against the United States. The United States further objects that this Request seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. The United States will not search for or produce

  documents responsive to this request.

         REQUEST 102: All Documents relating to Your receipt, handling, analysis or use of

  any Refusal to Fill forms that You received from Walmart.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States specifically objects that

  this Request duplicates Request 8(c). The United States further objects that this Request seeks

  documents protected by the deliberative process privilege, attorney-client privilege or attorney

  work-product doctrine, law enforcement privilege, or Federal Rule of Criminal Procedure 6(e).

  The United States further objects to this Request to the extent it seeks documents or information

  not relevant to the United States’ claims or Defendants’ pled defenses as applied against the

  United States.




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         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in its possession, custody, or control following a

  reasonable inquiry of reasonably accessible sources that the United States has reason to believe

  contain relevant and unique documents.

         REQUEST 103: All PDMP data in Your possession related to any Identified Prescriber

  and all Documents relating to Your attempts to access, ability to access, and utilization of such

  PDMP data in connection with Your regulatory and enforcement authority.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“Your”) and Instruction 1 (absence of time limitation). The United States further objects to this

  Request to the extent it seeks documents protected by the deliberative process privilege,

  attorney-client privilege or attorney work-product doctrine, law enforcement privilege, or

  Federal Rule of Criminal Procedure 6(e).

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents relating to any prescriber identified in Section II.B.1.c of

  the Complaint or any prescriber whose prescriptions serve as the basis for the United States’

  Second Claim, that are in its possession, custody, or control following a reasonable inquiry of

  reasonably accessible sources that the United States has reason to believe contain relevant and

  unique documents and that the United States is not prohibited from distributing under applicable

  state law.

         REQUEST 104: All Documents relating to Your collection, analysis, utilization, and

  sharing of PDMP data—including within the Prescription Drug Monitoring Program Analytics

  System (PDMPAS) and any predecessor or successor systems—to support Your investigations




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  and cases (including This Litigation), identification of pharmaceutical drug diversion, and any

  other purposes for which You utilize such data.

            RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“Your”) and Instruction 1 (absence of time limitation). The United States further objects that

  the Request is overly broad, unduly burdensome, disproportionate to the needs of the case, and,

  to the extent that the Request seeks documents unrelated to the allegation that Defendants

  unlawfully dispensed controlled substances as alleged in the Complaint during the Dispensing

  Violations Period, irrelevant to the parties’ claims and pled defenses. The Request seeks, for

  example, documents reflecting a DEA field office’s access to PDMP data during a 2005

  investigation that did not lead to criminal prosecution or a civil suit of a prescriber whose

  prescriptions are irrelevant to the parties’ claims and pled defenses as applied against the United

  States.

            The United States further objects that this Request seeks documents protected by the

  deliberative process privilege, attorney-client privilege or attorney work-product doctrine, law

  enforcement privilege, or Federal Rule of Criminal Procedure 6(e). The United States will not

  search for or produce documents responsive to this request.

            REQUEST 105: All Documents relating to Your collection, analysis, utilization, and

  sharing of CDC Wonder and National Vital Statistics System Databases data, AHRQ All Payer

  Claims Databases and Medical Expenditure Panel Survey data, IQVIA Prescription data, or

  Market Scan Commercial Claims and Encounters data to support Your investigations and cases

  related to pharmaceutical drug diversion (including This Litigation).




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          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“Your”) and Instruction 1 (absence of time limitation). The definition of “Your” and the

  absence of a time limitation render the Request overly broad, unduly burdensome,

  disproportionate to the needs of the case, and, to the extent that the Request seeks documents

  unrelated to the allegation that Defendants unlawfully dispensed controlled substances as alleged

  in the Complaint during the Dispensing Violations Period, irrelevant to the parties’ claims and

  pled defenses. The United States further objects that the Request seeks documents related to a

  subject matter that is irrelevant to the parties’ claims and pled defenses as applied against the

  United States.

         The United States further objects that this Request seeks documents protected by the

  deliberative process privilege, attorney-client privilege or attorney work-product doctrine, law

  enforcement privilege, or Federal Rule of Criminal Procedure 6(e). The United States will not

  search for or produce documents responsive to this request.

         REQUEST 106: All testimony and expert reports You proffered in any case regarding

  the determination of whether a Controlled Substance prescription was invalid or otherwise issued

  outside the course of legitimate medical practice.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You”) and Instruction 1 (absence of time limitation). The definition of “You” and the absence

  of a time limitation render the Request overly broad, unduly burdensome, disproportionate to the

  needs of the case, and, to the extent that the Request seeks documents unrelated to the allegation

  that Defendants unlawfully dispensed controlled substances as alleged in the Complaint during




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  the Dispensing Violations Period, irrelevant to the parties’ claims and pled defenses.

         The United States further objects that, in seeking testimony and expert reports proffered

  in “any case” regarding whether a prescription was effective under 21 U.S.C. § 1306.04, the

  Request is overly broad, unduly burdensome, and disproportionate to the needs of the case. The

  Request seeks testimony and expert reports proffered in all criminal prosecutions and civil suits

  brought by all 94 U.S. Attorney’s Offices in which the United States alleged a violation of 21

  C.F.R. § 1306.04. The United States further objects to the vague term “proffered.” If broadly

  defined to include the presentation by the United States to an investigation’s target as part of

  Fed. R. Crim. P. 11 plea discussions or civil settlement negotiations, regardless of the outcome of

  the investigation, the Request would become even more objectionably broad, unduly

  burdensome, and disproportionate to the needs of the case.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in its possession, custody, or control from criminal and

  civil actions against any prescriber specifically referenced in Section II.B.1.c of the Complaint or

  whose prescriptions serve as the basis for the United States’ Second Claim.

         REQUEST 107: All Documents relating to patient access to Controlled Substance

  prescriptions, including Documents relating to:

         (a)     Complaints or concerns received from patients, healthcare providers, patient

  advocacy groups, professional medical associations, or State Agencies, including efforts to

  mitigate or respond to any such complaints or concerns;

         (b)     Internal training materials, presentations, or manuals;

         (c)     Studies, reports, or analyses that You conducted, commissioned, or funded;

         (d)     Initiatives, programs, or outreach efforts;




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         (e)     External Statements or presentations—such as Statements presented by DEA

  personnel at meetings of the Florida Board of Pharmacy (or committees thereof) on or around

  June 5, 2012, June 4, 2013, October 7, 2014, and August 10, 2015—including all drafts thereof;

         (f)     Congressional inquiries; and

         (g)     Reports to Congress required under the Ensuring Patient Access and Effective

  Drug Enforcement Act of 2016.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You”) and Instruction 1 (absence of time limitation). The definition of “You” and the absence

  of a time limitation render the Request overly broad, unduly burdensome, disproportionate to the

  needs of the case, and, to the extent that the Request seeks documents unrelated to the allegation

  that Defendants unlawfully dispensed controlled substances as alleged in the Complaint during

  the Dispensing Violations Period, irrelevant to the parties’ claims and pled defenses.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive, non-privileged documents from DEA that are within its possession, custody, or

  control following a reasonable inquiry of reasonably accessible sources that the United States has

  reason to believe contain relevant and unique documents.

         REQUEST 108: All Documents related to Statements from Janet Woodcock, Director

  of the Center for Drug Evaluation and Research at FDA; Patrizia Cavazzoni, Acting Director of

  the Center for Drug Evaluation and Research at FDA; or any other FDA or CDC personnel




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  regarding the need for individualized patient assessments with respect to Controlled Substance

  prescribing or dispensing, including:

         (a)       Correspondence dated September 10, 2013, from Janet Woodcock, Director of the

  Center for Drug Evaluation and Research at FDA, to Dr. and Mrs. Van Rooyan;

         (b)       Correspondence dated 2019 from Janet Woodcock, Director of the Center for

  Drug Evaluation and Research at FDA, to Hon. Maggie Hassan; and

         (c)       Correspondence dated September 10, 2013 from Janet Woodcock, Director of the

  Center for Drug Evaluation and Research at FDA, to Dr. Kolodny.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects that this

  Request is overly broad, unduly burdensome, disproportionate to the needs of the case, and, to

  the extent that the Request seeks documents unrelated to the allegation that Defendants

  unlawfully dispensed controlled substances as alleged in the Complaint during the Dispensing

  Violations Period, irrelevant to the parties’ claims and pled defenses as applied against the

  United States.

         Further, while the Request specifies three particular statements by Janet Woodcock, the

  Request is not limited to those three statements and, in seeking “all” documents without

  limitation, the Request does not meet Rule 34’s reasonable particularity requirement in failing to

  identify documents, beyond the statements themselves, that are relevant.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. Subject to and without waiving the foregoing objections,

  the United States will produce responsive, non-privileged documents within its possession,




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  custody, or control following a reasonable inquiry of reasonably accessible sources that the

  United States has reason to believe contain relevant and unique documents.

         REQUEST 109: All Documents regarding Your Statements about the establishment of

  limits by You or any entity on the maximum recommended daily dosages for Controlled

  Substances or on the duration of use for opioid therapies.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You” and “Your”) and Instruction 1 (absence of time limitation). The definition of “You” and

  the absence of a time limitation render the Request overly broad, unduly burdensome,

  disproportionate to the needs of the case, and, to the extent that the Request seeks documents

  unrelated to the allegation that Defendants unlawfully dispensed controlled substances as alleged

  in the Complaint during the Dispensing Violations Period, irrelevant to the parties’ claims and

  pled defenses. The United States further objects that the Request does not meet Rule 34’s

  reasonable particularity requirement in asking for documents from “any entity” and in asking for

  documents regarding unspecified “Statements.” The United States further objects that, in

  seeking “all” documents without limitation, the Request does not meet Rule 34’s reasonable

  particularity requirement in failing to identify documents, beyond the statements themselves, that

  are relevant.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. Subject to and without waiving the foregoing objections,

  the United States will produce responsive, non-privileged documents from DEA that are within

  its possession, custody, or control following a reasonable inquiry of reasonably accessible




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  sources that the United States has reason to believe contain relevant and unique documents.

         REQUEST 110: All Documents relating to the implementation, potential

  implementation, or removal of hard limits on Controlled Substance dispensing at pharmacies,

  including any such efforts with respect to Controlled Substance prescriptions filled under

  Medicare Part D.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The United States further objects that this Request is duplicative of

  Requests 83 and 84 above. The absence of a time limitation renders the Request overly broad,

  unduly burdensome, disproportionate to the needs of the case, and, to the extent that the Request

  seeks documents unrelated to the allegation that Defendants unlawfully dispensed controlled

  substances as alleged in the Complaint during the Dispensing Violations Period, irrelevant to the

  parties’ claims and pled defenses.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. Subject to and without waiving the foregoing objections,

  the United States will produce responsive, non-privileged documents from DEA that are within

  its possession, custody, or control following a reasonable inquiry of reasonably accessible

  sources that the United States has reason to believe contain relevant and unique documents.

         REQUEST 111: All Documents relating to “Dear Healthcare Professional” and “Dear

  Registrant” correspondence from You or required by You to Controlled Substance Prescribers

  regarding the prescribing or dispensing of opioid medications.

         RESPONSE: The United States incorporates by reference the objections to the




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  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You”) and Instruction 1 (absence of time limitation). The definition of “You” and the absence

  of a time limitation render the Request overly broad, unduly burdensome, disproportionate to the

  needs of the case, and, to the extent that the Request seeks documents unrelated to the allegation

  that Defendants unlawfully dispensed controlled substances as alleged in the Complaint during

  the Dispensing Violations Period, irrelevant to the parties’ claims and pled defenses. The United

  States further objects that the Request is overly broad, unduly burdensome, and disproportionate

  to the needs of the case because of the breadth of the subject matter, that is, “the prescribing or

  dispensing of opioid medications.”

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, law enforcement privilege, or Federal Rule of Criminal Procedure 6(e). Subject to and

  without waiving the foregoing objections, the United States will produce responsive, non-

  privileged documents from DEA that are within its possession, custody, or control following a

  reasonable inquiry of reasonably accessible sources that the United States has reason to believe

  contain relevant and unique documents.

         REQUEST 112: All Documents relating to any studies or publications conducted,

  commissioned, cited, or funded by You regarding the impact of labeling changes for any

  Controlled Substance medication on the number of prescriptions dispensed for Controlled

  Substances in the United States.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You”) and Instruction 1 (absence of time limitation). The definition of “You,” the absence of a




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  time limitation, and the subject matter render the Request overly broad, unduly burdensome,

  disproportionate to the needs of the case, and, to the extent that the Request seeks documents

  unrelated to the allegation that Defendants unlawfully dispensed controlled substances as alleged

  in the Complaint during the Dispensing Violations Period, irrelevant to the parties’ claims and

  pled defenses. The United States further objects that the Request is overly broad, unduly

  burdensome, and disproportionate to the needs of the case because of the breadth of the category

  of “any Controlled Substance medication,” which includes medications irrelevant to the parties’

  claims and pled defenses.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege.

         Subject to and without waiving the foregoing objections, the United States will search for

  and produce responsive non-privileged documents in its possession, custody, or control

  following a reasonable inquiry of reasonably accessible sources that the United States has reason

  to believe contain relevant and unique documents.

         REQUEST 113: All Documents regarding Your Statements about whether Controlled

  Substance prescriptions are appropriate for the treatment of non-acute pain and should not be

  limited for use in treating only acute pain.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“Your”) and Instruction 1 (absence of time limitation). The definition of “Your” and the

  absence of a time limitation render the Request overly broad, unduly burdensome,

  disproportionate to the needs of the case, and, to the extent that the Request seeks documents




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  unrelated to the allegation that Defendants unlawfully dispensed controlled substances as alleged

  in the Complaint during the Dispensing Violations Period, irrelevant to the parties’ claims and

  pled defenses.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege.

         Subject to and without waiving the foregoing objections, the United States will search for

  and produce responsive non-privileged documents in DEA’s possession, custody, or control

  following a reasonable inquiry of reasonably accessible sources that the United States has reason

  to believe contain relevant and unique documents.

         REQUEST 114: All Documents regarding Your Statements about whether Controlled

  Substance prescriptions are appropriate for the treatment of acute pain.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“Your”) and Instruction 1 (absence of time limitation). The definition of “Your” and the

  absence of a time limitation render the Request overly broad, unduly burdensome,

  disproportionate to the needs of the case, and, to the extent that the Request seeks documents

  unrelated to the allegation that Defendants unlawfully dispensed controlled substances as alleged

  in the Complaint during the Dispensing Violations Period, irrelevant to the parties’ claims and

  pled defenses.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege.




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         Subject to and without waiving the foregoing objections, the United States will search for

  and produce responsive non-privileged documents in its possession, custody, or control

  following a reasonable inquiry of reasonably accessible sources that the United States has reason

  to believe contain relevant and unique documents.

         REQUEST 115: All Documents relating to any studies or publications regarding the use

  of opioid analgesics for the treatment of non-acute pain, including studies or publications

  conducted, commissioned, or funded by You.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“Your”) and Instruction 1 (absence of time limitation). The definition of “Your” and the

  absence of a time limitation render the Request overly broad, unduly burdensome,

  disproportionate to the needs of the case, and, to the extent that the Request seeks documents

  unrelated to the allegation that Defendants unlawfully dispensed controlled substances as alleged

  in the Complaint during the Dispensing Violations Period, irrelevant to the parties’ claims and

  pled defenses.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege.

         Subject to and without waiving the foregoing objections, the United States will search for

  and produce responsive non-privileged documents in its possession, custody, or control

  following a reasonable inquiry of reasonably accessible sources that the United States has reason

  to believe contain relevant and unique documents.




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         REQUEST 116: All Documents relating to any FDA committee meeting or discussion

  regarding the safety, efficacy, or abuse and misuse potential of any Controlled Substance

  medication, including meetings and discussions held by the Anesthetic and Life Support Drugs

  Advisory Committee, the Drug Safety and Risk Management Advisory Committee, or any

  Advisory Committee.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The absence of a time limitation and the subject matter render the

  Request overly broad, unduly burdensome, disproportionate to the needs of the case, and, to the

  extent that the Request seeks documents unrelated to the allegation that Defendants unlawfully

  dispensed controlled substances as alleged in the Complaint during the Dispensing Violations

  Period, irrelevant to the parties’ claims and pled defenses.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. The United States will not search for or produce

  documents responsive to this request.

         REQUEST 117: All Documents relating to any actual, proposed, or contemplated Risk

  Evaluation and Mitigation Strategy (REMS), Safety Labeling Change, Post- Marketing

  Requirement, abuse-deterrent formulation, safety related manufacturer certification, or other

  FDA drug safety program for Controlled Substance medications, including the expansion in

  2018 of the REMS for extended-release and long-acting opioid products.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1




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  (absence of time limitation). The absence of a time limitation and the subject matter render the

  Request overly broad, unduly burdensome, disproportionate to the needs of the case, and, to the

  extent that the Request seeks documents unrelated to the allegation that Defendants unlawfully

  dispensed controlled substances as alleged in the Complaint during the Dispensing Violations

  Period, irrelevant to the parties’ claims and pled defenses.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. Subject to and without waiving the foregoing objections,

  the United States will produce responsive non-privileged documents in DEA’s possession,

  custody, or control following a reasonable inquiry of reasonably accessible sources that the

  United States has reason to believe contain relevant and unique documents.

         REQUEST 118: All education, information, or training materials provided by opioid

  analgesic companies pursuant to any Risk Evaluation and Mitigation Strategy (REMS) for opioid

  analgesics, including Documents relating to the provision, review, approval, or denial of such

  education, information, or training.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The absence of a time limitation and the subject matter render the

  Request overly broad, unduly burdensome, disproportionate to the needs of the case, and, to the

  extent that the Request seeks documents unrelated to the allegation that Defendants unlawfully

  dispensed controlled substances as alleged in the Complaint during the Dispensing Violations

  Period, irrelevant to the parties’ claims and pled defenses.




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         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. The United States will not search for or produce

  documents responsive to this request.

         REQUEST 119: All Documents relating to communications or coordination efforts

  amongst the Drug Safety Oversight Board and any federal agency or body regarding Controlled

  Substance prescribing and dispensing or any safety-related actions regarding opioid analgesics.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The absence of a time limitation and the subject matter render the

  Request overly broad, unduly burdensome, disproportionate to the needs of the case, and, to the

  extent that the Request seeks documents unrelated to the allegation that Defendants unlawfully

  dispensed controlled substances as alleged in the Complaint during the Dispensing Violations

  Period, irrelevant to the parties’ claims and pled defenses. The United States further objects that

  the Request is overly broad, unduly burdensome, and disproportionate to the needs of the case

  because of the breadth of the category of “Controlled Substance prescribing and dispensing,”

  which includes prescribing for controlled substances that are irrelevant to the parties’ claims and

  pled defenses given the broad definition of Controlled Substances (Definition 6).

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. The United States will not search for or produce

  documents responsive to this request.




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         REQUEST 120: All Documents from the Defense and Veterans Center for Integrative

  Pain Management, the National Pain Management Program, or the Veterans Health

  Administration Opioid Safety Initiative relating to the safety, efficacy, or abuse and misuse

  potential of any Controlled Substance medication, including documents regarding “toolkits” or

  other resources for prescribers with respect to Controlled Substance prescribing.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The absence of a time limitation and the subject matter render the

  Request overly broad, unduly burdensome, disproportionate to the needs of the case, and, to the

  extent that the Request seeks documents unrelated to the allegation that Defendants unlawfully

  dispensed controlled substances as alleged in the Complaint during the Dispensing Violations

  Period, irrelevant to the parties’ claims and pled defenses. The United States further objects that

  the Request is overly broad, unduly burdensome, and disproportionate to the needs of the case

  because of the breadth of the category of “any Controlled Substance medication,” which includes

  medications that are irrelevant to the parties’ claims and pled defenses.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. The United States will not search for or produce

  documents responsive to this request.

         REQUEST 121: All Documents referenced by or relied on by the Use of Opioids in the

  Management of Chronic Pain Work Group in drafting the Guideline for the Use of Opioids in the

  Management of Chronic Pain published by the Department of Defense and the Department of

  Veterans Affairs.




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          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects that, in

  seeking documents related to policies of the Department of Defense and Department of Veterans

  Affairs, the Request seeks documents disproportionate to the needs of the case. The United

  States further objects that, in seeking “all” documents without limitation, the Request does not

  meet Rule 34’s reasonable particularity requirement in failing to identify documents, beyond the

  Guideline itself, that are relevant.

          The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. The United States will not search for or produce

  documents responsive to this request.

          REQUEST 122: All Documents relating to the White House Medical Unit’s Controlled

  Substance Inventory and Management Policy (WHMU SOP 20-08), including documents

  regarding the creation and implementation of such policy, and adherence to such policy by the

  White House Medical Unit.

          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects that, in

  seeking documents related to the White House’s policies, the Request seeks documents

  disproportionate to the needs of the case. The United States further objects that, in seeking “all”

  documents without limitation, the Request does not meet Rule 34’s reasonable particularity

  requirement in failing to identify documents, beyond the policy itself, that are relevant. The

  United States further objects that, in seeking documents related to the White House Medical

  Unit’s adherence to the policy, the Request seeks documents irrelevant to the parties’ claims and




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  pled defenses as applied against the United States.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. The United States will not search for or produce

  documents responsive to this request.

         REQUEST 123: All Documents relating to any Statements by You that the effective

  management of pain and the alleviation of suffering through the use of Controlled Substance

  medications are public health priorities in the United States.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You”) and Instruction 1 (absence of time limitation). The definition and absence of a time

  limitation and the subject matter render the Request overly broad, unduly burdensome,

  disproportionate to the needs of the case, and, to the extent that the Request seeks documents

  unrelated to the allegation that Defendants unlawfully dispensed controlled substances as alleged

  in the Complaint during the Dispensing Violations Period, irrelevant to the parties’ claims and

  pled defenses. The United States further objects that, in seeking “all” documents without

  limitation, the Request does not meet Rule 34’s reasonable particularity requirement in failing to

  identify documents, beyond the statements themselves, that are relevant.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. Subject to and without waiving the foregoing objections,

  the United States will produce responsive non-privileged documents from DEA in its possession,

  custody, or control following a reasonable inquiry of reasonably accessible sources that the




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  United States has reason to believe contain relevant and unique documents.

         REQUEST 124: Documents sufficient to identify individuals at any DEA division

  office who either (i) held the title of “Diversion Program Manager” or “Special Agent in Charge”

  (or equivalent thereof) or, (ii) were otherwise responsible for overseeing Controlled Substance

  diversion initiatives and enforcement efforts regarding retail pharmacies.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The absence of a time limitation renders the Request overly broad,

  unduly burdensome, and disproportionate to the needs of the case. The United States further

  objects that the Request seeks documents disproportionate to the needs of the case in seeking the

  identity of all Special Agents in Charge, regardless of whether their responsibilities were relevant

  to the parties’ claims and pled defenses. The United States further objects that the term

  “otherwise responsible for overseeing Controlled Substances diversion initiatives and

  enforcement efforts regarding retail pharmacies” is vague and potentially renders the Request

  overly broad, unduly burdensome, and disproportionate to the needs of the case.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents sufficient to identify individuals at any DEA division

  office who held the title of “Diversion Program Manager” for the Dispensing Violations Period

  in its possession, custody, or control following a reasonable inquiry of reasonably accessible

  sources that the United States has reason to believe contain relevant and unique documents.

         REQUEST 125: All Documents and communications You produced under the Freedom

  of Information Act in response to the West Virginia Attorney General Patrick Morrisey’s

  document requests dated June 1, 2017 and March 15, 2019.




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          RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. Subject to and without waiving those

  objections, the United States will produce responsive non-privileged documents in its possession,

  custody, or control following a reasonable inquiry of reasonably accessible sources that the

  United States has reason to believe contain relevant and unique documents. Responsive

  documents are available to the public at this website:

  https://ago.wv.gov/publicresources/Pages/Investigation-Into-The-

  DEA.aspx#:~:text=The%20Office%20conducted%20its%20investigation,DEA%20granted%20are%20available%20belo

  w.

          REQUEST 126: All Documents and communications provided to or received from the

  U.S. Department of Justice Office of the Inspector General (“OIG”) and the U.S. Government

  Accountability Office (“GAO”) in connection with the investigations resulting in the following

  reports (collectively, “Reports”):

          (a) February 2015 GAO Report titled DRUG SHORTAGES: Better Management of the

  Quota Process for Controlled Substances Needed; Coordination between DEA and FDA

  Should Be Improved (https://www.gao.gov/assets/670/668252.pdf) (“GAO Report 15- 202”);

          (b) June 2015 GAO Report titled Prescription Drugs: More DEA Information about

  Registrants’ Controlled Substances Roles Could Improve Their Understanding and Help Ensure

  Access (https://www.gao.gov/assets/680/671032.pdf) (“GAO Report 15- 471”);

          (c) June 2016 GAO Report titled Additional Actions Needed to Address Prior GAO

  Recommendations (https://www.gao.gov/assets/680/677939.pdf) (“GAO Report 16- 737T);

          (d) September 2019 OIG Report titled Review of the Drug Enforcement

  Administration’s Regulatory and Enforcement Efforts to Control the Diversion of Opioids

  (https://oig.justice.gov/reports/2019/e1905.pdf) (“DOJ-OIG Report 19-05”); and


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         (e) January 2020 GAO Report titled Drug Control: Actions Needed to Ensure

  Usefulness of Data on Suspicious Opioid Orders (“GAO Report 20-118”).

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects that, in

  seeking documents related to OIG’s and GAO’s investigations, beyond the reports themselves,

  the Request seeks documents disproportionate to the needs of the case.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. The United States will not search for or produce

  documents responsive to this request.

         REQUEST 127: All Documents relating to the Reports, including communications

  regarding Your draft or actual responses to allegations or conclusions in the Reports, and

  communications referencing or addressing allegations or conclusions in the Reports.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects that, in

  seeking documents related to OIG’s and GAO’s investigations, beyond the reports themselves,

  the Request seeks documents disproportionate to the needs of the case.

         The United States further objects to this Request to the extent it seeks documents

  protected by the deliberative process privilege, attorney-client privilege or attorney work-product

  doctrine, or law enforcement privilege. The United States will not search for or produce

  documents responsive to this request.

         REQUEST 128: All Documents reflecting presentations made by the DEA to

  pharmacies, pharmacists, or any State Agency regarding the prescribing or dispensing of




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  Controlled Substances.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The absence of a time limitation renders the Request overly broad,

  unduly burdensome, and disproportionate to the needs of the case. The United States further

  objects that the Request is overly broad, unduly burdensome, and disproportionate to the needs

  of the case because of the breadth of the category of “prescribing or dispensing of Controlled

  Substances,” which potentially includes issues irrelevant to the parties’ claims and pled defenses.

  The United States further objects that this Request duplicates Requests 67(b) and 83(1).

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents from the Dispensing Violations Period relating to a

  pharmacist’s corresponding responsibility under 21 C.F.R. § 1306.04, in its possession, custody,

  or control following a reasonable inquiry of reasonably accessible sources that the United States

  has reason to believe contain relevant and unique documents.

         REQUEST 129: All Documents reflecting presentations regarding the prescribing or

  dispensing of Controlled Substances made by the DEA at any conference relating to Controlled

  Substances, including any National Prescription Drug Abuse Conference and Pharmacy

  Diversion Awareness Conference.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Instruction 1

  (absence of time limitation). The absence of a time limitation renders the Request overly broad,

  unduly burdensome, and disproportionate to the needs of the case. The United States further

  objects that the Request is overly broad, unduly burdensome, and disproportionate to the needs




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  of the case because of the breadth of the category of “prescribing or dispensing of Controlled

  Substances,” which potentially includes issues irrelevant to the parties’ claims and pled defenses.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents from the Dispensing Violations Period in its possession,

  custody, or control following a reasonable inquiry of reasonably accessible sources that the

  United States has reason to believe contain relevant and unique documents.

         REQUEST 130: All Documents relating to the determination and setting of Opioid

  Production Quotas and Opioid Procurement Quotas during the Relevant Time Period, including

  all policies and protocols You utilize to set quotas, communications with any agency regarding

  the quotas, and any documents and communications regarding any perceived need for an

  increase in said quotas to meet legitimate medical or scientific needs.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein. The United States further objects that the

  subject matter of the Request renders it overly broad, unduly burdensome, and disproportionate

  to the needs of the case because it seeks documents that are irrelevant to the parties’ claims and

  pled defenses. The United States will not search for or produce documents responsive to this

  request.

         REQUEST 131: All Documents relating to the termination, demotion, or other adverse

  employment action taken by You against any individual based on that individual’s views,

  Statements, actions, or inactions related to their opinions on the use, regulation, prescribing, or

  dispensing of Controlled Substances.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24




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  (“You”) and to Instruction 1 (absence of time limitation). The breadth of the definition, the

  absence of a time limitation, and the subject matter render this Request overly broad, unduly

  burdensome, disproportionate to the needs of the case, and, to the extent that the Request seeks

  documents unrelated to the allegation that Defendants unlawfully dispensed controlled

  substances as alleged in the Complaint during the Dispensing Violations Period, irrelevant to the

  parties’ claims and pled defenses. The United States will not search for or produce documents

  responsive to this request.

         REQUEST 132: All Documents relating to Communications between You and any

  state, city, town, municipality, county, or other governmental entity, or their departments or

  agencies, concerning This Litigation or concerning any lawsuit or potential lawsuit by such other

  governmental entity related to prior Opioid Litigation.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“You”) and to Instruction 1 (absence of time limitation). The breadth of the definition, the

  absence of a time limitation, and the subject matter render this Request overly broad, unduly

  burdensome, disproportionate to the needs of the case, and, to the extent that the Request seeks

  documents unrelated to the allegation that Defendants unlawfully dispensed controlled

  substances as alleged in the Complaint during the Dispensing Violations Period, irrelevant to the

  parties’ claims and pled defenses.

         Subject to and without waiving the foregoing objections, the United States will produce

  responsive non-privileged documents in its possession, custody, or control following a

  reasonable inquiry of reasonably accessible sources that the United States has reason to believe

  contain relevant and unique documents.




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         REQUEST 133: All Documents relating to Your Communications with any current or

  former Walmart pharmacist or other employee regarding This Litigation or the dispensing of

  Controlled Substances.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24

  (“Your”) and Instruction 1 (absence of time limitation). The breadth of the definition, absence of

  a time limitation, and breadth of the category “This Litigation or the dispensing of Controlled

  Substances” render this Request overly broad, unduly burdensome, disproportionate to the needs

  of the case, and, to the extent that the Request seeks documents unrelated to the allegation that

  Defendants unlawfully dispensed controlled substances as alleged in the Complaint during the

  Dispensing Violations Period, irrelevant to the parties’ claims and pled defenses. A responsive,

  but irrelevant, document would include a report of a routine inspection conducted at a Walmart

  pharmacy that includes a description of a discussion with a Walmart pharmacist during the

  inspection.

         Subject to and without waiving the objections to the definitions and instructions, the

  United States will produce responsive non-privileged documents in its possession, custody, or

  control, related to current or former Walmart pharmacists or other employees who were

  contacted regarding This Litigation.

         REQUEST 134: All Documents relating to Your Communications with any patient who

  filled one or more Controlled Substance prescriptions at Walmart regarding This Litigation or

  the dispensing of Controlled Substances.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objections to Definition 24




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  (“Your”) and Instruction 1 (absence of time limitation). The definition, absence of a time

  limitation, and breadth of the category “This Litigation or the dispensing of Controlled

  Substances” render this Request overly broad, unduly burdensome, disproportionate to the needs

  of the case, and, to the extent that the Request seeks documents unrelated to the allegation that

  Defendants unlawfully dispensed controlled substances as alleged in the Complaint during the

  Dispensing Violations Period, irrelevant to the parties’ claims and pled defenses. A responsive,

  but irrelevant, document would include a report of interview of a person who received controlled

  substances from Walmart based on a prescription written by a prescriber who was prosecuted by

  a U.S. Attorney’s Office in 2005 but who is not an Identified Prescriber and whose prescriptions

  are irrelevant to the parties’ claims and pled defenses.

          Subject to and without waiving the objections to the definitions and instructions, the

  United States will produce responsive non-privileged documents in its possession, custody, or

  control, related to individuals who were known by the United States to have filled a prescription

  a Walmart and who were contacted regarding This Litigation.

          REQUEST 135: All Documents provided to, reviewed by, considered, or relied upon by

  any expert witnesses You intend to use in This Litigation.

          RESPONSE: The United States objects that this Request seeks documents related to

  expert testimony and thus is premature. Responsive documents will be available in forthcoming

  discovery materials and are available in materials to which Defendants already have access,

  including, but not limited to, Defendants’ own dispensing data.

          REQUEST 136: All Documents You intend to use in connection with any motion or

  during trial in This Litigation.

          RESPONSE: The United States objects on the grounds that this Request is premature




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  and cannot now produce documents related to future events.

         REQUEST 137: All Documents relating to the article published by ProPublica on

  March 25, 2020, entitled, “Walmart Was Almost Charged Criminally Over Opioids. Trump

  Appointees Killed the Indictment,” including:

         (a) Communications relating to the article, including any Communications between You

  and Jesse Eisinger or James Bandler.

         (b) Documents regarding any investigation You undertook to determine who provided

  the information and documents referenced in the article to ProPublica.

         RESPONSE: The United States incorporates by reference the objections to the

  definitions and instructions as if fully set forth herein, including the objection to Definition 24

  (“You”). The United States further objects that this Request seeks documents irrelevant to the

  parties’ claims and pled defenses. Subject to and without waiving the foregoing objections, the

  United States will produce responsive non-privileged documents from DEA in its possession,

  custody, or control following a reasonable inquiry of reasonably accessible sources that the

  United States has reason to believe contain relevant and unique documents.

  Dated: June 28, 2024

  DAVID C. WEISS                                         /s/ Katherine M. Ho
  United States Attorney for the
  District of Delaware                                   AMANDA N. LISKAMM
                                                         Director
  DYLAN STEINBERG                                        Consumer Protection Branch
  Chief, Civil Division
  ELIZABETH F. VIEYRA                                    RACHAEL DOUD
  Assistant United States Attorney                       Assistant Director
  1313 N. Market Street
  Wilmington, DE 19801                                   KATHLEEN B. BRUNSON
  Elizabeth.vieyra@usdoj.gov                             KATHERINE M. HO
  302-573-6148                                           KIMBERLY R. STEPHENS
                                                         Trial Attorneys
                                                         U.S. Department of Justice, Civil Division


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                                          Consumer Protection Branch
                                          P.O. Box 386
                                          Washington, DC 20044
                                          katherine.ho@usdoj.gov
                                          202-353-7835

                                          ROGER B. HANDBERG
                                          United States Attorney for the
                                          Middle District of Florida
                                          CAROLYN B. TAPIE
                                          LINDSAY S. GRIFFIN
                                          Special Attorneys to the Attorney General
                                          400 North Tampa Street, Suite 3200
                                          Tampa, FL 33602
                                          Carolyn.b.tapie@usdoj.gov
                                          813-274-6000

                                          BREON PEACE
                                          United States Attorney for the Eastern
                                          District of New York

                                          ELLIOT M. SCHACHNER
                                          MEGAN FREISMUTH
                                          Special Attorneys to the Attorney General
                                          271 Cadman Plaza East
                                          Brooklyn, NY 11201
                                          Elliot.schachner@usdoj.gov
                                          718-254-7000

                                          MICHAEL F. EASLEY, JR.
                                          United States Attorney for the Eastern
                                          District of North Carolina

                                          C. MICHAEL ANDERSON
                                          ANDREW KASPER
                                          Special Attorneys to the Attorney General
                                          150 Fayetteville Street, Suite 2100
                                          Raleigh, NC 27601
                                          Michael.anderson7@usdoj.gov
                                          919-856-4619

                                          Counsel for Plaintiff
                                          United States of America




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                                EXHIBIT 
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                          500 GRANT STREET, SUITE 4500 • PITTSBURGH, PENNSYLVANIA 15219.2514

                                             TELEPHONE: +1.412.391.3939 • JONESDAY.COM

                                                                                                        Direct Number: +1.412.394.9503
                                                                                                              jamescarlson@jonesday.com




                                                              April 18, 2025

  BY E-MAIL

  Dylan J. Steinberg                                                        Kimberly R. Stephens
  Chief, Civil Division                                                     Trial Attorney
  United States Attorney’s Office                                           U.S. Department of Justice Civil Division,
  1313 N. Market Street                                                     Consumer Protection Branch
  Wilmington, DE 19801                                                      P.O. Box 386
  Dylan.steinberg@usdoj.gov                                                 Washington, DC 20044
                                                                            Kimberly.R.Stephens@usdoj.gov

  Re:        United States of America v. Walmart Inc., et al., Case No. 1:20-cv-01744-CFC (D. Del.)

  Counsel,

         I write on behalf of Walmart in response to the government’s March 19, 2025, letter
  (“March 19 Letter”) proposing search terms to respond to Walmart’s Second Set of Requests for
  Production (“2nd RFPs”), the government’s April 8, 2025, email regarding, inter alia, search terms
  for RFPs 2 and 5, and the government’s April 10, 2025 email regarding CDC and FDA search
  terms and custodians.

    I.       Applicable Custodians

          Walmart’s search term responses identify the specific groups of custodians over which
  each search discussed herein should be run. Those consist of the following groups, which are more
  fully identified in Attachment A:

         •   DOJ Walmart Investigation: Custodians from DOJ related to the Investigation of Walmart,
             identified in the parties’ September 20, 2024, October 30, 2024, and April 18, 2025
             correspondence.

         •   DOJ Prescriber Investigation: Custodians from DOJ related to the Prescriber
             Investigations, identified in the parties’ September 20, 2024 and October 30, 2024
             correspondence.

         •   DEA Headquarters: Agreed-upon custodians from DEA headquarters, identified most
             recently in the government’s April 8, 2025 list, as well as custodians proposed in Walmart’s
             April 18, 2025 custodian letter.




  AMSTERDAM • ATLANTA • BEIJ ING • BOSTON • BRISBANE • BRUSSELS • CHICAGO • CLEVELAND • CO LUMBUS • DALLAS
  DETROIT • DUBAI • DÜSSELDO RF • FRANKFURT • HONG KONG • HOUSTON • IRVINE • LOND ON • LOS ANGELES • MADRID
  MELBOURNE    •   MEXICO CITY   •   MIAMI   •   MILAN   •   MINNEAPO LIS   •   MUNICH   •   NEW YORK   •   PARIS   •   PERTH   •   PITTSBURGH
  SAN DIEGO • SAN FRANCISCO • SÃO PAULO • SHANGHAI • SILICON VALLEY • SINGAPORE • SYDNEY • TAIPEI • TOKYO • WASHINGTO N
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                      Attachment A to Walmart
                                      #: 6901 4/18/2025 Letter Agency Custodians
                                                                                          DOJ
DOJ
Custodians proposed by the government and by Walmart.
Custodian                     Custodian Group                Status
Aloisio, Giovan               DOJ Walmart Investigation      Originally Government Proposed
Anderson, Michael             DOJ Walmart Investigation      Originally Government Proposed
Apicella, Jolie               DOJ Walmart Investigation      Originally Government Proposed
Arbeit, Susan                 DOJ Walmart Investigation      Originally Government Proposed
Armstrong, Nicholas           DOJ Walmart Investigation      Originally Government Proposed
Baeza, Daniel                 DOJ Prescriber Investigation   Walmart Proposed
Baker, Melissa                DOJ Walmart Investigation      Originally Government Proposed
Behe, William A.              DOJ Prescriber Investigation   Originally Government Proposed
Brown, Joe                    DOJ Walmart Investigation      Walmart Proposed
Bunn, Candace Haley           DOJ Prescriber Investigation   Originally Government Proposed
Burnette, Charles             DOJ Walmart Investigation      Originally Government Proposed
Chappel [or Chappell], Julie  DOJ Walmart Investigation      Walmart Proposed
Chupik, James                 DOJ Walmart Investigation      Originally Government Proposed
Clarkson, J. Thomas           DOJ Prescriber Investigation   Originally Government Proposed
Codol, Kevin                  DOJ Walmart Investigation      Walmart Proposed
Cornfeld, Benjamin            DOJ Walmart Investigation      Originally Government Proposed
Crockett, David               DOJ Walmart Investigation      Originally Government Proposed
DeCastro, Arturo              DOJ Walmart Investigation      Originally Government Proposed
Deline, Amy                   DOJ Walmart Investigation      Originally Government Proposed
Dotson, William Samuel        DOJ Prescriber Investigation   Originally Government Proposed
Doud, Rachael                 DOJ Walmart Investigation      Originally Government Proposed
Eyler, Gustav                 DOJ Walmart Investigation      Originally Government Proposed
Falgowski, Edmond             DOJ Prescriber Investigation   Originally Government Proposed
Foster, Sarah                 DOJ Walmart Investigation      Originally Government Proposed
Fowkes, Joshua                DOJ Walmart Investigation      Originally Government Proposed
Gammons, Carlton Curtiss      DOJ Prescriber Investigation   Originally Government Proposed
Gaugush, Simon                DOJ Prescriber Investigation   Walmart Proposed
Gerard, Eric                  DOJ Walmart Investigation      Originally Government Proposed
Gillingham, James             DOJ Walmart Investigation      Originally Government Proposed
Graf, Amanda                  DOJ Walmart Investigation      Originally Government Proposed
Gray, Anita                   DOJ Walmart Investigation      Walmart Proposed
Griffin, Lindsay              DOJ Walmart Investigation      Originally Government Proposed
Harlow, James                 DOJ Walmart Investigation      Originally Government Proposed
Harris, John                  DOJ Walmart Investigation      Originally Government Proposed
Hartley, Karen                DOJ Prescriber Investigation   Originally Government Proposed
Harwell, Randy                DOJ Walmart Investigation      Originally Government Proposed
Hatcher, Laura                DOJ Walmart Investigation      Originally Government Proposed
Heinrach, Mark                DOJ Walmart Investigation      Originally Government Proposed
Herrald, Jennifer Rada        DOJ Prescriber Investigation   Originally Government Proposed
Hong, Haeji                   DOJ Walmart Investigation      Originally Government Proposed
HowardǦAllen, Kelley Clement DOJ Prescriber Investigation    Originally Government Proposed
Hsueh, YiǦFun                 DOJ Walmart Investigation      Originally Government Proposed
Josephson, Matthew            DOJ Prescriber Investigation   Originally Government Proposed
Kaplan, Amy                   DOJ Walmart Investigation      Originally Government Proposed
Kappakas, Elizabeth           DOJ Walmart Investigation      Walmart Proposed
Keegan, Ruth                  DOJ Walmart Investigation      Walmart Proposed
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Attachment A to Walmart 4/18/2025 Letter   #: 6902                           Agency Custodians
                                                                                          DOJ
Custodian                      Custodian Group                Status
Keelin, Terry                  DOJ Walmart Investigation      Originally Government Proposed
Knapp, James                   DOJ Walmart Investigation      Originally Government Proposed
Knott, Dianne                  DOJ Prescriber Investigation   Originally Government Proposed
Lange, Alexander               DOJ Walmart Investigation      Originally Government Proposed
Levy, Joshua                   DOJ Walmart Investigation      Originally Government Proposed
Loew, Steven L.                DOJ Prescriber Investigation   Originally Government Proposed
Lyons, Adam                    DOJ Walmart Investigation      Originally Government Proposed
Marsh, Kirt                    DOJ Walmart Investigation      Walmart Proposed
Matz, Harry                    DOJ Walmart Investigation      Walmart Proposed
McGonigal, Alan G.             DOJ Prescriber Investigation   Originally Government Proposed
Mock, Jasand                   DOJ Walmart Investigation      Originally Government Proposed
Mooney, James Philip           DOJ Prescriber Investigation   Originally Government Proposed
Pizzo, Gregory Davis           DOJ Prescriber Investigation   Originally Government Proposed
Priore, Shana                  DOJ Walmart Investigation      Originally Government Proposed
Quinn, Matthew                 DOJ Walmart Investigation      Walmart Proposed
Rattan, Heather                DOJ Prescriber Investigation   Originally Government Proposed
Reed, Jenna E.                 DOJ Prescriber Investigation   Walmart Proposed
Remis, Aleza                   DOJ Prescriber Investigation   Originally Government Proposed
Reynolds, Brett                DOJ Walmart Investigation      Walmart Proposed
Robers, Brandon                DOJ Walmart Investigation      Originally Government Proposed
Rocktashel, George J.          DOJ Prescriber Investigation   Originally Government Proposed
Rocque, Amanda                 DOJ Walmart Investigation      Originally Government Proposed
Rowley, Stephen                DOJ Prescriber Investigation   Originally Government Proposed
Russ, Joshua                   DOJ Walmart Investigation      Originally Government Proposed
Russell, Randi                 DOJ Walmart Investigation      Walmart Proposed
Sanders, Kim                   DOJ Prescriber Investigation   Walmart Proposed
Schachner, Elliott             DOJ Walmart Investigation      Originally Government Proposed
Schwada, Amanda                DOJ Walmart Investigation      Originally Government Proposed
Sempa, Francis P.              DOJ Prescriber Investigation   Walmart Proposed
Smith, Maureen                 DOJ Prescriber Investigation   Originally Government Proposed
Smith, Maureen                 DOJ Prescriber Investigation   Originally Government Proposed
Sobczak, Claire                DOJ Prescriber Investigation   Originally Government Proposed
Soeffing, Paul                 DOJ Walmart Investigation      Walmart Proposed
Sohn, Deborah                  DOJ Walmart Investigation      Originally Government Proposed
Soudrette, Mary                DOJ Walmart Investigation      Originally Government Proposed
Stamatelos, Paulina            DOJ Walmart Investigation      Originally Government Proposed
Stout, Taylor                  DOJ Prescriber Investigation   Originally Government Proposed
Tapie, Carolyn                 DOJ Walmart Investigation      Originally Government Proposed
Thomas, Meredith George        DOJ Prescriber Investigation   Originally Government Proposed
Thrope, Jonathan               DOJ Walmart Investigation      Walmart Proposed
Traskos, Kevin                 DOJ Walmart Investigation      Originally Government Proposed
Visosky, Bradley               DOJ Walmart Investigation      Walmart Proposed
Waites, Natalie                DOJ Walmart Investigation      Walmart Proposed
Walsh, Jennifer                DOJ Prescriber Investigation   Originally Government Proposed
Watkins, Lena                  DOJ Walmart Investigation      Walmart Proposed
Winkelspecht, Stacey           DOJ Walmart Investigation      Originally Government Proposed
Wolf, Lesley                   DOJ Prescriber Investigation   Originally Government Proposed
Woodard, Justin                DOJ Prescriber Investigation   Originally Government Proposed


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      Attachments B and C
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